Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 1 of 91




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF NEW YORK


RENDELL ROBINSON,

                             Plaintiff,                   Civil Action No.
                                                          9:18-CV-1232 (DNH/DEP)
              v.

JOHN SLAVEN, et al., 1

                             Defendants.


APPEARANCES:                                      OF COUNSEL:

FOR PLAINTIFF:

[last known address] 2
RENDELL ROBINSON, Pro Se
400 East 30th Street
New York, NY 10016




1      According to documents executed by defendants' counsel, the proper spelling of
the name of the defendant identified as "D. Gumlaw" is "David Gumlaw," while the
defendant identified as "Shaven" is "John Slaven." Dkt. Nos. 6, 7. Accordingly, the
clerk of the court will respectfully be directed to modify the court’s records to reflect the
proper spellings of the names of these two defendants.
2       On March 25, 2019, I issued a report in which I recommended that the action be
dismissed in its entirety, pursuant to Rule 41(b) of the Federal Rules of Civil Procedure,
based upon plaintiff's failure to prosecute and to comply with this court's orders and
local rules of practice. Dkt. No. 21. The day after that report was issued, however, the
court received notification of plaintiff's new address, Dkt. No. 22, and the matter was
returned to me to address the merits of defendants' motion via a text order issues on
March 26, 2019. Dkt. No. 23. That text order, which was sent to the address plaintiff
provided on March 26, 2019, was returned to the court as undeliverable on April 11,
2019. Dkt. No. 25.
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 2 of 91




FOR DEFENDANT:

HON. LETITIA JAMES                     KONSTANDINOS D. LERIS, ESQ.
New York State Attorney General        Assistant Attorney General
The Capitol
Albany, New York 12224

DAVID E. PEEBLES
CHIEF U.S. MAGISTRATE JUDGE


              ORDER, REPORT, AND RECOMMENDATION

      This is a civil rights action brought pursuant to 42 U.S.C. §1983 by

pro se plaintiff Rendell Robinson, a former New York State prison inmate

who was at all relevant times in the custody of the New York State

Department of Corrections and Community Supervision ("DOCCS"),

against three corrections officers employed by the DOCCS. In his

complaint, plaintiff asserts that the three corrections officers violated his

constitutional rights arising under the Eighth Amendment, based upon an

incident that occurred on April 9, 2015 at the prison in which he was

confined on that date.

      In response to plaintiff's complaint, defendants have moved for

dismissal of his claims pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure, arguing that his claims are barred by the statute of

limitations and that the claims cannot be saved by equitable tolling. In the

alternative, defendants argue that plaintiff's complaint fails to state a claim
                                       2
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 3 of 91




of excessive force as to one of the corrections officers. For the reasons

that follow, I recommend that defendants' motion, which plaintiff has not

opposed, be granted.

I.     BACKGROUND 3

       Plaintiff, a former New York State prison inmate, was previously

confined to the Clinton Correctional Facility ("Clinton"), located in

Dannemora, New York. Dkt. No. 1 at 4-5. On April 9, 2015, he was

transported from that facility, via a five-hour van ride, to the Coxsackie

Correctional Facility ("Coxsackie"), located in Coxsackie, New York, for

medical treatment at the facility's Residential Medical Unit ("RMU"). Id.

During that transport, plaintiff was restrained by the use of handcuffs, a

waist chain, and leg irons. Id. at 4.

       When plaintiff arrived at Coxsackie, the transporting officer from

Clinton, defendant David Gumlaw, a corrections officers, removed


3       In light of the procedural posture of this case, the following recitation is drawn
principally from plaintiff's complaint, the contents of which have been accepted as true
for purposes of the pending motion. See generally Erickson v. Pardus, 551 U.S. 89, 94
(2007) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007)) ("[W]hen ruling
on a defendant's motion to dismiss, a judge must accept as true all of the factual
allegations contained in the complaint."); see also Cooper v. Pate, 378 U.S. 546, 546
(1964). Portions of the background have also been derived from the exhibits attached
to plaintiff's complaint, which may also properly be considered in connection with a
dismissal motion. See Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 47-48 (2d
Cir. 1991) ("[T]he complaint is deemed to include any written instrument attached to it
as an exhibit or any statements or documents incorporated in it by reference."); accord,
Samuels v. Air Transp. Local 504, 992 F.2d 12, 15 (2d Cir. 1993).

                                            3
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 4 of 91




plaintiff's waist chain and leg irons, but did not remove the handcuffs. Dkt.

No. 1 at 5. As plaintiff and C.O. Gumlaw waited in the inmate waiting

room, plaintiff requested several times for his handcuffs be loosened. Id. at

5-7. C.O. Gumlaw denied the request and, upon becoming "upset" at

plaintiff's third request, replaced plaintiff's waist chain. Id. at 6-7.

      C.O. Gumlaw and defendant Michael Mussen, Jr., a corrections

officer assigned to Clinton, escorted plaintiff to a small room off the "back

hallway of Coxsackie R.M.U." Dkt. No. 1 at 8. At this point, defendant John

Slaven, a corrections sergeant stationed at Coxsackie, appeared,

instructed the other officers to kill plaintiff, and then "walked away to the

same direction he had approached [plaintiff] from." Id. at 10, 12; cf. id at

19-20 (noting that Sgt. Slaven denied being "present during the beginning

of this incident").

      C.O. Mussen and Gumlaw, along with the other unidentified DOCCS

corrections officers, proceeded to assault plaintiff. Dkt. No. 1 at 10-11.

Following the assault, during which he was slapped, punched, kicked,

thrown to the ground, and struck with a wooden baton, plaintiff required

medical attention for his injuries. Id. at 10-11, 15-16. As relief, plaintiff

seeks, inter alia, damages in the amount of $500,000. Id. at 37.




                                         4
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 5 of 91




II.   PROCEDURAL HISTORY

      This action was initiated by the submission of a forty-page complaint

plus exhibits, which was received by the court on October 17, 2018, 4

accompanied by a motion for leave to proceed in forma pauperis. Dkt.

Nos. 1-3. By decision and order dated December 3, 2018, District Judge

David N. Hurd granted plaintiff permission to proceed without prepayment

of fees and reviewed the sufficiency of the complaint in accordance with

28 U.S.C. §§ 1915(e), 1915A. Dkt. No. 4. Judge Hurd also ordered the

dismissal of certain of plaintiff's claims, but determined that plaintiff's

Eighth Amendment excessive force and failure to intervene claims

required a response from defendants. Id.

      On February 4, 2019, two of the defendants named in plaintiff’s

complaint moved to dismiss plaintiff's claims against them pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure. Dkt. No. 10. In their

motion, defendants argued that plaintiff's claims are time-barred, and

further that plaintiff's complaint fails to allege facts sufficient to establish a

plausible excessive force claim against Sgt. Slaven. See generally Dkt.

No. 10.


4       The complaint was signed on October 7, 2018 and accompanied by a cover
letter dated October 14, 2018. Dkt. No. 1 at 40; Dkt. No. 1-2. The envelope containing
those materials was postmarked on October 15, 2018. Dkt. No. 1-3.
                                           5
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 6 of 91




       By letter dated February 24, 2019, plaintiff advised that he did not

intend to file a response to the motion. Dkt. No. 13 at 3. Following service

of the summons and complaint upon the third named defendant, the court

granted counsel's request for that defendant to join in the pending motion

to dismiss. Dkt. Nos. 17, 18. The matter is now ripe for determination and

has been referred to me for the issuance of a report and recommendation,

pursuant to 28 U.S.C. § 636(b)(1)(B) and Northern District of New York

Local Rule 72.3(c). See Fed. R. Civ. P. 72(b); see also Dkt. No. 23.

III.   DISCUSSION

       A.    Legal Standard Governing Motion to Dismiss

       It is well-settled that "[a] motion to dismiss on the basis that an action

is barred by the statute of limitations is analyzed under Federal Rule of

Civil Procedure 12(b)(6), not 12(b)(1)." Garner v. DII Indus., LLC, 08-CV-

6191, 2010 WL 456801, at *1 (W.D.N.Y. Feb. 4, 2010) (citing Ghartey v.

St John’s Queens Hosp., 869 F.2d 160, 162 (2d Cir. 1989)). 5 A motion to

dismiss a complaint, brought pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure, calls upon a court to gauge the facial sufficiency

of that pleading using a standard that, though unexacting, "demands more



5       Copies of all unreported decisions cited in this document have been appended
for the convenience of the pro se plaintiff.
                                          6
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 7 of 91




than an unadorned, the-defendant-unlawfully-harmed me accusation" in

order to withstand scrutiny. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citing Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555 (2007)). Under Rule

8(a)(2) of the Federal Rules of Civil Procedure, "a pleading must contain a

'short and plain statement of the claim showing that the pleader is entitled

to relief.' " Iqbal, 556 U.S. 677-78 (quoting Fed. R. Civ. P. 8(a)(2)). While

modest in its requirements, that rule commands that a complaint contain

more than mere legal conclusions. Iqbal, 556 U.S. at 679 ("While legal

conclusions can provide the framework of a complaint, they must be

supported by factual allegations.").

       In deciding a Rule 12(b)(6) dismissal motion, the court must accept

the material facts alleged in the complaint as true and draw all inferences

in favor of the non-moving party. Erickson v. Pardus, 551 U.S. 89, 94

(2007); see also Cooper v. Pate, 378 U.S. 546, 546 (1964); Miller v.

Wolpoff & Abramson, L.L.P., 321 F.3d 292, 300 (2d Cir. 2003); Burke v.

Gregory, 356 F. Supp. 2d 179, 182 (N.D.N.Y. 2005) (Kahn, J.). The tenet

that a court must accept as true all of the allegations contained in a

complaint does not apply, however, to legal conclusions. Iqbal, 556 U.S. at

678.




                                       7
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 8 of 91




      To withstand a motion to dismiss, "a complaint must contain

sufficient factual matter, accepted as true, to 'state a claim to relief that is

plausible on its face.'" Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S.

at 570); see also Ruotolo v. City of N.Y., 514 F.3d 184, 188 (2d Cir. 2008).

As the Second Circuit has observed, "[w]hile Twombly does not require

heightened fact pleading of specifics, it does require enough facts to

'nudge plaintiffs' claims across the line from conceivable to plausible.'" In

re Elevator Antitrust Litig., 502 F.3d 47, 50 (2d Cir. 2007) (alterations

omitted) (quoting Twombly, 550 U.S. at 570).

      When assessing the sufficiency of a complaint against this backdrop,

particular deference should be afforded to a pro se litigant, whose

complaint merits a generous construction by the court when determining

whether it states a cognizable cause of action. Erickson, 551 U.S. at 94

("[A] pro se complaint, however inartfully pleaded, must be held to less

stringent standards than formal pleadings drafted by lawyers." (internal

quotation marks omitted)); Sealed Plaintiff v. Sealed Defendant, 537 F.3d

185, 191 (2d Cir. 2008) ("[W]hen a plaintiff proceeds pro se, a court is

obliged to construe his pleadings liberally." (internal quotation marks and

alterations omitted)); Kaminski v. Comm'r of Oneida Cty. Dep't of Soc.




                                        8
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 9 of 91




Servs., 804 F. Supp. 2d 100, 104 (N.D.N.Y. 2011) (Hurd, J.) ("A pro se

complaint must be read liberally.").

      B.    Statute of Limitations and Equitable Tolling

      Defendants argue that plaintiff's claims are barred by the statute of

limitations applicable to claims brought pursuant to 42 U.S.C. § 1983 in

New York. Dkt. No. 10-1 at 6-9. While they acknowledge that plaintiff is

entitled to the benefit of tolling of the statute of limitations during the

pendency of grievance proceedings necessary to satisfy plaintiff's

exhaustion of remedies requirement, they argue that even when a toll is

applied, his claims are still time-barred. Id. at 8-9. Although plaintiff

declined to respond to defendants' motion, see Dkt. No. 13 at 3, he

addressed this issue in his complaint, contending that his action was

properly commenced as a result of equitable tolling. Dkt. No. 1 at 26-27.

            1.     Generally

      Because the statute of limitations is an affirmative defense, it is

axiomatic that " '[c]omplaints need not anticipate, or attempt to plead

around, potential affirmative defenses.' " Cooper Crouse-Hinds, LLC v.

City of Syracuse, 16-CV-1201, 2018 WL 840056, at *4 (N.D.N.Y. February

18, 2018) (alteration in original) (quoting High Falls Brewing Co., LLC v.

Boston Beer Corp., 852 F. Supp. 2d 306, 310 (W.D.N.Y. 2011)).


                                        9
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 10 of 91




"Requiring [the] plaintiff[] to allege in a complaint facts sufficient to

overcome a statute of limitations affirmative defense would shift the

burden to raise and prove the affirmative defense from defendants, as the

burden is allocated and imposed by Rule 8(c)(1) of the Federal Rules of

Civil Procedure, to [the] plaintiff[]." Kattu v. Metro Petroleum, Inc., No. 12-

CV-54, 2013 WL 4015342, at *4 (W.D.N.Y. Aug. 6, 2013).

      The "applicable statute of limitations for [section] 1983 actions

arising in New York requires claims to be brought within three years."

Pinaud v. Cty. of Suffolk, 52 F.3d 1139, 1156 (2d Cir. 1995); accord

Patterson v. Cty. of Oneida, N.Y., 375 F.3d 206, 225 (2d Cir. 2004) ("The

statute of limitations applicable to claims brought under . . . [section] 1983

in New York is three years."). A section 1983 cause of action accrues "

'when the plaintiff knows or should know of the injury that is the basis of

the cause of action.' " Covington v. City of New York, 916 F. Supp. 282,

285 (S.D.N.Y. 1996) (quoting Woods v. Candela, 13 F.3d 574, 575 (2d Cir.

1994)). In determining when a particular claim accrues, a court must focus

on when a "plaintiff becomes aware that he is suffering from a wrong for

which damages may be recovered in a civil action." Singleton v. City of

New York, 632 F.2d 185, 192 (2d Cir.1980).




                                        10
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 11 of 91




      The Second Circuit has held that a prisoner is entitled to equitable

tolling of claims brought under the Prison Litigation Reform Act of 1996

("PLRA"), Pub. L. No. 104-134, 110 Stat. 1321 (1996), reasoning that

prisoners would otherwise face a "catch-22" of either filing an action prior

to exhausting all administrative remedies and risk dismissal for failure to

exhaust, or wait until all administrative remedies are exhausted and risk

dismissal based on untimeliness. Gonzalez v. Hasty, 651 F.3d 318, 323-

24 (2d Cir. 2011). Under this rule, the equitable tolling period begins to run

when a plaintiff first raises his administrative claim, and ends when the

plaintiff’s administrative remedies are deemed exhausted. Id. at 324; see

also Povoski v. Lacy, No. 9:14-CV-97, 2017 WL 9511094, at *6-*7

(N.D.N.Y. Dec. 13, 2017) (Hummel M.J.), report and recommendation

adopted by 2018 WL 547392 (N.D.N.Y. Jan. 17, 2018) (Sannes, J.). The

statute of limitations, however, is only tolled during the period in which a

prisoner is "actively exhausting" his administrative remedies. Gonzalez,

651 F.3d at 322 (citing Brown v. Valoff, 422 F.3d 926, 942-43 (9th Cir.

2005); Clifford v. Gibbs, 298 F.3d 328, 332 (5th Cir. 2002); Johnson v.

Rivera, 272 F.3d 519, 522 (7th Cir. 2001); Brown v. Morgan, 209 F.3d

595, 596 (6th Cir. 2000)). The statute of limitations is not tolled during the

period between the accrual of the claims and when the plaintiff began the


                                      11
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 12 of 91




administrative remedy process. Gonzalez, 651 F.3d at 324 (citing Brown,

209 F.3d at 596).

      Finally, because the pro se plaintiff was incarcerated at the time of

commencement, the "prisoner mailbox rule" applies to determine the date

the action was commenced. Under this rule, a pro se litigant’s pleading is

deemed filed on the date that the prisoner delivers the pleading to prison

officials for filing. Dory v. Ryan, 999 F.2d 679, 682 (2d Cir.1993) (citing

Houston v. Lack, 487 U.S. 266, 270 (1988)). This rule "is justified by the

litigant's dependence on the prison mail system and lack of counsel to

assure timely filing with the court." Noble v. Kelly, 246 F.3d 93, 97 (2d Cir.

2001); see also Garraway v. Broome Cty., N.Y., No. 5:03-cv-0681, 2006

WL 931729, at *3 (N.D.N.Y. Apr. 7, 2006) (McAvoy, J.).

      In cases where it is unclear when the inmate conveyed a complaint

or petition to prison officials, the "date of delivery is presumed to be the

date that the inmate signs his or her complaint." Brown v Smithem, No. 15-

CV-1458, 2017 WL 1155825, at *4 (Feb. 28, 2017) (Hummel, M.J.) report

and recommendation adopted by 2017 WL 1155827 (N.D.N.Y. Mar. 27,

2017) (Sannes, J.) (citing Johnson v. Connolly, No. 9:07-CV-0158, 2008

W L 724167, at *7 (N.D.N.Y. Mar. 17, 2008) (Kahn, J., adopting report and

recommendation of Lowe, M.J.)); see also Shaw v. Superintendent, Attica


                                      12
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 13 of 91




Corr. Facility, No. 03-CV-0610, 2007 WL 951459, at *3 n.3 (N.D.N.Y.

March 28, 2007) (McCurn, J.). However, this presumption does not apply

when there is evidence that the complaint was not sent for filing, or

mailing, until a later date. See Brown, 2017 WL 1155825, at *4 (holding

that the date of filing was the date the cover letter, not the date the

complaint was signed).

            2.      Analysis

      Plaintiff's cause of action accrued on April 9, 2015, the date of the

incident forming the basis of plaintiff's excessive force claim. Dkt. No. 1 at

4; see generally Merrihew v. Town of Ulster, No. 04-CV-1027, 2005 WL

1660113, at *2-*3 (N.D.N.Y. July 7, 2005) (Kahn, J.) (explaining that

plaintiff's excessive force claim accrued on the date the conduct and harm

underlying his claim occurred). Plaintiff's complaint was signed October 7,

2018, and it was accompanied by a cover letter dated October 14, 2018.

Dkt. No. 1 at 40; Dkt. No. 1-2. The complaint was received by the court on

October 17, 2018, in an envelope that was postmarked October 15, 2018.

Dkt. No. 1-3. Because it is not outcome determinative, I will assume,

without deciding, that plaintiff commenced this action on October 7, 2018.

Dkt. No. 1 at 40.




                                      13
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 14 of 91




      In order for plaintiff's claims to be considered timely, the three-year

statute of limitations must have been tolled for at least 182 days, since

plaintiff filed his complaint on October 7, 2018 and, absent tolling, the

limitations period expired on April 9, 2018 (April 9, 2018 to and including

October 7, 2018 = 182 days). Accordingly, the length of that exhaustion

period—that is, the period of time between when plaintiff initiated his

administrative claims and when he exhausted those claims—must be at

least 182 days in order to salvage his claims.

      Following the incident on April 9, 2015, plaintiff filed an

administrative grievance pursuant to the DOCCS Inmate Grievance

Program ("IGP") on April 28, 2015, nineteen days after the alleged assault.

Dkt. No. 1 at 26. The statute of limitations was not tolled "during the period

in between the accrual of those claims and when [plaintiff] began the

administrative remedy process." Gonzalez, 651 F.3d at 324. That is, the

statute of limitations ran for eighteen days (April 9, 2015 to and excluding

April 28, 2015 = 18 days) prior to April 28, 2015—the date upon which

plaintiff first raised his administrative claims and which demarcates the

commencement of the equitable tolling period. See Povoski, 2017 WL

9511094, at *6-*7 (explaining that the equitable tolling period begins when

the plaintiff first raises his administrative claim).


                                        14
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 15 of 91




      Because plaintiff's grievance complained of employee harassment, it

bypassed the first step of the IGP, where the grievance would have been

reviewed by the inmate grievance resolution committee ("IGRC"), and was

forwarded directly to the superintendent of Clinton for review. See 7

N.Y.C.R.R. § 701.8(b), (c). On May 20, 2015, the superintendent issued

an adverse determination on plaintiff's grievance. Dkt. No. 1-1 at 2-4. On

May 26, 2015, plaintiff appealed the superintendent's determination to the

DOCCS Central Office Review Committee ("CORC"), the third and final

step of the IGP. See 7 See N.Y.C.R.R. § 701.5(d)(1)(i).

      That body upheld the superintendent's determination on October 21,

2015. Dkt. No. 1-1 at 6; see also Dkt. No. 1 at 27. Although there is no

evidence with respect to when plaintiff received that determination, in the

complaint, plaintiff agrees that October 21, 2015, the date upon which the

CORC issued its decision, represents the end of the equitable tolling

period. Dkt. No. 1 at 27. As a result, the statute of limitations was tolled for

the 177-day period that plaintiff was in the process of "actively exhausting"

his administrative remedies (April 28, 2015 to and including October 21,

2015 = 177 days). See Gonzalez, 651 F.3d at 322 n.2.

      Therefore, because the statute of limitations period was equitably

tolled for 177 days—but three years and the time between April 9, 2015


                                       15
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 16 of 91




and October 7, 2018 is 182 days over three years—this action is time-

barred by the applicable statute of limitations period. Although I am

mindful District Judge Hurd flagged the statute of limitations issue, but

recommended that plaintiff's claims proceed "[o]ut of an abundance of

caution, and mindful of the Second Circuit's instruction that a pro se

plaintiff's pleadings must be liberally construed," Dkt. No. 4 at 8, with the

benefit of defendants' additional briefing on this issue, and now that

plaintiff has been given an opportunity to be heard regarding the matter, I

respectfully recommend that plaintiff's complaint be dismissed as time-

barred.6

III.   SUMMARY, ORDER, AND RECOMMENDATION

       Despite the application of an equitable tolling period, plaintiff

commenced this action outside the three-year statute of limitations period

that is applicable to claims brought under section 1983 in New York. It is

therefore hereby respectfully

       RECOMMENDED that defendants' motion for dismiss (Dkt. No. 10)

be GRANTED, and plaintiff's complaint (Dkt. No. 1) be DISMISSED in its

entirety.


6    In light of this recommendation, I have not addressed defendants' alternative
argument with respect to defendant Slaven. Dkt. No. 10-1 at 9-10.

                                         16
Case 9:18-cv-01232-DNH-DEP Document 26 Filed 04/16/19 Page 17 of 91




         NOTICE: Pursuant to 28 U.S.C. § 636(b)(1), the parties may lodge

written objections to the foregoing report. Such objections must be filed

with the clerk of the court within FOURTEEN days of service of this

report. 7 FAILURE TO SO OBJECT TO THIS REPORT WILL PRECLUDE

APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a), 6(d),

72; Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993). It is hereby

         ORDERED that the clerk of the court is respectfully directed to

modify the court’s records to change defendant D. Gumlaw to "David

Gumlaw," and defendant Shaven to "John Slaven," as set forth in footnote

number one; and it is further

         ORDERED that the clerk of the court serve a copy of this report and

recommendation upon the parties in accordance with this court's local

rules.




Dated:        April 16, 2019
              Syracuse, New York

7      If you are proceeding pro se and are served with this order, report, and
recommendation by mail, three additional days will be added to the fourteen-day
period, meaning that you have seventeen days from the date the order, report, and
recommendation was mailed to you to serve and file objections. Fed. R. Civ. P. 6(d). If
the last day of that prescribed period falls on a Saturday, Sunday, or legal holiday, then
the deadline is extended until the end of the next day that is not a Saturday, Sunday, or
legal holiday. Fed. R. Civ. P. 6(a)(1)(C).
                                           17
         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)               26 Filed 04/16/19 Page 18 of 91
2017 WL 1155825



                 2017 WL 1155825                                            A. February 7, 2012 Grievance
   Only the Westlaw citation is currently available.
    United States District Court, N.D. New York.              Beginning in January 2012, Coburn and Friedman
                                                              harassed Brown by pat-frisking him in an aggressive
               Dennis BROWN, Plaintiff,                       manner on a daily basis. Compl. ¶ 11. Brown submitted a
                         v.                                   grievance against Coburn and Friedman on February 7,
           Sgt. SMITHEM; et al., Defendant.                   2012. Id. ¶ 10. A couple days after Brown submitted this
                                                              grievance, Coburn brought the grievance to Brown’s cell
               No. 15-CV-1458 (BKS/CFH)                       and told him that he will have his friends assault Brown
                           |                                  if Brown continues to submit grievances against him and
                   Signed 02/28/2017                          Friedman. Id. Coburn then tore up the grievance and left.
                                                              Id.
Attorneys and Law Firms

Dennis Brown, Ogdensburg, NY, pro se.
                                                                           B. March 2012 Request to Move
Denise P. Buckley, Ryan E. Manley, New York State                            to a Different Housing Unit
Attorney General, Albany, NY, for Defendant.
                                                              On March 3, 2012, Brown spoke to non-party C.O. Jemel
                                                              and requested to be moved to a different housing unit
  REPORT-RECOMMENDATION AND ORDER 1                           because of constant harassment from Friedman. Compl.
                                                              ¶ 13. C.O. Jemel sent Brown to speak with non-party
Christian F. Hummel, U.S. Magistrate Judge                    Sgt. Mickish. Id. Brown told Sgt. Mickish that he was
                                                              being harassed, retaliated against, and that Coburn and
 *1 Plaintiff pro se Dennis Brown (“Brown”), an inmate        Friedman, along with other unidentified officers, were
who was, at all relevant times, in the custody of the New     tampering with his grievances and complaints. Id. Brown
York State Department of Corrections and Community            was moved to a different housing unit several days later.
Supervision (“DOCCS”), brings this action pursuant to         Id. ¶ 14. In his new housing unit, Brown continued to
42 U.S.C. § 1983 (“§ 1983”) alleging that defendants          see Coburn and Friedman, who harassed and threatened
Sergeant (“Sgt.”) Smithem, Correction Officer (“C.O.”)        him because of complaints he had written to the Deputy
J. Coburn, C.O. Clearwater, C.O. Dequarto, C.O.               Superintendent of Security and the Superintendent. Id.
Friedman, C.O. Travis, C.O. Hetcher, C.O. Meinecke,           Coburn and Friedm an still subjected Brown to daily
and John Does violated his rights under the First and         aggressive pat-frisks. Id. Brown further claims that his cell
Eighth Amendments. 2 See Dkt. No. 1 (“Compl.”). 3 At          was searched constantly and he would find his property
all relevant times, Brown was incarcerated at Five Points     damaged. Id.
Correctional Facility (“Five Points C.F.”). Presently
pending is defendants' motion pursuant to Federal Rule
of Civil Procedure (“Fed. R. Civ. P.”) 12(c) to dismiss the
                                                                           C. September 2012 Cell Searches
complaint on the ground that Brown’s complaint is barred
by the statute of limitations. Dkt. No. 34. Brown filed a      *2 Friedman searched Brown’s cell on September 6
response. Dkt. No. 45. Defendants did not file a reply. For   and September 8, 2012. Compl. ¶ 15. After one search,
the following reasons, it is recommended that defendants'     Brown found that his hot pot and some food items were
motion be granted.                                            “destroyed.” Id. Friedman refused to give Brown a cell
                                                              search slip. Id.


                      I. Background
                                                                            D. October 2012 Cell Searches




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         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)                 26 Filed 04/16/19 Page 19 of 91
2017 WL 1155825

On October 16, 2012, Friedman searched Brown’s cell,            Brown received a pen from an unidentified officer
destroyed his property, and threatened to have officers         on November 5, 2012. Compl. ¶ 23. The next day,
assault him because he was still “complaining to the            unidentified officers entered Brown’s cell and took the pen
administration about her and Coburn.” Compl. ¶ 16. On           from him, stating that they were taking the pen because he
October 25, 2012, Friedman searched Brown’s cell and            writes up officers. Id. A couple days later, Brown received
destroyed two sneakers. Id. ¶ 17. W hen Brown asked why         another pen but it did not work. Id. When Brown told an
Friedman had destroyed his sneakers, she threatened to          unidentified officer that the pen did not work, the officer
“cut” him. Id.                                                  told him to write with his blood. Id. Due to not receiving a
                                                                functioning pen, Brown asserts that he was unable to file
                                                                appeals or communicate with the courts or his family. Id.

      E. October 28, 2012 Excessive Force Incident

On October 28, 2012, Smithem arrived at Brown’s cell and               F. November 2012 False Misbehavior Report
told him that he was being moved to the Special Housing
Unit (“SHU”). Compl. ¶ 18. Brown inquired as to why             In November 2012, Friedman issued Brown a false
he was being taken to the SHU, and Smithem told him             misbehavior report in retaliation for the complaints he
that it was because he harassed Friedman and Coburn,            had filed against her. Compl. ¶ 21. At the hearing on
and complained about pat frisks. Id. Brown requested that       the misbehavior report, Brown told the hearing officer,
Smithem “get the video camera” before moving him. Id.           non-party Wendland, that Friedman had issued a false
Smithem refused. Id. Smithem, Clearwater, and Dequato           misbehavior report. Id. Wendland found Brown guilty
then escorted Brown down the south hall corridor. Id. W         and sentenced him to six months in the SHU. Id. ¶ 22.
hen they reached the laundry room area, Coburn appeared
and slammed Brown’s head against the wall. Id. Brown
fell to the floor and Coburn, along with the other officers,
kicked him and stomped his face. Id. Coburn pulled                                    II. Discussion 4
Brown’s legs back, sat on him, and punched his head.
Id. Before Brown passed out, Smithem told him that the              A. Motion to Dismiss Under Fed. R. Civ. P. 12(c)
beating was “what [he] gets for writing [ ] officers up.” Id.
Brown later woke up in the clinic and was examined by a          *3 Motions for dismissal under Fed. R. Civ. P. 12(c)
nurse. Id.                                                      are evaluated under the same standard as motions to
                                                                dismiss for failure to state a claim upon which relief
After Brown was taken to the SHU, he wrote grievances           may be granted under Fed. R. Civ. P 12(b)(6). Rubeor
and complaints against Smithem and the other correction         v. Town of Wright, 191 F. Supp. 3d 198, 202-03
officers who assaulted him. Compl. ¶ 19. Brown delivered        (N.D.N.Y. 2016) (citing Hayden v. Paterson, 594 F.3d
the grievances, along with complaints addressed to the          150, 160 (2d Cir. 2010)). Thus, in considering defendants'
“superintendent” and “commissioner”, to a SHU officer           motion to dismiss plaintiff’s complaint, the Court must
on November 3, 2012. Id. The next day, November 4,              “construe plaintiff[’s] complaint liberally, accepting all
2012, defendants Travis, Hetcher, and Meinecke entered          factual allegations in the complaint as true, and drawing
Brown’s cell, searched it, and confiscated Brown’s legal        all reasonable inferences in plaintiff[’s] favor.” Selevan
documents and a pen. Id. ¶ 20. W hen Brown inquired             v. N.Y. Thruway Auth., 584 F.3d 82, 88 (2d Cir. 2009)
as to the officers' actions that day, Travis showed Brown       (quoting Holmes v. Grubman, 568 F.3d 326, 335 (2d Cir.
that he possessed the grievance that Brown attempted to         2009)) (internal quotation marks omitted). However, this
file the previous day. Id. Travis told Brown that he would      “tenet is inapplicable to legal conclusions, and threadbare
kill him “in the box” if he ever attempted to file another      recitals of the elements of a cause of action, supported
grievance or complaint against an officer. Id. Travis left      by mere conclusory statements, do not suffice.” Harris v.
with the complaints and grievances, and Brown asserts the       Mills, 572 F.3d 66, 72 (2d Cir. 2009) (quoting Ashcroft v.
“grievances were never processed.” Id.                          Iqbal, 556 U.S. 662, 664 (2009)) (internal quotation marks
                                                                and alterations omitted).




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         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)                 26 Filed 04/16/19 Page 20 of 91
2017 WL 1155825

Accordingly, to survive a motion to dismiss, a complaint        to construe his pleadings liberally.” (internal citations
must state a claim for relief that is “ ‘plausible on its       omitted)).
face.’ ” Iqbal, 556 U.S. at 678 (quoting Bell Atlantic
Corp. v. Twombly, 550 U.S. 544, 570 (2007) (explaining
that the plausibility test “does not impose a probability
                                                                                 B. Statute of Limitations
requirement ... it simply calls for enough fact to raise a
reasonable expectation that discovery will reveal evidence      Defendants assert that Brown’s surviving claims are
of illegal [conduct].”)); see also Arar v. Ashcroft, 585 F.3d   barred by the applicable statute of limitations. Dkt. No.
559, 569 (2d Cir. 2009) (holding that “[o]n a motion to         34-1 at 4-7. Brown argues that he filed his complaint
dismiss, courts require enough facts to state a claim to        within the statute of limitations period because the claims
relief that is plausible....”) (internal citations omitted).    he asserted were continuing violations which did not
Determining whether plausibility exists is “a context-          accrue until the last discriminatory act ended. Dkt. No. 45
specific task that requires the reviewing court to draw on      at 4.
its judicial experience and common sense.” Iqbal, 556 U.S.
at 679.                                                         While there is no statute of limitations provision in § 1983,
                                                                42 U.S.C. § 1988 provides that state law may apply if it
Where, as here, a party seeks judgment against a pro            is not inconsistent with the Constitution or federal law.
se litigant, a court must afford the non-movant special         42 U.S.C. § 1988(a); Moor v. Cnty. of Alameda, 411 U.S.
solicitude. See Triestman v. Fed. Bureau of Prisons, 470        693, 702–03 (1973). In New York, the applicable statute of
F.3d 471, 477 (2d Cir. 2006). As the Second Circuit stated,     limitations for a § 1983 suit is three years, derived from the
                                                                general or residual personal injury laws of the forum state.
                                                                See N.Y. C.P.L.R. § 214(5); Owens v. Okure, 488 U.S. 235,
            [t]here are many cases in which we                  249–50 (1989); Rom er v. Leary, 425 F.2d 186, 187 (2d
            have said that a pro se litigant is                 Cir. 1970); Lugo v. Senkowski, 114 F. Supp. 2d 111, 113
            entitled to special solicitude, that a              (N.D.N.Y. 2000) (applying Owens in establishing a three-
            pro se litigant’s submissions must                  year statute of limitation for § 1983 claims). Thus, Brown’s
            be construed liberally, and that such               Eighth Amendment excessive force and First Amendment
            submissions must be read to raise                   retaliation claims are subject to New York’s three-year
            the strongest arguments that they                   statute of limitations.
            suggest. At the same time, our cases
            have also indicated that we cannot                   *4 Federal law governs the determination of the accrual
            read into pro se submissions claims                 date for purposes of a § 1983 claim. Pearl v. City of
            that are not consistent with the pro                Long Beach, 296 F.3d 76, 80 (2d Cir. 2002). T he claim
            se litigant’s allegations or arguments              accrues “when the plaintiff knows or has reason to know”
            that the submissions themselves do                  of the harm. Id. (citations and internal quotation marks
            not suggest that we should not                      omitted). “The crucial time for accrual purposes is when
            excuse frivolous or vexatious filings               the plaintiff becomes aware that he [or she] is suffering
            by pro se litigants, and that pro se                from a wrong for which damages may be recovered in a
            status does not exempt a party from                 civil action.” Singleton v. City of New York, 632 F.2d
            compliance with relevant rules of                   185, 192 (2d Cir. 1980). Additionally, “a pro se prisoner's
            procedural and substantive law ....                 § 1983 complaint is deemed filed, for statute of limitations
                                                                purposes, when it is delivered to prison officials.” Tapia–
                                                                Ortiz v. Doe, 171 F.3d 150, 152 (2d Cir. 1999) (citing
Id. (internal quotation marks, citations, and footnote          Houston v. Lack, 487 U.S. 266, 270 (1988); Dory v. Ryan,
omitted); see also Sealed Plaintiff v. Sealed Defendant #1,     999 F.2d 679, 682 (2d Cir. 1993)).
537 F.3d 185, 191–92 (2d Cir. 2008) (“On occasions too
numerous to count, we have reminded district courts that
‘when [a] plaintiff proceeds pro se, ... a court is obliged                  1. Date of Filing of the Complaint



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         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)                 26 Filed 04/16/19 Page 21 of 91
2017 WL 1155825

In the Court’s initial review of Brown’s complaint              Cornwell v, Robinson, 23 F.3d 694, 703 (2d Cir. 1994))
pursuant to 28 U.S.C. § 1915(e), the Court determined,          (additional citation omitted). Thus, “the continuing
under the “prison mailbox rule”, that Brown had filed his       violation doctrine is an ‘exception to the normal knew-or-
complaint on October 16, 2015—the date that he signed           should-have-known accrual date.’ ” Id. (quoting Harris v.
the complaint. Dkt. No. 11 at 4 n.5. Under the “prison          City of New York, 186 F.3d 243, 248 (2d Cir. 1999)).
mailbox rule,” the date of filing is the date that an inmate
delivers his or her complaint to a prison guard for mailing.
Noble v. Kelly, 246 F.3d 93, 97 (2d Cir. 2001). That date of
                                                                         a. First Amendment Retaliation Claims
delivery is presumed to be the date that the inmate signs his
or her complaint. Johnson v. Connolly, No. 9:07-CV-0158          *5 Brown asserts First Amendment retaliation claims
(LEK/GHL), 2008 W L 724167, at *7 (N.D.N.Y. Mar. 17,            against Friedman, Coburn, Clearwater, Dequarto,
2008).                                                          Smithem, Travis, Hetcher, Meinecke, and John Doe. See
                                                                Compl. ¶¶ 10-11, 14-18, 20-21, 23. According to the dates
Defendants argue that plaintiff wrote, in his cover letter      of the retaliatory acts alleged in Brown’s complaint, the
addressed to the Court dated December 4, 2015, that he          accrual dates for these claims are as follows: February
was “sorry” for submitting his complaint late. See Dkt.         2012; March 2012; September 6 and 8, 2012; October 16,
No. 34-1 at 5; Dkt. No. 1-2. Additionally, the envelope         25, and 28, 2012; and November 4 and 6, 2012. See id.
containing the cover letter and complaint bears the date
of December 7, 2015. Dkt. No. 1-3. Thus, defendants             The Second Circuit has held that “[t]he mere fact that the
argue that the date of filing for the purpose of the            effects of retaliation are continuing does not make the
Court’s analysis should be December 4, 2015—the date            retaliatory act itself a continuing one.” Gonzalez v. Hasty,
that Brown signed the cover letter. Dkt. No. 34-1 at 5. The     802 F.3d 212, 222 (2d Cir. 2015) (citation omitted). “First
Court agrees.                                                   Amendment retaliation claims typically accrue at the time
                                                                that the allegedly wrongful conduct occurred.” Albritton
The presumption that the day that Brown signed his              v. Morris, No. 13-CV-3708 (KMK), 2016 W L 1267799, at
complaint is the date that the complaint was delivered to       *10 (S.D.N.Y. Mar. 30, 2016) (citing Smith v. Campbell,
a prison official for mailing need not apply here because       782 F.3d 93, 101 (2d Cir. 2015)) (additional citation
Brown readily admits in his response to defendants'             omitted). Therefore, the statute of limitations “begins to
motion that he did not send his complaint to the Court          run when the defendant has ‘engaged in enough activity
until December 4, 2015. See Dkt. No. 45 at 10. Brown            to make out an actionable claim.’ ” Gonzalez, 802 F.3d
explains that he failed to append the proper amount             at 22 (quoting Nat'l R.R. Passenger Corp. v. Morgan, 536
of postage when he attempted to mail his complaint              U.S. 101, 111 (2002)). In contrast, the continuing violation
on October 16, 2015. Id. at 9-10. Thus, the package             doctrine only applies “to claims that by their nature
containing his complaint was returned to him sometime           accrue only after the plaintiff has been subjected to some
between November 19, 2015 and November 27, 2015. 5              threshold amount of mistreatment.” Id. (citing Morgan,
Id. at 9-10. Brown asked his “legal assistant” to type a        536 U.S. at 114-15). The continuing violation doctrine
new cover letter and sent the package—with the correct          does not apply to “discrete unlawful acts.” Albritton, 2016
postage appended—on December 4, 2015. Id. at 10. Thus,          W L 1267799, at *10 (quoting Gonzalez, 802 F.3d at 220).
the Court finds that December 4, 2015 is the correct date
of filing.                                                      Here, Brown’s First Amendment retaliation claims all
                                                                concern discreet acts. On February 7, 2012, Brown
                                                                claims Coburn threatened him after he filed a grievance
                                                                complaining of harassment and excessive pat frisks.
             2. Continuing Violation Doctrine
                                                                Compl. ¶ 10. Brown further claims that the harassment
The continuing violation doctrine delays the accrual            and aggressive pat frisks perpetrated by Coburn,
date for a claim challenging a discriminatory policy            Friedman, and John Does started in January 2012 and
“ ‘until the last discriminatory act in furtherance of          “continued daily.” Id. ¶ 11. On September 6 and 8, 2012,
[the discriminatory policy].’ ” Shomo v. City of New            and October 16 and 25, 2012, Friedm an performed
York, 579 F.3d 176, 181 (2d Cir. 2009) (quoting                 retaliatory cell searches. Id. ¶ 15-16. On October 28, 2012,



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         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)                26 Filed 04/16/19 Page 22 of 91
2017 WL 1155825

Coburn, Clearwater, Dequarto, and Smithem assaulted            Amendment excessive force claim accrued on October 28,
Brown in retaliation for his filing grievances. Id. ¶ 18.      2012, and is time-barred by the statute of limitations.
On November 3 and 4, 2012, Travis, Hetcher, Meinecke,
and John Doe took Brown’s pens and interfered with his
ability to file grievances in retaliation for Brown’s filing
                                                                                  C. Equitable Tolling
grievances. Id. ¶¶ 19-20. On November 4, 2012, Friedman
issued Brown a false misbehavior report. Id. ¶ 21.             Equitable tolling of the statute of limitations is applicable
                                                               in certain situations where the Court determines that a
Here, Brown has not pled facts sufficient to show that         plaintiff should, in fairness, be excused from his or her
he was suffering from an ongoing wrong. To show                lateness in filing a complaint. Gonzalez, 651 F.3d at
a continuing violation, Brown “must ‘allege both the           322. “ ‘Equitable tolling is an extraordinary measure that
existence of an ongoing policy ... and some non-time-          applies only when plaintiff is prevented from filing despite
barred acts taken in the furtherance of that policy.’ ”        exercising that level of diligence which could reasonably
Shomo, 579 F.3d at 182 (quoting Harris, 186 F.3d at            be expected in the circumstances.’ ” Id. (quoting Veltri v.
250). All of the discrete acts allegedly committed by          Bldg. Serv. 32B–J Pension Fund, 393 F.3d 318, 322 (2d
defendants are time-barred, and to the extent that Brown       Cir. 2004)).
vaguely asserts continuing harassment, such claims are
insufficient to state a claim of a continuing violation        Here, defendants argue that equitable tolling does not
of his rights. See Albritton, 2016 W L 1267799, at *11         apply because Brown never filed a grievance, and
(finding no indication of an ongoing wrong where the           therefore never triggered the tolling of the applicable
plaintiff complained of discrete acts including writing        statute of limitations. Dkt. No. 34-1 at 6-7. Brown has
“false ticket[s]”, threats, and other acts of harassment).     raised multiple reasons that he claims entitle him to
Although Brown asserts that he suffered from continuing        equitable tolling of the statute of limitations. See Dkt.
harassment, such an allegation does not transform the          No. 45 at 6-11. First, Brown points to the fact that he
discrete acts already alleged in his complaint into a          had knee replacement surgery on March 26, 2013, which
continuing violation, as the statute of limitations for        required a one-month hospitalization. Id. at 6-7. Then, he
those discrete acts accrued on the date that “all of the       was sent to the SHU at Upstate Correctional Facility. Id.
elements necessary to state the claim are present.” Smith v.   at 7. Following this period of incarceration, Brown spent
Campbell, 782 F.3d 93, 101 (2d Cir. 2015). Thus, the Court     another month in the infirmary following complications
finds that Brown’s First Amendment retaliation claims          from his knee surgery. Id. On July 5, 2013, Brown was
accrued on the dates alleged in Brown’s complaint, 6 and       transferred to Five Points C.F., where he claims to have
are time-barred.                                               been harassed. Id. After arriving at Five Points C.F.,
                                                               he discovered that his legal and medical papers were
                                                               missing or damaged. Id. He continued to suffer from
                                                               numerous ailments caused by defendants that required
          b. Eighth Amendment Excessive Force
                                                               visits to the infirmary and outside hospitals. Id. at 8.
 *6 To the extent that Brown alleges a continuing              Brown claims that he was only able to work on his federal
violation based on his claim that Coburn, Clearwater,          complaint when he met another inmate who agreed to
Dequarto, and Smithem used excessive force against him,        help him prepare his papers in October 2014. Id. Brown
such a claim also fails to establish a continuing violation    then underwent a second surgery on September 23, 2015
of his rights. See Compl. ¶ 18. The alleged use of excessive   and was kept in the hospital until mid-October. Id. at 8-9.
force on October 28, 2012 is best described as a “discrete,    Brown finally mailed his complaint on October 16, 2015,
separate act[ ]” that accrued on that date. MacFarlane v.      but the package was returned due to insufficient postage.
Ewald, No. 10-CV-2877 (JFB)(ARL), 2016 WL 4076585,             Id. at 9-10. Thus, Brown did not file his complaint until the
at *3 (E.D.N.Y. Aug. 1, 2016) (finding that the plaintiff’s    date he mailed it with the correct postage on December 4,
allegations of two separate excessive force incidents were     2015. Id. at 10. Based on these hardships allegedly suffered
discrete acts and not sufficient to establish a continuing     by Brown, he claims that the statute of limitations should
violation). Thus, the Court finds that Brown’s Eight           be tolled. Id. at 10-11.




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         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)                26 Filed 04/16/19 Page 23 of 91
2017 WL 1155825


                                                               Here, Brown has not addressed defendants' argument
        1. Exhaustion of Administrative Remedies
                                                               that equitable tolling does not apply because Brown
Concerning federal complaints that fall under the Prison       never raised an administrative claim. See Dkt. No. 34-1
Litigation Reform Act, the Second Circuit has held that        at 7. Indeed, under the Second Circuit’s rule, “the
the applicable statute of limitations is tolled while an       equitable tolling period begins when a plaintiff first raises
                                                               his administrative claim, and ends when the plaintiff's
inmate is exhausting administrative remedies. 7 Gonzalez,
                                                               administrative remedies are deemed exhausted.” Povoski
651 F.3d at 323. An inmate incarcerated at a New
                                                               v. Lacy, No. 9:14-CV-97 (BKS/CFH), 2016 W L 908899,
York State correctional facility exhausts administrative
                                                               at *4 (N.D.N.Y. Feb. 8, 2016) (citing Gonzalez, 651 F.3d
remedies utilizing the three-step process promulgated by
                                                               at 324).
DOCCS regulations. 8 Abney v. McGinnis, 380 F.3d 663,
668-69 (2d Cir. 2004). The applicable statute of limitations   Brown admits that he failed to exhaust his administrative
is tolled during the time that an inmate is “ ‘actively        remedies, but argues that he was threatened with bodily
exhausting’ his administrative remedies.” Melendez v.          harm, and that his writing materials were confiscated,
Greiner, 477 Fed.Appx. 801, 803 (2d Cir. 2012) (quoting        preventing him from filing grievances. Dkt. No. 1-4
Gonzalez, 651 F.3d at 322 n.2).                                at 3. Although “reasonable fear of retaliation may
                                                               be sufficient to constitute extraordinary circumstances
 *7 Brown does not argue in his response to defendants'        warranting equitable tolling[,] ... every inmate is [not]
motion that the statute of limitations should be tolled        entitled to equitable tolling merely because he resides in an
while he pursued administrative remedies. However, in          environment that intrinsically works to his disadvantage.”
the days following the February 7, 2012 incident with          Davis, 2016 WL 5720811, at *11. Brown alleges in his
Friedman, Coburn, and John Does, and the October 28,           complaint that, on two separate occasions, correction
2012 assault, Brown claims that defendants intercepted         officers intercepted and destroyed his grievances. Compl.
and destroyed his grievances. Compl. ¶¶ 10, 20. He             ¶¶ 10, 20. However, Brown was able to file a grievance
claims that he wrote to Five Points C.F. supervisors           without difficulty in July 2013, after Five Points C.F.
regarding Coburn’s destruction of the grievance he wrote       allegedly lost his legal and medical papers. Dkt. No. 45
on February 7, 2012. Id. ¶ 12. He also claims that,            at 7. Additionally, in his response to defendants' motion,
during his disciplinary hearing in November 2012, he           Brown claims that he was unable to file his complaint
complained to the hearing officer regarding defendants         timely because he was suffering from multiple medical
and other officers taking his grievances and writing           issues. See id. at 6-11. He makes no mention of any
materials. Id. ¶ 22. Nevertheless, Brown’s response to         difficulties filing grievances. Additionally, when Brown
defendants' motion argues that the statute of limitations      did attempt to file his complaint, it was returned to him
should be equitably tolled because of the myriad health        due to inadequate postage. Id. at 9-10. Brown made
issues that he experienced during his incarceration. Dkt.      no allegation that the complaint was filed late due to
No. 45 at 5-12.                                                interference from prison officials, or fear of retaliation.

The plaintiff bears the burden of showing that he or she       Based on the foregoing, the Court finds that Brown
is entitled to equitable tolling. See Abbas v. Dixon, 480      has failed to meet his burden in showing that he is
F.3d 636, 642 (2d Cir. 2007). Therefore, Brown must            entitled to equitable tolling during the time he pursued
show that he “was actively exhausting” his administrative      administrative remedies.
remedies during the period in question, otherwise “his
burden will go unmet.” Davis v. Jackson, No. 15-CV-5359
(KMK), 2016 W L 5720811, at *8 (S.D.N.Y. Sept. 30,
2016) (citation omitted). Further, Brown must show that                      2. Brown’s Medical Condition
he brought this action “within a reasonable period of
                                                               The Second Circuit has held that “equitable tolling may
time after the facts giving rise to the equitable tolling or
                                                               be appropriate where the plaintiff's failure to comply with
equitable estoppel claim have ceased to be operational.”
                                                               the statute of limitations is attributable to the plaintiff's
Abbas, 480 F.3d at 642 (internal quotation marks and
                                                               medical condition.” Brown v. Parkchester S. Condos., 287
citation omitted).


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         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)                   26 Filed 04/16/19 Page 24 of 91
2017 WL 1155825

F.3d 58, 60 (2d Cir. 2000). However, a plaintiff’s medical        See Rhodes v. Sheahan, No. 9:13-CV-00057, 2016 WL
                                                                  890081, at *8 (N.D.N.Y. Jan. 12, 2016) (finding that
condition must be so severe as to affect the plaintiff’s
                                                                  the plaintiff failed to establish how his spinal surgery
cognitive functioning and ability to communicate, so
                                                                  prevented him from filing his habeas petition in a timely
much so that they are rendered unable to pursue their legal
                                                                  manner).
rights. See id. at 61 (allowing an evidentiary hearing to
determine whether the plaintiff’s suffering three strokes
                                                                  Based on the foregoing, the Court finds that Brown has
impaired his ability to pursue his legal rights); Arbas
                                                                  failed to meet his burden in showing that he is entitled to
v. Nicholson, 403 F.3d 1379, 1381 (Fed. Cir. 2005)
                                                                  equitable tolling due to his medical condition.
(describing a stroke, head trauma, and a heart attack as
possible ailments that would impair a person’s ability to
diligently pursue their legal rights).
                                                                                         III. Conclusion
 *8 Here, Brown argues that because he was hospitalized
multiple times during his incarceration, he was unable to         For the reasons stated above, it is hereby:
pursue his legal rights. Dkt. No. 45 at 6-11. The Court           RECOMMENDED that defendants' motion for dismissal
finds Brown’s argument unavailing. First, Brown’s most            (Dkt. No. 34) pursuant to Fed. R. Civ. P. 12(c) of plaintiff
recent claim began to accrue on November 4, 2012—the              Dennis Brown’s complaint (Dkt. No. 1) be GRANTED;
date that Friedman allegedly issued a false misbehavior           and it is further
report. Compl. ¶ 21. His earliest claim began to accrue
on February 7, 2012, when Friedman threatened him.                RECOMMENDED that this case be DISMISSED in its
Id. ¶ 10. Brown claims that he could not pursue these             entirety as to all claims and all defendants; and it is further
claims because he had knee replacement surgery on March
26, 2013—nearly five months after the most recent claim           ORDERED that the Clerk serve a copy of this Report-
accrued. Dkt. No. 45 at 6. Brown was then placed in the           Recommendation and Order on the parties in accordance
SHU, and hospitalized again from May 16, 2013 through             with Local Rules.
June 21, 2013. Id. at 6-7. Brown claims that his legal papers
were lost when he was transferred to Five Points C.F. on          Pursuant to 28 U.S.C. § 636(b)(1), the parties m ay lodge
July 5, 2013 and claims that he kept “going back and forth        written objections to the foregoing report. Such objections
either to the clinic, infirmary or an outside hospital[,]” but    shall be filed with the Clerk of the Court. FAILURE TO
provides no explanation as to why he waited until October         OBJECT TO THIS REPORT WITHIN FOURTEEN
16, 2015 to attempt to file his complaint. Id. at 7-9.            (14) DAYS WILL PRECLUDE APPELLATE REVIEW.
Brown’s chronological medical history fails to show “how          Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993); Sm all
[his] condition adversely affected [his] capacity to function     v. Sec'y of HHS, 892 F.2d 15 (2d Cir. 1989); see also 28
generally or in relationship to the pursuit of [his] rights[.]”   U.S.C. § 636(b)(1); FED. R. CIV. P. 72, 6(a), 6(e).
Boos v. Runyon, 201 F.3d 178, 185 (2d Cir. 2000).
Because Brown has not shown that his hospitalizations
                                                                  All Citations
and surgeries impeded his ability to successfully file his
federal complaint, he has not met his burden in proving           Not Reported in Fed. Supp., 2017 WL 1155825
that the statute of limitations should be equitably tolled.


Footnotes
1      This matter was referred to the undersigned for report and recommendation pursuant to 28 U.S.C. § 636(b) and
       N.D.N.Y.L.R. 72.3(c).
2      Multiple claims against other DOCCS officials were dismissed by District Judge Brenda K. Sannes upon initial review of
       the complaint pursuant to 28 U.S.C. § 1915(e)(2)(B). See Dkt. No. 11.
3      The complaint filed by Brown is missing a page and has pages out of order. See Compl. After the Court directed Brown to
       file a complaint that complies with the Court’s Local Rules, Brown filed a supplement to his complaint on March 2, 2016.
       Dkt. No. 10. The supplement was added to Brown’s complaint. See Dkt. No. 1-4.




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         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)                    26 Filed 04/16/19 Page 25 of 91
2017 WL 1155825

4     All unpublished opinions cited to by the Court in this Report-Recommendation and Order are, unless otherwise noted,
      attached to this Report-Recommendation and Order.
5     Brown is not sure exactly which date the package was returned to his cell because he was hospitalized during this time.
      Dkt. No. 45 at 10.
6     The accrual dates are as follows: February 2012; March 2012; September 6 and 8, 2012; October 16, 25, and 28, 2012;
      and November 4 and 6, 2012. Compl. ¶¶ 10-11, 14-18, 20-21, 23.
7     The Prison Litigation Reform Act (“PLRA”) requires that a prisoner exhaust any administrative remedies available to
      him or her before bringing an action for claims arising out of his or her incarceration. Porter v. Nussle, 534 U.S. 516,
      524 (2002); see also Woodford v. Ngo, 548 U.S. 81, 82 (2006). To exhaust administrative remedies, the inmate must
      complete the full administrative review process set forth in the rules applicable to the correctional facility in which he or
      she is incarcerated. Jones v. Bock, 549 U.S. 199, 218 (2007) (internal citation omitted).
8     First, the inmate must file a complaint with an inmate grievance program (“IGP”) clerk within twenty-one days of the
      alleged action. Id. at N.Y. COMP. CODES R. & REGS. tit. 7, § 701.5(a)(1). An IGP representative has sixteen calendar
      days to informally resolve the issue. Id. at § 701.5(b)(1). If no informal resolution occurs, the full IGP committee must hold
      a hearing within sixteen days of receipt of the grievance and must issue a written decision within two working days after
      the conclusion of the hearing. Id. §§ 701.5(b)(2)(i)-(ii). If the determination is unfavorable to the inmate, the inmate may
      appeal the IGRC’s determination to the facility superintendent within seven calendar days of receipt of the determination.
      Id. § 701.5(c)(1). If the superintendent’s determination is unfavorable to the inmate, the inmate may appeal to the Central
      Office Review Committee (“CORC”) within seven days after receipt of the superintendent’s determination. Id. §§ 701.5(d)
      (i)-(ii). CORC must “review each appeal, render a decision on the grievance, and transmit its decision to the facility, with
      reasons stated, for the [inmate], the grievance clerk, the superintendent, and any direct parties within thirty (30) calendar
      days from the time the appeal was received.” Id. § 701.5(d)(3)(ii).


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         Case 9:18-cv-01232-DNH-DEP
Brown v. Smithem,                                Document
                  Not Reported in Fed. Supp. (2017)                    26 Filed 04/16/19 Page 26 of 91
2017 WL 1155827

                                                                   failure to object to the report within fourteen days would
                                                                   preclude appellate review. Dkt. No. 54, p. 18.
                  2017 WL 1155827
    Only the Westlaw citation is currently available.
                                                                   Following the Report-Recommendation, Plaintiff filed
     United States District Court, N.D. New York.
                                                                   a one-page later letter. Dkt. No. 55. Although the
                Dennis BROWN, Plaintiff,                           letter does not indicate that Plaintiff intends it to be
                          v.                                       an objection to the Report-Recommendation, the Court
           Sgt. SMITHEM, et al., Defendants.                       has reviewed it to determine whether, read liberally,
                                                                   it might be so construed. Id. In the letter, Plaintiff
                9:15-CV-01458 (BKS/CFH)                            reiterates the assertions he made in the cover letter to
                            |                                      the Complaint, Dkt. No. 1-2, the contents of which he
                    Signed 03/27/2017                              also quoted in his response to the motion to dismiss.
                                                                   Dkt. No. 45, pp. 4, 6–7. Since the letter, even construed
Attorneys and Law Firms                                            liberally, fails to raise a specific objection and the time
                                                                   for filing objections has expired, the Court reviews the
Dennis Brown, 96-A-3118, Riverview Correctional
                                                                   Report-Recommendation for clear error. See Silva v.
Facility, P.O. Box 247, Ogdensburg, NY 13669, Plaintiff,
                                                                   Peninsula Hotel, 509 F. Supp. 2d 364, 366 (S.D.N.Y.
pro se.
                                                                   2007) (“If ... the party ... simply reiterates her original
Denise P. Buckley, Esq., Hon. Eric T. Schneiderman,                arguments, the district court reviews the report and
Office of New York State Attorney General, The Capitol,            recommendation only for clear error.” (internal quotation
Albany, NY 12224, Attorney for Defendants.                         marks omitted)); Petersen v. Astrue, 2 F. Supp. 3d 223,
                                                                   228-29 (N.D.N.Y. 2012); Fed. R. Civ. P. 72(b) advisory
                                                                   committee’s note to 1983 amendment. Having reviewed
                                                                   the Report-Recommendation for clear error and found
     MEMORANDUM-DECISION AND ORDER
                                                                   none, the Report-Recommendation is adopted in its
Hon. Brenda K. Sannes, United States District Judge:               entirety.

 *1 Plaintiff Dennis Brown, a New York State inmate,               For these reasons, it is
commenced this civil rights action asserting claims under
42 U.S.C. § 1983 arising out of his incarceration at               ORDERED that the Report-Recommendation (Dkt. No.
Five Points Correctional Facility. Dkt. No. 1. In his              54) is ADOPTED in its entirety; and it is further
Complaint, Plaintiff alleges that the Defendants violated
his rights under the First and Eight Amendments. On                ORDERED that Defendants' motion to dismiss (Dkt.
August 18, 2016, Defendants filed a motion for judgment            No. 34) is GRANTED and this case DISMISSED in its
on the pleadings under Fed. R. Civ. P. 12(c) on the                entirety; and it is further
grounds that Plaintiff’s Complaint is barred by the statute
of limitations. Dkt. No. 34. Plaintiff opposed the motion.         ORDERED that the Clerk serve a copy of this Order upon
Dkt. No. 45. This matter was referred to United States             the parties in accordance with the Local Rules.
Magistrate Judge Christian F. Hummel who, on February
28, 2017, issued a Report-Recommendation and Order                 IT IS SO ORDERED.
recommending that Defendants' motion be granted and
that this case be dismissed in its entirety. Dkt. No. 54.
Magistrate Judge Hummel advised the parties that under             All Citations
28 U.S.C. § 636(b)(1), they had fourteen days within
                                                                   Not Reported in Fed. Supp., 2017 WL 1155827
which to file written objections to the report, and that the

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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed   04/16/19 Page 27 of 91
2018 WL 840056



                 2018 WL 840056
   Only the Westlaw citation is currently available.           MEMORANDUM-DECISION AND ORDER
    United States District Court, N.D. New York.
                                                          Mae A. D'Agostino, U.S. District Judge
          COOPER CROUSE-HINDS, LLC,
         Cooper Industries, LLC, Plaintiffs,                                I. INTRODUCTION
                        v.
      CITY OF SYRACUSE, NEW YORK, County                   *1 On March 31, 2017, Plaintiffs Cooper Crouse-
                                                          Hinds, LLC (“CCH”), and Cooper Industries, LLC
        of Onondaga, New York, Defendants.
                                                          (“CI”), filed the amended complaint in this action against
                 16-CV-1201 (MAD/ATB)                     Defendants City of Syracuse (the “City”) and County
                            |                             of Onondaga (the “County”). See Dkt. No. 26. This
                   Signed 02/12/2018                      action arises out of the disposal of hazardous waste at
                                                          landfills in Syracuse, New York. Plaintiffs seek relief
Attorneys and Law Firms                                   pursuant to the Comprehensive Environmental Response,
                                                          Compensation, and Liability Act (“CERCLA”), the
SQUIRE PATTON BOGGS LLP, OF COUNSEL:                      New York Hazardous Waste Disposal Site Remedial
BRIAN D. STARER, ESQ., VICTOR GENECIN, ESQ.,
                                                          Program Law (“State Superfund Law”), the New York
30 Rockefeller Plaza, 23rd Floor, New York, New York      Environmental Conservation Law, and the New York Oil
10112-0015, Attorneys for Plaintiffs.                     Spill Act (“Navigation Law”), as well as common law
                                                          causes of action. The City and the County filed separate
SQUIRE PATTON BOGGS LLP, OF COUNSEL:
                                                          motions to dismiss, which are presently before the Court.
D. REES ALEXANDER, ESQ., DANELLE M.
                                                          See Dkt. Nos. 29, 30. For the following reasons, the
GAGLIARDI, ESQ., REBEKAH M. SINGH, ESQ.,
                                                          motions are granted in part and denied in part.
VINCENT ATRIANO, ESQ., 41 S. High Street, Suite
2000, Columbus, Ohio 43215, Attorneys for Plaintiffs.

HANCOCK ESTABROOK, LLP, OF COUNSEL:                                         II. BACKGROUND
JOHN G. POWERS, ESQ., HOLLY K. AUSTIN,
ESQ., PAUL J. TUCK, ESQ., 1500 AXA Tower I, 100           The Crouse-Hinds Company, the predecessor to
Madison Street, Syracuse, New York 13202, Attorneys for   Plaintiffs, was founded in 1897 and manufactured
Defendant City of Syracuse.                               electronic equipment. See Dkt. No. 1 at ¶ 14. In
                                                          approximately 1911, the Crouse-Hinds Company built
CITY OF SYRACUSE CORPORATION COUNSEL,                     a manufacturing facility in Syracuse, New York. See
OF COUNSEL: CHRISTINE M. GARVEY, ESQ., 233                id. at ¶ 15. Between 1911 and 1948, the Crouse-Hinds
East Washington Street, Room 300 City Hall, Syracuse,     Company acquired property (the “Site”) adjacent to the
New York 13202, Attorneys for Defendant City of           manufacturing facility that would later be used for the
Syracuse.                                                 disposal of trash, including solid waste, foundry sands and
                                                          cores, scrap wood, and other debris. See id. at ¶¶ 16-17.
ONONDAGA COUNTY DEPARTMENT OF LAW,
                                                          That property was divided into two separate landfills, each
OF COUNSEL: BENJAMIN M. YAUS, ESQ., John H.
                                                          of which contained disposal facilities: the North Landfill,
Mulroy Civic Center, 421 Montgomery Street, 10th Floor,
                                                          which is located in the Town of Salina, and the South
Syracuse, New York 13202, Attorneys for Defendant
                                                          Landfill, which is located in the City of Syracuse. See id.
Onondaga County.
                                                          at ¶¶ 17-18. The North and South Landfills are bisected by
THE WLADIS LAW FIRM, PC, OF COUNSEL:                      Seventh North Street, and the Ley Creek runs along the
KEVIN C. MURPHY, ESQ., 6312 Fly Road, East                northwestern edge of the Site. See id. The North Landfill
Syracuse, New York 13057, Attorneys for Defendant         was in use from the mid-1950s until 1989, and the South
Onondaga County.                                          Landfill was in use from 1960 until 1969. See id. at ¶ 18.
                                                          The Site is now owned by CCH. See id. at ¶ 19. In 1981,



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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed      04/16/19 Page 28 of 91
2018 WL 840056

CI aquired ownership of the Crouse-Hinds Company, and         On multiple occasions in the early 1960s, the Crouse-
the two later merged into Cooper Industries, Inc., which      Hinds Company notified Syracuse DPW that it was
is now CI. See id. at ¶ 14.                                   disposing of waste in a manner that did not comply with
                                                              the 1960 Indenture. See id. at ¶¶ 28-31. In August 1965,
                                                              Syracuse DPW ceased disposal activities at the South
A. The City and the County                                    Landfill, but it did not address the conditions at the Site
On November 4, 1960, the Crouse-Hinds Company                 as required by the 1960 Indenture. See id. Subsequently,
and the City of Syracuse Department of Public Works           Syracuse DPW leased a property that is adjacent to the
(“Syracuse DPW”) entered into a written indenture             North Landfill and was owned by a separate company.
agreement (“1960 Indenture”) allowing Syracuse DPW to         See id. at ¶ 32. To facilitate use of that property, the
use the South Landfill for waste disposal at no cost. See     Crouse-Hinds Company transferred a 100-foot-wide strip
id. at ¶ 20. In the 1960 Indenture, Syracuse DPW agreed to    of land along the edge of the North Landfill to Syracuse
                                                              DPW. See id. at ¶ 33. Syracuse DPW built a road to access
                                                              the new property using fill that included contaminated
            release, indemnify and save harmless              sediments. See id. Syracuse DPW dumped waste at that
            the Owner from and against                        property from approximately 1965 through 1970. See id.
            any and all such loss, injury                     at ¶ 32.
            and damage and any and all
            claims demands, actions, judgments,               On August 30, 1972, the Crouse-Hinds Company entered
            costs, expenses (including, without               into an Option Agreement with Onondaga County that
            limitation, reasonable counsel fees)              transferred to the County a 1.4-acre strip of property
            and liabilities of every name and                 located on the western border of the North Landfill and
            nature which may arise or result                  adjacent to Ley Creek. See id. at ¶ 36. The agreement
            directly or indirectly from or by                 also granted the County a right of way along the western
            reason of any such loss, injury or                side of the South Landfill, and it allowed the County to
            damage or from or by reason of                    widen and deepen the Ley Creek channel. See id. As part
            the failure of the City fully to                  of that work, the County spread contaminated dredged
            keep, perform, observe and fulfill                spoils from Ley Creek over portions of the South Landfill,
            any of the covenants, conditions                  which released hazardous substances including PCBs and
            or restrictions herein contained to               petroleum at the Site. See id. at ¶ 37. The 1972 Option
            be kept, performed, observed and                  Agreement provided that
            fulfilled by the City.


                                                                          the County shall defend, save
 *2 See Dkt. No. 26-2 at 3. Pursuant to the 1960                          harmless and indemnify Crouse-
Indenture, Syracuse DPW widened, deepened, and                            Hinds from and against any and
cleaned out streams and culverts at the Site; it built and                all claims against Crouse-Hinds and
restored drainage ditches at the Site; and it cleaned out                 any and all loss, costs, damages
the Ley Creek Channel. See Dkt. No. 26 at ¶¶ 22-23.                       or expenses (including without
In connection with that work, Syracuse DPW dredged                        limitation reasonable counsel fees)
sediments and debris containing hazardous substances                      which Crouse-Hinds may suffer,
and petroleum, and the sediments and debris were dumped                   sustain or incur by reason of
at the Site. See id. at ¶ 25. From approximately 1961                     bodily injury (or claims thereof) to
through 1965, Syracuse DPW dumped a total of roughly                      any persons whomsoever, or any
520,000 cubic yards of municipal, commercial, and                         damages to the real or personal
industrial wastes in the South Landfill, which accounts for               property of Crouse-Hinds or of any
approximately one half of all waste dumped in the South                   other person, firm or corporation
Landfill. See id. at ¶ 27.                                                (or claims thereof) arising or which
                                                                          shall be claimed to have arisen out



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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed        04/16/19 Page 29 of 91
2018 WL 840056

            of the County's use of the premises                 *3 On February 27, 2011, NYSDEC held a public
            described herein.                                  meeting attended by representatives of the County and
                                                               the City where it discussed a Proposed Remedial Action
                                                               Plan for the Site. See id. at ¶ 55. On March 31, 2011,
See Dkt. No. 26-3 at 6. In the early 1970s, the Crouse-        NYSDEC issued a decision summarizing its findings and
Hinds Company notified the County that the County              outlining a remediation plan for the Site. See id. at ¶ 56.
had improperly disposed of dredged spoils contaminated         CCH agreed to the plan and entered into a consent order
with PCBs and other hazardous substances at the Site, as       with NYSDEC (“2011 Order”) on August 29, 2011, but CI
well as locations upstream of the Site that led to further     was not a party to the agreement. See id. at ¶ 57. The 2011
contamination of the Site. See id. at ¶¶ 43-46.                Order included language providing for release of CCH's
                                                               liability to the state “[u]pon the Department's issuance
The Crouse-Hinds Company and its successors did not            of a Certificate of Completion.” See id. at 57. Plaintiffs
use PCBs in their operations. See id. at ¶ 43. Therefore,      took action in accordance with the 2011 Order and began
all of the PCB contamination of the Site was a result          remediation work in October 2012. See id. at ¶ 59. Between
of actions taken by the City and the County. See id.           December 2012 and November 2013, Plaintiffs undertook
Due to Defendants' disposal of contaminated sediments          significant work, including the excavation and offsite
at and near the Site, the United States Environmental          disposal of approximately 650 tons of PCB-contaminated
Protection Agency (“EPA”) has identified both the City         waste and 5,150 tons of petrolium-impacted soils. See id.
and the County as “potentially responsible parties” under      at ¶¶ 59, 63.
CERCLA. See id. at ¶ 46.
                                                               In April 2014, NYSDEC approved an additional
                                                               Remedial Design plan for the Site, which required the
B. Remedial Activities                                         capping of the North and South landfills, the creation of
In 1985, the New York State Department of                      buffer zones protecting Ley Creek and wetland areas, the
Environmental Conservation (“NYSDEC”) designated               excavation and disposal of hot spots, and the restoration
the Site as a Class 2 Inactive Hazardous Waste Disposal        of wetlands and drainage channels. See id. at ¶ 64. CCH
Site under the State Superfund Program. See id. at             disposed of an additional 825 tons of PCB-contaminated
¶ 47. On May 14, 2004, CI entered into a Consent               waste from the North Landfill in 2015, and the capping
Order with NYSDEC (“2004 Order”) pursuant to which             of the North and South Landfills is now complete. See id.
CI undertook sampling investigations and studies, as           at ¶¶ 65-66. To date, Plaintiffs have spent $11.9 million to
well as interim response measures at the Site. See             investigate and remediate contamination at the Site, and
id. at ¶ 48. CCH was not a party to the 2004                   long-term operation and maintenance over the next thirty
Order, but it may have incurred costs related to the           years are estimated to cost an additional $1.14 million. See
2004 Order's implementation. See id. at ¶¶ 48-49. CI's         id. at ¶ 68.
investigatory work included obtaining and analyzing
samples from various locations at the Site, including          Prior to filing the complaint in this action, Plaintiffs
surface soils, surface water, groundwater, and leachate.       attempted to secure contributions from the City and the
See id. at ¶ 51. The sampling revealed sediment exceeding      County. See id. at ¶ 70. During those negotiations, CCH,
NYSDEC standards for numerous hazardous substances,            the City, and the County entered into an agreement tolling
including benzene, chlorobenzene, 1,4-dichlorobenzene,         all “potential legal and contractual claims” for the period
PCBs,       benzo(a)anthracene,      benzo(b)fluoranthene,     from August 25, 2014 through October 3, 2016. See id. at
benzo(k)fluoranthene,       benzo(a)pyrene,        chrysene,   ¶ 70. To date, neither the City nor the County has made
indeno(1,2,3,-cd)pyrene, phenol, arsenic, cadmium, and         any financial contribution to remediating contamination
chromium. See id. at ¶ 54. CI's interim response measures      at the Site. See id. at ¶ 69.
included preventing the migration of contaminated
sediments, evaluating and removing free-phase petroleum
product, and installing a security fence. See id. at ¶ 52.     C. Procedural History
                                                               On October 4, 2016, CCH filed the complaint in this
                                                               action. See Dkt. No. 1. On March 31, 2017, Plaintiffs filed
                                                               the amended complaint, which named CI as a Plaintiff.


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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed         04/16/19 Page 30 of 91
2018 WL 840056

See Dkt. No. 26. In the amended complaint, Plaintiffs           Corp. v. Twombly, 550 U.S. 544, 557 (2007) (quotation
state the following causes of action: (1) cost recovery         omitted). Under this standard, the pleading's “[f]actual
under CERCLA, (2) contribution under CERCLA, (3)                allegations must be enough to raise a right of relief above
declaratory relief under CERCLA and New York law,               the speculative level,” id. at 555 (citation omitted), and
(4) breach of contract and contractual indemnity against        present claims that are “plausible on [their] face,” id. at
the City, (5) breach of contract and contractual indemnity      570. “The plausibility standard is not akin to a ‘probability
against the County, (6) contribution under the New York         requirement,’ but it asks for more than a sheer possibility
State Superfund Law, (7) strict liability under the New         that a defendant has acted unlawfully.” Iqbal, 556 U.S. at
York Spill Act, (8) contribution under the New York             678 (citation omitted). “Where a complaint pleads facts
Navigation Law, and (9) unjust enrichment. See Dkt. No.         that are ‘merely consistent with’ a defendant's liability, it
26 at ¶¶ 72, 86, 93, 97, 110, 122, 128, 137, 143. Defendants    ‘stops short of the line between possibility and plausibility
filed two separate motions to dismiss. See Dkt. Nos. 29,        of “entitlement to relief.” ’ ” Id. (quoting Twombly,
30. The City adopted all applicable arguments made in the       550 U.S. at 557). Ultimately, “when the allegations in
County's brief, and the County did the same in regard to        a complaint, however true, could not raise a claim of
the City's brief. See Dkt. No. 30-1 at 25; Dkt. No. 29-1 at     entitlement to relief,” Twombly, 550 U.S. at 558, or where
21. Plaintiffs opposed the motions, see Dkt. Nos. 33, 34,       a plaintiff has “not nudged [its] claims across the line
and Defendants filed replies, see Dkt. Nos. 35, 36.             from conceivable to plausible, the[ ] complaint must be
                                                                dismissed,” id. at 570.


                III. LEGAL STANDARD                             B. Statute of Limitations
                                                                The statute of limitations is an affirmative defense,
A. Motion to Dismiss
                                                                and it is well established that “[c]omplaints need
A motion to dismiss for failure to state a claim pursuant
                                                                not anticipate, or attempt to plead around, potential
to Federal Rule of Civil Procedure 12(b)(6) tests the legal
                                                                affirmative defenses.” High Falls Brewing Co., LLC v.
sufficiency of the party's claim for relief. See Patane v.
                                                                Boston Beer Corp., 852 F. Supp. 2d 306, 310 (W.D.N.Y.
Clark, 508 F.3d 106, 111-12 (2d Cir. 2007). In considering
                                                                2011). “Requiring plaintiffs to allege in a complaint facts
the legal sufficiency, a court must accept as true all well-
                                                                sufficient to overcome a statute of limitations affirmative
pleaded facts in the pleading and draw all reasonable
                                                                defense would shift the burden to raise and prove the
inferences in the pleader's favor. See ATSI Commc'ns, Inc.
                                                                affirmative defense from defendants, as the burden is
v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007) (citation
                                                                allocated and imposed by Rule 8(c)(1) of the Federal
omitted). This presumption of truth, however, does not
                                                                Rules of Civil Procedure, to plaintiffs.” Kattu v. Metro
extend to legal conclusions. See Ashcroft v. Iqbal, 556
                                                                Petroleum, Inc., No. 12-CV-54, 2013 WL 4015342, *4
U.S. 662, 678 (2009) (citation omitted). Although a court's
                                                                (W.D.N.Y. Aug. 6, 2013).
review of a motion to dismiss is generally limited to the
facts presented in the pleading, the court may consider
                                                                Therefore, a statute of limitations defense must generally
documents that are “integral” to that pleading, even if they
                                                                wait until after the motion-to-dismiss stage. See id.
are neither physically attached to, nor incorporated by
                                                                However, a complaint may be dismissed under Federal
reference into, the pleading. See Mangiafico v. Blumenthal,
                                                                Rule of Procedure 12(b)(6) as barred by a statute of
471 F.3d 391, 398 (2d Cir. 2006) (quoting Chambers v.
                                                                limitations where the complaint clearly shows that the
Time Warner, Inc., 282 F.3d 147, 152-53 (2d Cir. 2002));
                                                                plaintiff's claim is barred. See Messeroux v. Maimonides
see also Sutton ex rel. Rose v. Wachovia Secs., LLC, 208
                                                                Med. Ctr., No. 11-CV-5343, 2013 WL 2414690, *1 (citing
Fed. Appx. 27, 29-30 (2d Cir. 2006) (noting that, on a
                                                                Leonhard v. United States, 633 F.2d 599, 609 n.11 (2d Cir.
motion to dismiss, a court may take judicial notice of
                                                                1980)); see also Harris v. City of New York, 186 F.3d 243,
documents filed in another court).
                                                                250 (dismissing claims as time-barred at the pleading stage
                                                                is “appropriate only if a complaint clearly shows the claim
 *4 To survive a motion to dismiss, a party need only
                                                                is out of time”).
plead “a short and plain statement of the claim,” see
Fed. R. Civ. P. 8(a)(2), with sufficient factual “heft to
‘sho[w] that the pleader is entitled to relief,’ ” Bell Atl.



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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed         04/16/19 Page 31 of 91
2018 WL 840056

                                                                have been sued under §§ 106 or 107. See 42 U.S.C. § 9613(f)
                                                                (1).
                    IV. DISCUSSION

A. CERCLA                                                       Plaintiffs may seek reimbursement of remedial costs under
Enacted in 1980 in response to New York's Love Canal            either § 107(a) or § 113(f) but not both. “Each CERCLA
                                                                right of action carries with it its own statutory trigger,
Disaster, 1 CERCLA “is a remedial statute ‘designed to
                                                                and each is a distinct remedy available” to persons in
encourage prompt and effective cleanup of hazardous
                                                                different situations. Bernstein v. Bankert, 733 F.3d 190,
waste sites’ by ‘assuring that those responsible for any
                                                                202 (7th Cir. 2013); see also MPM Silicones, 931 F.
damage, environmental harm, or injury from chemical
                                                                Supp. 2d at 394 (“[T]he remedies in §§ 107(a) and 113(f)
poisons bear the costs of their actions.’ ” MPM Silicones,
                                                                complement each other by providing causes of action ‘to
LLC v. Union Carbide Corp., 931 F. Supp. 2d 387, 392-93
                                                                persons in different procedural circumstances’ ”) (quoting
(N.D.N.Y. 2013) (quoting Niagara Mohawk Power Corp.
                                                                United States v. Atl. Research Corp., 551 U.S. 128, 139
v. Chevron U.S.A., Inc., 596 F.3d 112, 120 (2d Cir. 2010)).
                                                                (2007)). If a PRP has been sued under §§ 106 or 107,
“In furtherance of these purposes, the statute imposes
                                                                it may recover contributions pursuant to § 113(f)(1).
strict liability on owners and facility operators, on persons
                                                                See Bernstein, 733 F.3d at 202. If a PRP has resolved
who arranged for the disposal or treatment of hazardous
                                                                its liability to the federal or state government in an
waste at the relevant site, and on persons who transported
                                                                administrative or judicially approved settlement, it may
hazardous waste to the site.” Price Trucking Corp. v.
                                                                recover contributions pursuant to § 113(f)(3)(B). See id.
Norampac Indus., Inc., 78 F.3d 75, 80 (2d Cir. 2014) (citing
                                                                Only if neither of those two conditions are present may
42 U.S.C. § 9607(a)(1)–(4)).
                                                                a PRP bring a cost recovery action under § 107. See id.;
                                                                see also DMJ Assocs., L.L.C. v. Capasso, 181 F. Supp.
Under CERCLA, States and the federal government may
                                                                3d 162, 169 (E.D.N.Y. 2016) (“Accordingly, some of
“initiate comprehensive cleanups and ... seek recovery of
                                                                the [plaintiffs'] costs are recoverable only under § 107,
expenses associated with those cleanups” from property
                                                                while some are separately recoverable only under § 113.
owners, who are strictly liable for the hazardous materials
                                                                Consistent with the Supreme Court's holding in [United
on their property. Niagara Mohawk, 596 F.3d at 120. To
                                                                States v. Atlantic Research Corp., 551 U.S. 128 (2007) ],
relieve the burden on property owners, CERCLA permits
                                                                none of the listed costs are recoverable under both sections
them to “seek reimbursement of their cleanup costs from
                                                                simultaneously”).
others in the chain of title or from certain polluters—
the so-called potentially responsible parties ('PRPs').” Id.
citing (42 U.S.C. § 9607(a)). That recourse is available           1. Availability of §§ 107 and 113(f)(3)(b)
through three separate provisions in CERCLA: §§ 107(a),         Defendants argue that Plaintiffs are precluded from
113(f)(1), and 113(f)(3)(B). See id.                            bringing certain claims under § 107 in this case. See Dkt.
                                                                No. 29-1 at 6. In particular, Defendants argue that the
 *5 Section 107(a) authorizes parties—including the             2004 Order resolved CI's liability for the costs incurred in
United States, a state, or a PRP—to seek reimbursement          complying with that order, which constitutes a statutory
for costs incurred remediating pollution at a property.         trigger requiring CI to proceed under § 113(f)(3)(B), not §
See 42 U.S.C. § 9607(a)(4). However, parties may recover        107. See id. at 13. Similarly, Defendants argue that CCH
remediation costs only if the actions they take are             cannot bring a § 107 claim for costs related to the 2011
consistent with the National Contingency Plan, which            Order because the 2011 Order resolved CCH's liability for
is “the federal government's roadmap for responding to          those costs, and CI may therefore only recover those costs
the release of hazardous substances.” Niagara Mohawk,           through a claim under § 113(f)(3)(B). See id. at 11-12.
596 F.3d at 121. Section 113(f)(3)(B), on the other hand,
“provides a right of contribution to PRPs that have settled
their CERCLA liabilty with a state or the United States
through either an administrative or judicially approved                             a. The 2004 Order
settlement.” Id. (citing 42 U.S.C. § 9613(f)(3)(B)). Finally,
                                                                In 2004, CI entered into a Consent Order with NYSDEC
§ 113(f)(1) provides a right of contribution to PRPs that
                                                                in which CI agreed to investigate the contamination at the



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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed        04/16/19 Page 32 of 91
2018 WL 840056

Site and implement interim response measures to address        2004 Order, the 2011 Order contains language potentially
contamination. See Dkt. No. 26 at ¶ 48. CI incurred            resolving CCH's liability under CERCLA. Specifically,
response costs in complying with the 2004 Order. See id.       the 2011 Order states, “Upon the Department's issuance
at 49. Defendants argue that the 2004 Order resolved CI's      of a Certificate of Completion as provided at 6 NYCRR
liability for response actions taken in relation to the 2004   375-1.9 and 375-2.9, Respondent [CCH] shall obtain the
Order. See Dkt. No. 29-1 at 13. However, Defendants            benefits conferred by such provisions, subject to the terms
do not cite to any language in the order resolving CI's        and conditions described therein.” Dkt. No. 29-4 at 6. 2
liability; indeed, it appears that no such language exists.    Under the 2011 Order, CCH's release from liability is
As Plaintiffs point out, the 2004 Order specifically states,   conditional in that it only occurs “[u]pon the Department's
“Nothing contained in this Order shall be construed as         issuance of a Certificate of Completion.” See id. Thus
barring, diminishing, adjudicating, or in any way affecting    far, CCH has not received a certificate of completion
any of the Department's rights.” Dkt. No. 29-3 at 13.          from NYSDEC. See Dkt. No. 33 at 10. The question,
                                                               then, is whether a conditional release from reliability is
 *6 As the Court notes above, § 113(f)(3)(B) is the proper     sufficient to trigger the requirement that a PRP proceed
procedural mechanism for a “person who has resolved its        under § 113(f)(3)(B). Or is liability resolved only after the
liability to the United States or a state for some or all      certificate of completion is issued?
of a response action or for some or all of the costs of
such action in an administrative or judicially approved        There is a great deal of inconsistency among the cases
settlement.” 42 U.S.C. § 9613(f)(3)(B). But a consent order    addressing consent orders that conditionally resolve a
with the federal or state government does not necessarily      PRP's CERCLA liability and whether those consent
qualify as an “administrative or judicially approved           orders trigger the requirement to proceed under § 113(f)(3)
settlement” that would require a PRP to proceed under §        (B). Indeed, there is a circuit split on this issue. Compare
113(f)(3)(B). If, for example, a PRP enters into a consent     Fla. Power Corp. v. FirstEnergy Corp., 810 F.3d 996, 1001
order, but “the consent order [does] not purport to resolve    (6th Cir. 2015) (holding that consent orders in the case
CERCLA liability,” then the consent order does “not            “do not resolve plaintiff's liability because resolution of
qualify as an administrative settlement under § 113.”          liability is conditioned on plaintiff's performance and does
Niagara Mohawk, 596 F.3d at 125; HLP Props., LLC v.            not take immediate effect”); and Bernstein v. Bankert, 733
Cons. Edison Co. of N.Y., Inc., No. 14-CV-1383, 2014 WL        F.3d 190, 210 (7th Cir. 2013) (holding that the plaintiff had
6604741, *7 (S.D.N.Y. Nov. 21, 2014) (“[A] consent order       not resolved its liability with the EPA because the consent
is an administrative settlement of liability for purposes      order's release of liability was conditioned the plaintiff's
of § 113 where the plaintiff undertook to remediate a          complete performance); with Asarco LLC v. Atl. Richfield
contaminated site in exchange for an express resolution of     Co., 866 F.3d 1108, 1125 (9th Cir. 2017) (holding that
liability under CERCLA and the DEC's covenant not to           a PRP resolves its liability to the government where a
sue under ‘State or Federal statutory or common law’ ”)        settlement agreement decides the PRP's obligations with
(quoting Niagara Mohawk, 596 F.3d at 126). Because the         certainty and finality, and a “covenant not to sue or release
2004 Order does not resolve CI's liability, CI may proceed     from liability conditioned on completed performance does
under § 107.                                                   not undermine such a resolution”).


                                                               The Second Circuit has not yet weighed in on the issue, 3
                    b. The 2011 Order                          and district courts in this circuit have come to differing
                                                               conclusions. Compare DMJ Assocs., 181 F. Supp. 3d at
In 2011, CCH entered into a consent order with NYSDEC          167 (“Since no final report was issued due to the [consent
to address the contamination at the Site. See Dkt. No.         order's] termination prior to the completion of all remedial
26 at ¶¶ 56-58. Under the 2011 Order, CCH agreed to            action, the [plaintiffs] had not been released from liability”
take actions to investigate, remove, and safely dispose        and therefore could proceed under 107(a)); with HLP
of hazardous waste in the short term, as well as to take       Props., 2014 WL 6604741, at *5 (“[A]greements providing
long-term remedial actions at the Site. See id. at ¶ 58.       for future resolution of CERCLA liability constitute
CCH has incurred financial costs in carrying out the           administrative settlements for purposes of § 113”); and
actions outlined in the 2011 Order. See id. Unlike the         Chitayat v. Vanderbilt Assoc., 702 F. Supp. 2d 69, 81


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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed           04/16/19 Page 33 of 91
2018 WL 840056

(E.D.N.Y. 2010) (finding that a consent order resolved            Here, Defendants argue that CCH failed to plead a
liability even though it did “not offer [the plaintiff] a         necessary element of its § 107 claim because it failed to
present release from liability but rather the release [was]       identify with certainty or specificity any costs incurred
contingent upon years of Compliance with the Consent              under the 2004 Order. But CCH does not need to
Order”).                                                          specifically identify costs related to the 2004 Order at this
                                                                  stage; CCH separately established the fourth element of a
 *7 Perhaps because the circuit split arose after the             § 107 claim by alleging that it incurred costs under the 2011
motions to dismiss were fully submitted, the parties              Order. Therefore, Defendants motion to dismiss CCH's §
did not thoroughly address the issue in their briefs.             107 claim as to costs related to the 2004 Order is denied.
Furthermore, the question of whether CCH resolved
its liability through the 2011 Order necessarily involves
contract interpretation. See Bernstein, 733 F.3d at 213             3. Statute of Limitations
(“Whether or not liability is resolved through a settlement       Under CERCLA, there are different statute of limitations
simply is not the sort of question which can or should            periods for claims under §§ 107 and 113. The statute
be decided by universal rule. Instead, it requires a look         of limitations for a contribution claim under § 113 is
at the terms of the settlement on a case-by-case basis”);         three years, while the limitations period for cost recovery
Asarco, 866 F.3d at 1122 (holding that an agreement must          claims under § 107 is six years. See 42 U.S.C. § 9613(g). 4
“decide[ ] with finality the scope of a PRP's legal exposure      Defendants argue that CI's § 113 claim is time-barred
and obligations” in order to resolve liability). The parties      because it is based on costs incurred in complying with the
did not brief that issue. Therefore, at this time the Court       2004 Order.
declines to determine whether the 2011 Order resolved
CCH's liability and requires it to proceed under § 113(f)         The statute of limitations on a § 113(f)(3)(B) claim begins
(3)(B).                                                           to run at the time that a PRP settles its CERCLA liability
                                                                  with the state or federal government. See 42 U.S.C. §
                                                                  9613(g)(3); see also HLP Props., 2014 WL 6604741, at
   2. Failure to State a Claim Under § 107                        *7 (noting that for a claim under § 113, “the ‘triggering
Defendants also seek to partially dismiss CCH's claim             event’ for the statute of limitations period was the date
for cost recovery under § 107. See Dkt. No. 29-1 at               that the [plaintiffs] ‘resolved their CERCLA liability’ ”).
12-13. In particular, Defendants argue that CCH fails             In this case, however, Plaintiffs clearly allege that CI did
to allege that it incurred any costs outside of the costs         not resolve any liability through either the 2004 Order
incurred complying with the 2011 Order. See Dkt. No.              or the 2011 Order. CI was a party to the 2004 Order,
36 at 4. Indeed, CCH was not a party to the 2004 Order,           but Plaintiffs allege that the 2004 Order “did not contain
and the amended complaint alleges only that “CCH also             any language purporting to resolve Plaintiffs' potential
may have incurred response costs in connection with               liability to the State with respect to the Site.” Dkt. No.
implementation of the 2004 Consent Order.” Dkt. No. 26            26 at ¶ 48. As for the 2011 Order, Plaintiffs admit in their
at ¶ 49. Therefore, Defendants argue, CCH fails to state a        opposition that any release of liability would “apply only
claim for cost recovery under § 107 as to any costs other         to CCH (the “Respondent”) and not to CCH's affiliates
than the costs incurred in complying with the 2011 Order.         such as CI.” Dkt. No. 33 at 10. Since neither agreement
                                                                  resolves CI's liability, the statute of limitations for any
To make a prima facie case for liability under § 107, a           potential § 113 claim has not yet been triggered.
plaintiff must show that: “(1) the defendant is an ‘owner’
or is otherwise liable under 42 U.S.C. § 9607(a)(1)-(4); (2)       *8 But this raises a separate issue regarding CI's § 113
the site is a ‘facility’ as defined by 42 U.S.C. § 9601(9); (3)   claim: there do not appear to be any facts alleged in the
there has been a release or threatened release of hazardous       amended complaint that support a § 113 on CI's behalf.
substances at the facility; (4) the plaintiff incurred costs      Nothing in the complaint indicates that CI has—or even
responding to the release or the threat; and (5) the costs        could—resolve its liability through either the 2004 Order
and response conform to the National Contingency Plan.”           or the 2011 Order. Therefore, it appears that Plaintiffs
Price Trucking Corp. v. Norampac Indus., Inc., 748 F.3d           have failed to state a § 113(f)(3)(B) claim on CI's behalf.
75, 80 (2d Cir. 2014).                                            A court may dismiss a complaint sua sponte for failure



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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed         04/16/19 Page 34 of 91
2018 WL 840056

to state a claim on which relief can be granted, but “it
may not properly do so without giving the plaintiff an          As for their first assertion, Plaintiffs are incorrect—
opportunity to be heard.” Thomas v. Scully, 943 F.2d            compliance with notice-of-claim statutes is a pleading
259, 260 (2d Cir. 1991). Therefore, the Court orders            requirement, not an affirmative defense. “Service of a
Plaintiffs to provide a supplemental brief to the Court         notice of claim ... is a condition precedent to commencing
explaining why CI's § 113 claim should not be dismissed         an action....” Maxwell v. City of New York, 29 A.D.3d
for failure to state a claim. See MPM Silicones, LLC v.         540, 541 (2d Dep't 2006). “New York's law requires a
Union Carbide Corp., 931 F. Supp. 2d 387, 396 (N.D.N.Y.         plaintiff to plead in the complaint that: (1) the plaintiff
2013) (dismissing the plaintiff's § 113(f) claim sua sponte     has served the notice of claim; (2) at least thirty days
after requesting supplemental briefing from the plaintiff       have elapsed since the notice was filed (and before the
explaining why its 113(f) claim was not barred). Plaintiffs     complaint was filed); and (3) in that time the defendant has
must submit the supplemental brief within thirty (30) days      neglected to or refused to adjust or to satisfy the claim.”
of the date of this Memorandum-Decision and Order.              Hardy, 164 F.3d at 793. “Notice of claim requirements
                                                                ‘are construed strictly by New York state courts,’ ” and
                                                                the “[f]ailure to comply with these requirement ordinarily
B. State Law Claims                                             requires a dismissal for failure to state a cause of action.”
                                                                Id. at 793-94 (quoting Murray v. LeRoy Cent. Sch. Dist.,
   1. Notice of Claim
                                                                67 N.Y.2d 775, 775 (1986)).
The general rule in federal court is that “state notice-of-
claim statutes apply to state-law claims.” Hardy v. N.Y.C.
                                                                Plaintiffs' second argument also misses the mark. Plaintiffs
Health & Hosp. Corp., 164 F.3d 789, 793 (2d Cir. 1999)
                                                                correctly note that the New York General Municipal Law
(citing Felder v. Casey, 487 U.S. 131, 151 (1988)). A notice-
                                                                does not require plaintiffs to file a notice of claim in a
of-claim statute generally provides that no action may
                                                                breach of contract action. See N.Y. Gen. Mun. Law § 50-
be brought on or maintained against certain government
                                                                e(a) (“In any case founded upon tort where a notice of claim
entities without first providing written notice of the claim.
                                                                is required by law as a condition precedent....” (emphasis
New York's notice-of-claim statute requires a plaintiff to
                                                                added)); see also Finke v. City of Glen Cove, 55 A.D.3d
serve a notice of claim “within ninety days after the claim
                                                                785, 786 (2d Dep't 2008) (“The plaintiff's breach of implied
arises,” N.Y. Gen. Mun. Law § 50-e(1)(a), and that notice
                                                                contract and breach of license causes of action, however,
must state the nature of the claim, as well as “the time
                                                                are not subject to the notice of claim requirement”). For
when, the place where and the manner in which the claim
                                                                example, in Strauss v. City of Glens Falls, 140 A.D.3d 1411
arose,” id. § 50-e(2). Nowhere in the amended complaint
                                                                (3d Dep't 2016), the court declined to dismiss a breach
do Plaintiffs allege that they filed any notice of claim or
                                                                of contract claim because of the plaintiff's failure to file
otherwise complied with a notice-of-claim statute.
                                                                a notice of claim. In that case, the court noted that the
                                                                notice of claim provisions in the Charter of the City of
                                                                Glens Falls, like those of the General Municipal Law, did
                    a. City of Syracuse                         not apply to breach of contract claims. See id. at 1412.

The City begins by arguing that Plaintiffs' breach of            *9 In this case, however, Plaintiffs are subject to the
contract and indemnification claims should be dismissed         notice-of-claim provision in Syracuse City Charter §
because Plaintiffs failed to file a notice of claim. See Dkt.   8-115(3), which states:
No. 30-1 at 15. Again, Plaintiffs do not assert that they
filed any notice of claim in this case. Instead, they make
three different arguments for why the notice-of-claim
                                                                            No action or special proceeding,
requirement does not apply to their contract claims: (1)
                                                                            for any cause whatever, except as
compliance with notice-of-claim statutes is an affirmative
                                                                            hereinafter provided, relating to city
defense; (2) the New York notice-of-claim statute does
                                                                            property or involving the rights
not apply to breach of contract claims; and (3) applying
                                                                            or interests of the city shall be
the notice-of-claim requirements in the Syracuse Charter
                                                                            prosecuted or maintained against
would violate the Contracts Clause of the United States
                                                                            the city unless it shall appear by and
Constitution. See Dkt. No. 34 at 13-16.


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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed         04/16/19 Page 35 of 91
2018 WL 840056

            as an allegation in the complaint                   plaintiff failed to file a notice of claim. See id. The Court
            or necessary moving papers that a                   upheld the dismissal, holding that “the changes made by
            written verified claim upon which                   the revised charter of Oshkosh, in respect of remedies
            such action or special proceeding                   for the enforcement of claims against that city, provided
            is founded was served on the city,                  for its creditors a substantial and adequate remedy, and
            in the same manner as a summons                     therefore did not impair the obligation of contracts with
            under the CPLR, within three (3)                    that municipal corporation.” See id. at 447. It is now
            months after the accrual of such                    well established that “a plaintiff's claim is governed by
            claim. The provisions of this section               the notice of claim statute in effect when his or her claim
            shall not apply to an action or                     accrued.” Aponte v. Bellevue Hosp. Ctr., 183 A.D.2d 594,
            special proceeding founded upon                     595 (1st Dep't 1992); see also Ganess v. City of New York,
            tort which shall be governed by the                 207 A.D.2d 765, 767 (2d Dep't 1994) (“Because the infant
            provision of sections 50-i and 50-e of              plaintiff's cause of action accrued in 1973, the present
            the General Municipal Law.                          case is governed by those provisions which were contained
                                                                in the version of General Municipal Law § 50-e which
                                                                was in effect prior to a 1976 amendment”). Therefore,
See Dkt. No. 30-7 at 73. New York courts have                   Plaintiffs' breach of contract claim against the City must
consistently held that this provision applies to claims for     be dismissed.
breach of contract. In Davis-Wallbridge, Inc. v. City of
Syracuse, 71 N.Y.2d 842, 843 (1988), the New York Court          *10 Later in its motion to dismiss, the City goes on to
of Appeals dismissed the plaintiff's breach of contract         argue that “all of Plaintiffs' state law claims against the
claim because the plaintiff admittedly failed to comply         City” should be dismissed due to Plaintiffs' failure to file
with the notice-of-claim provision. See id.; see also Tom L.    a notice of claim. See Dkt. No. 30-1 at 18. Plaintiffs do
La Mere & Assoc., Inc. v. City of Syracuse Bd. of Educ., 48     not address this contention, but the Court agrees and
A.D.3d 1050, 1051 (4th Dep't 2008) (applying Syracuse's         dismisses each of Plaintiffs' state law claims against the
notice of claim provisions to a breach of contract claim).      City because the Syracuse City Charter clearly states that
In this case, it is undisputed that Plaintiffs have not         a notice of claim must be filed where a party seeks to bring
complied with Syracuse's notice of claim provision.             an action “for any cause whatever.” Syracuse City Charter
                                                                § 8-115(3).
Finally, Plaintiffs argue that applying the Syracuse City
Charter's current notice-of-claim provision would violate
the Contracts Clause of the United States Constitution.                          b. County of Onondaga
According to Plaintiffs, the notice-of-claim provision in
the Syracuse City Charter was not amended to apply to           In New York, suits against counties are also subject to
breach of contract claims until “1978 or 1981,” well after      notice-of-claim requirements. New York County Law § 52
the City entered into the 1960 Indenture with the Cooper        (“Section 52”) provides that
Crouse Company. See Dkt. No. 34 at 14. Therefore,
Plaintiffs argue, the Contracts Clause requires that claims
in this case be subject to the version of the Syracuse City                 [a]ny claim or notice of claim against
Charter that was in effect in 1960, prior to the amendment                  a county ... for damages arising at
of the notice-of-claim provision. See id.                                   law or in equity ... alleged to have
                                                                            been caused in whole or in part
The United States Supreme Court considered and rejected                     by or because of any misfeasance,
a similar argument in Oshkosh Waterworks Co. v. City of                     omission of duty, negligence, or
Oshkosh, 23 S. Ct. 234 (1903). In that case, the plaintiff                  wrongful act on the part of the
entered into a contract with the city of Oshkosh in 1883,                   county, its officers, agents, servants
eight years before the city amended its charter to include a                or employees, must be made and
notice-of-claim provision. See id. at 234. The plaintiff sued               served in compliance with section
the city in 1900, but the suit was dismissed because the                    fifty-e of the general municipal


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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed        04/16/19 Page 36 of 91
2018 WL 840056

            law.... Every Action upon such claim               discharge of petroleum, is subject to the broad notice-of-
            shall be commenced pursuant to the                 claim requirements of County Law § 52”).
            provisions of section fifty-i of the
            general municipal law.
                                                                                       c. Summary

The text of Section 52 thus incorporates the notice of claim   The Court dismisses the following claims due to Plaintiffs'
requirements of New York General Municipal Law §§ 50-          failure to comply with the relevant notice-of-claim
e and 50-i, but it also broadens their scope. See Anderson     requirements: declaratory relief under New York Law
v. Nassau Cty. Dep't of Corrs., 558 F. Supp. 2d 283, 303       (third cause of action), breach of contract and contractual
(E.D.N.Y. 2008) (“N.Y. County Law § 52(1) has broader          indemnity against the City (fourth cause of action),
application than General Municipal Law § 50-e”). Unlike        contribution under the state superfund law (sixth cause
Section 50-e, which applies only in “any case founded          of action), claims under the New York Navigation
upon tort,” Section 52 applies to “any claim ... of every      Law (seventh and eighth causes of action), and unjust
name and nature.” N.Y. County Law § 52(1).                     enrichment (ninth cause of action). Therefore, Plaintiffs'
                                                               only remaining state law claim is their fifth cause of action:
The plain language of the statute seems to indicate            breach of contract and contractual indemnity against the
that it applies to “any claim,” including a claim for          County.
breach of contract. Indeed, at least one federal district
court has come to that conclusion. See Crippen v. Town
of Hempstead, No. 07-CV-3478, 2009 WL 803117, *16                2. Breach of Contract Against the County
(E.D.N.Y. 2009) (dismissing a breach of contract claim          *11 Plaintiffs' breach of contract action against the
due to the plaintiff's failure to comply with Section 52's     County arises from the County's alleged failure “to fully
notice-of-claim provision). However, New York courts           keep, perform, observe, and fulfill its respective covenants,
have determined that Section 52 “does not require a filing     conditions, and/or restrictions” under the 1972 Option
of a notice of claim in compliance with General Municipal      Agreement with the Crouse-Hinds Company. Dkt. No.
Law § 50-e where the claim is for breach of contract.”         26 at ¶ 116. The amended complaint appears to assert
Copece Contracting Corp. v. Erie County, 115 A.D.2d 320,       separate claims for breach of contract and contractual
320 (4th Dep't 1985); see also Smith v. Rise E. Sch., 120      indemnity under what is labeled as the fifth cause of
A.D.2d 726, 726 (2d Dep't 1986) (“We do not believe the        action. Essentially, Plaintiffs seem to allege that the
Court of Appeals ... intended to construe County Law §         County breached the 1972 Option Agreement by dumping
52 as requiring the serving of a notice of claim in actions    contaminated dredged spoils at the Site, and that the
to recover damages for breach of contract”); O'Connell v.      County is also liable under the 1972 Option Agreement's
Onondaga County, No. 09-CV-364, 2012 WL 12895022,              indemnity clause because it failed to save CI harmless from
*14 (N.D.N.Y. Feb. 9, 2012) (“[E]ven though County             loss, costs, damages, or expenses. See id. at ¶¶ 117-19.
Law § 52 generally applies to any claim for damages            Defendants move to dismiss the breach of contract and
against a county, breach-of-contract claims are not subject    contractual indemnity claims against the County as (1)
to the notice-of-claim requirements of County Law §            barred by the statute of limitations and (2) preempted by
52” (citations omitted)).                                      CERCLA.


Therefore, all of Plaintiffs state law claims against the
County, except for their breach of contract claim, are                          a. Statute of Limitations
subject to Section 52's notice-of-claim requirements and
must be dismissed. See e.g. Bartley v. County of Orange,       A claim for breach of contract is subject to a six-year
111 A.D.3d 772, 773-74 (2d Dep't 2013) (“The assertion of      statute of limitations. See N.Y. C.P.L.R. § 213(2). “In New
a Navigation Law ... cause of action against the County,       York, a breach of contract cause of action accrues at the
which could result in the County being held strictly           time of the breach,” even when “no damage occurs until
liable for all cleanup costs and damages resulting from a      later.” Ely-Cruikshank Co., Inc. v. Bank of Montreal, 81
                                                               N.Y.2d 399, 402 (1993). Furthermore, “[k]nowledge of the



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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed         04/16/19 Page 37 of 91
2018 WL 840056

occurrence of the wrong on the part of the plaintiff is not      to federal law.’ ” Bonilla v. Semple, No. 15-CV-1614, 2016
necessary to start the Statute of Limitations running in         WL 4582038, *5 (D. Conn. Sept. 1, 2016) (quoting U.S.
[a] contract [action].” Id. (alterations in original) (quoting   Const. art VI, cl. 2). There are three different types of
Varga v. Credit-Suisse, 5 A.D.2d 289, 292 (1st Dep't             preemption:
1958)). A claim for indemnification, on the other hand,
is subject to a six-year statute of limitations that begins
to run “when the loss is suffered by the party seeking                      (1) express preemption, where
indemnity.” McDermott v. City of New York, 50 N.Y.2d                        Congress has expressly preempted
211, 215 (1980); see also Patel v. Exxon Corp., 284                         local law; (2) field preemption,
A.D.2d 1007, 1008 (4th Dep't 2001) (an indemnification                      where congress has legislated so
cause of action for recovery of remediation costs “will                     comprehensively that federal law
not commence until the cleanup costs are incurred”).                        occupies an entire field of regulation
Additionally, “[e]ach payment of remediation costs ...                      and leaves no room for state law;
incurs a new loss for a plaintiff, creating a new indemnity                 and (3) conflict preemption, where
claim with its own new statute of limitations (it does not,                 local law conflicts with federal law
however, reset the clock on an already-expired indemnity                    such that it is impossible for a party
claim).” In re Methyl Tertiary Butyl Ether (MTBE) Prods.                    to comply with both or the local law
Liab. Litig., No. 04-CV-5424, 2007 WL 1601491, *16                          is an obstacle to the achievement of
(S.D.N.Y. June 4, 2007).                                                    federal objectives.

To the extent that Plaintiffs assert a breach of contract
claim against the county that is separate from the                *12 N.Y. SMSA Ltd. P'ship v. Town of Clarkstown, 612
indemnification claim, that claim is barred by the statute       F.3d 97, 104 (2d Cir. 2010) (citations and quotations
of limitations. The amended complaint alleges that the           omitted). CERCLA does not expressly preempt state law,
County disposed of contaminated dredge spoils at or              nor is it so comprehensive as to preempt state law by
upstream from the Site in the “1970s and/or 1980s,” but          occupying the entire field. See Niagara Mohawk, 596
the amended complaint does not allege any more recent            F.3d at 138. CERCLA may, however, preempt state
breaches of the 1972 Option Agreement. See Dkt. No.              law where there is “preemption by conflict.” See id. In
26 at ¶¶ 39-45. Therefore, it is clear from the face of          particular, PRPs should not “have both a federal and a
the amended complaint that Plaintiffs' breach of contract        state law based claim for recovery of the same response
claim is time-barred.                                            expenditures.” Id.; see also MPM Silicones, 931 F. Supp.
                                                                 2d at 406 (“[W]hether state-law claims are preempted by
As for Plaintiffs' indemnification claim, Plaintiffs'            CERCLA boils down to whether double recovery ... will
complaint was filed on October 4, 2016, and Plaintiffs           occur”).
allege that they repeatedly incurred remediation costs in
the six years before the amended complaint was filed.            At this stage in the litigation, it remains unclear which
See id. at ¶¶ 55-68. Therefore, Plaintiffs' indemnification      costs Plaintiff will be able recover under CERCLA,
claim is timely with respect to at least some of the costs       or even whether Plaintiffs will recover under §§ 107
incurred. While other costs may be barred by the statute         or 113. Therefore, a finding that Plaintiffs' contract
of limitations, it is not appropriate for the Court to           claim is preempted by CERCLA would be premature.
determine which costs are time-barred at this stage in the       Confronting a similar situation, the court in Fitzgibbons
proceedings. See Kattu v. Metro Petroleum, Inc., No. 12-         found that
CV-54, 2013 WL 4015342, *4 (W.D.N.Y. Aug. 6, 2013).
                                                                   the record does not establish that recovery would
                                                                   be identical under Plaintiff's CERCLA and state-law
                                                                   claims; and, even assuming arguendo that the recovery
                       b. Preemption
                                                                   would be identical, the possibility still exists that
“The Supremacy Clause of the United States Constitution            Plaintiff would ultimately be unable to recover under
‘invalidates state laws that interfere with, or are contrary       CERCLA. Accordingly, “it would seem imprudent to



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         Case 9:18-cv-01232-DNH-DEP
Cooper Crouse-Hinds, LLC v. City of Syracuse, NewDocument     26 (2018)
                                                  York, Slip Copy  Filed                04/16/19 Page 38 of 91
2018 WL 840056

    dismiss state law claims outright on Rule 12 because of          the County, and GRANTED in part as to all other claims;
                                                                     and the Court further
    a mere potential for double recovery.”

Fitzgibbons, 2011 WL 6218208, at *14 (quoting New York               ORDERS Plaintiffs to file a supplemental brief within
v. W. Side Corp., 790 F. Supp. 2d 13, 26 (E.D.N.Y. 2011)).           thirty (30) days explaining why CI's § 113 claim should not
Thus, the Court declines to address the possibility of               be dismissed for failure to state a claim; and the Court
preemption at this time.                                             further

                                                                     ORDERS that the Clerk of the Court serve a copy of
                                                                     this Memorandum-Decision and Order on all parties in
                     V. CONCLUSION
                                                                     accordance with the Local Rules.
After carefully reviewing the entire record in this matter,
the parties' submissions and the applicable law, and for the
                                                                     IT IS SO ORDERED.
above-stated reasons, the Court hereby
                                                                     All Citations
ORDERS that Defendants' motions to dismiss (Dkt. Nos.
29, 30) are DENIED in part as to Plaintiffs' CERCLA                  Slip Copy, 2018 WL 840056
claims and their contractual indemnification claim against


Footnotes
1       After serving as a dumping ground for toxic waste, a canal was filled and sold to the city of Niagara Falls and used as the
        site for a elementary school and playground—decades later state and federal government investigations revealed that the
        toxic waste had caused pervasive health problems, leading then-President Carter to declare a federal emergency. See
        Niagara Mohawk, 596 F.3d at 120 n.5 (citing Michael H. Brown, Love Canal and the Poisoning of America, ATLANTIC
        MONTHLY, Dec. 1979, at 33).
2       Among other provisions, 6 NYCRR section 375-2.9(a) states: “Upon receipt of the certificate of completion and subject
        to subdivision (b) of this section, the parties named on such certificate shall not be liable to the department upon any
        statutory or common law cause of action, except for one for natural resource damages....”
3       Defendants argue that the Second Circuit resolved the issue in Niagara Mohawk and held that a consent order with
        a conditional release of liability is sufficient to resolve liability for the purposes of § 113(f)(3)(B). See Dkt. No. 36 at 2.
        Indeed, the court in Niagara Mohawk stated that “NiMo settled its CERCLA liability with DEC by agreeing to identify and
        to remediate some of the hazardous substances.” Niagara Mohawk, 596 F.3d at 128. While this sentence implies that
        the act of agreeing was sufficient to trigger § 113(f)(3)(B), the court goes on to say that “[o]nce NiMo completed the
        Consent Order responsibilities, Nimo was ‘deemed to have resolved its liability to the State for purposes of contribution
        protection provided by CERCLA Section 113(f)(2)’ and thus was ‘entitled to seek contribution.’ ” Id. at 126 (emphasis
        added). Therefore, the Court does not agree that Niagara Mohawk resolved the question at hand.
4       The six-year statute of limitations under § 107 applies only to “remedial actions,” which are “generally long-term or
        permanent containment or disposal programs.” Schaefer v. Town of Victor, 457 F.3d 188, 195 (2d Cir. 2006). On the
        other hand, “removal efforts,” which are “typically short-term cleanup arrangements,” are subject to a three year statute
        of limitations. See id.


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          Case
Garner v. DII     9:18-cv-01232-DNH-DEP
              Industries,                           Document
                          LLC, Not Reported in F.Supp.2d (2010)      26 Filed 04/16/19 Page 39 of 91
2010 WL 456801

                                                                 March 27, 2009, filed an amended complaint (Docket
                                                                 No. 28). On April 17, 2009, Defendants again moved
                  2010 WL 456801
                                                                 to dismiss, primarily on the ground that Plaintiff's claim
    Only the Westlaw citation is currently available.
                                                                 against them was barred by the statute of limitations. 1
 This decision was reviewed by West editorial
staff and not assigned editorial enhancements.                   Viewing the allegations in the amended complaint as
                                                                 true, the following are the relevant facts for consideration
               United States District Court,
                                                                 of the present motion. The decedent, Angelo Palermo
                    W.D. New York.
                                                                 (“Palermo”), was a union insulation mason for twenty-
                                                                 nine years from 1937 through 1966 in the construction
              Gail GARNER, The Estate
                                                                 asbestos industry. He spray coated and handled asbestos-
             of Angelo Palermo, Plaintiff,
                                                                 containing products while working for one or more of the
                          v.
                                                                 Haliburton or Harbison–Walker entities. Palermo died on
       DII INDUSTRIES, LLC, Mark M. Gleason                      April 23, 1966, at the age of 51 years. (Am. Compl. ¶¶ 14
          & Marcellene Malouf, Defendants.                       & 34.) His death certificate listed the immediate cause of
                                                                 death as acute liver failure due to “metastasis cancer due
                   No. 08–CV–6191–CJS.
                                                                 to primary stomach (place of origin).” (Am.Compl.¶¶ 11–
                              |
                                                                 15.)
                        Feb. 4, 2010.

Attorneys and Law Firms                                          On June 6, 2003, Palermo was posthumously diagnosed
                                                                 with mesothelioma “by a tribunal of asbestos experts
Christina A. Agola, Esq., Rochester, NY, for Plaintiff.          who were part of the Extraordinary Claims Panel of the
                                                                 Mansville Trust.” (Am.Compl.¶ 17.) On April 4, 2006,
Andrew L. Morrison, Esq., K & L Gates LLP, New York,             Plaintiff filed a claim with DII Industries, LLC, and, the
NY, Beth W. Bivans, Esq., K & L Gates LLP, Dallas, TX,           following day, filed a claim with the DII Trust, with regard
for Defendants.                                                  to her father's death. Defendants eventually rejected the
                                                                 claims, and a pro bono evaluator confirmed Defendants'
                                                                 denial. (Am.Compl.¶¶ 18–27.)
                 DECISION & ORDER
                                                                 In her amended complaint, Plaintiff asserts three causes of
CHARLES J. SIRAGUSA, District Judge.
                                                                 action. First, a claim that Defendants negligently caused
                                                                 Palermo's death; second, a claim that defendants Mark M.
                    INTRODUCTION                                 Gleason (“Gleason”) and Marcellene Malouf (“Malouf”)
                                                                 breached a fiduciary duty owed to Plaintiff; and third,
 *1 Siragusa, J. This product liability case is before the       a claim that defendant DII Industries, LLC Asbestos PI
Court on Defendants' motion (Docket No. 32 ) to dismiss
                                                                 Trust (“Trust”) 2 was negligent in hiring and supervising
for failure to state a cause of action. For the reasons below,
                                                                 Gleason and Malouf. Gleason is described as a Trustee of
the application is granted.
                                                                 the Trust, and Malouf is described as the Trust's Executive
                                                                 Director.

                     BACKGROUND

Plaintiff filed her original complaint pro se and alleged                        STANDARDS OF LAW
that Defendants were liable to her father's estate for his
                                                                 Motion to Dismiss
death caused by exposure to asbestos. On November
                                                                 A motion to dismiss on the basis that an action is barred by
14, 2008, the Court, interpreting Plaintiff's response to
                                                                 the statute of limitations is analyzed under Federal Rule of
Defendants' first motion to dismiss as a request to proceed
                                                                 Civil Procedure 12(b)(6), not 12(b)(1). Ghartey v. St John's
pro se as the representative of her father's estate, denied
                                                                 Queens Hosp., 869 F.2d 160, 162 (2d Cir.1989). The U.S.
the request. Plaintiff subsequently hired counsel, and on
                                                                 Supreme Court, in Bell Atl. Corp. v. Twombly, 550 U.S.


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          Case
Garner v. DII     9:18-cv-01232-DNH-DEP
              Industries,                           Document
                          LLC, Not Reported in F.Supp.2d (2010)      26 Filed 04/16/19 Page 40 of 91
2010 WL 456801

544 (2007), clarified the standard to be applied to a 12(b)      Arthur Andersen & Co., 72 F.3d 1085, 1092 (2d Cir.1995)
(6) motion:                                                      (citing In re American Express Co. Shareholder Litig., 39
                                                                 F.3d 395, 400–01 n. 3 (2d Cir.1994)).


             *2 Federal Rule of Civil Procedure
                                                                 New York Statute of Limitations
            8(a)(2) requires only a short and
                                                                 The New York Civil Practice Law and Rules require that
            plain statement of the claim showing
                                                                 an “an action to recover damages for a personal injury”
            that the pleader is entitled to relief,
                                                                 be commenced within three years. N.Y. C.P.L.R. § 214(5)
            in order to give the defendant fair
                                                                 (McKinney's 1986). The statute also addresses exposure to
            notice of what the claim is and
                                                                 substances that caused the injury. In such case,
            the grounds upon which it rests.
            While a complaint attacked by a
            Rule 12(b)(6) motion to dismiss does
            not need detailed factual allegations,                           the three year period within which
            a Plaintiff's obligation to provide                              an action to recover damages
            the grounds of his entitlement to                                for personal injury or injury to
            relief requires more than labels                                 property caused by the latent effects
            and conclusions, and a formulaic                                 of exposure to any substance or
            recitation of the elements of a                                  combination of substances, in any
            cause of action will not do. Factual                             form, upon or within the body or
            allegations must be enough to raise                              upon or within property must be
            a right to relief above the speculative                          commenced shall be computed from
            level, on the assumption that all the                            the date of discovery of the injury by
            allegations in the complaint are true                            the plaintiff or from the date when
            (even if doubtful in fact).                                      through the exercise of reasonable
                                                                             diligence such injury should have
                                                                             been discovered by the plaintiff,
                                                                             whichever is earlier.
Id. at 1964–65 (citations and internal quotations omitted).
See also, ATSI Communications, Inc. v. Shaar Fund, Ltd.,
493 F.3d 87, 98 (2d Cir.2007) (“To survive dismissal, the
plaintiff must provide the grounds upon which his claim          N.Y. C.P.L.R. § 214–c(2). In Whitney v. Quaker Chem.
rests through factual allegations sufficient ‘to raise a right   Corp., 90 N.Y.2d 845 (1997), the New York Court of
to relief above the speculative level.’ ”) (quoting Bell Atl.    Appeals stated that,
Corp. v. Twombly ) (footnote omitted); Iqbal v. Hasty,
                                                                    *3 In Matter of New York County DES Litig. (89
490 F.3d 143, 2007 WL 1717803 (2d Cir. Jun. 14, 2007)
                                                                   N.Y.2d 506), we recently held that the three-year
(Indicating that Bell Atl. Corp. v.. Twombly adopted “a
                                                                   limitations period for bringing an action to recover
flexible ‘plausibility standard,’ which obliges a pleader to
                                                                   for the latent effects of exposure to a toxic substance
amplify a claim with some factual allegations in those
                                                                   commences “when the injured party discovers the
contexts where such amplification is needed to render the
                                                                   primary condition on which the claim is based” (id., at
claim plausible[,]” as opposed to merely conceivable.)
                                                                   509). We rejected the contention that the plaintiff must
                                                                   also discover that the injury has a nonbiological cause
When applying this standard, a district court must
                                                                   (id., at 514).
accept the allegations contained in the complaint as
true and draw all reasonable inferences in favor of the          Whitney, 90 N.Y.2d at 847. The Court further held, in
nonmoving party. Burnette v.. Carothers, 192 F.3d 52, 56         Wetherill v. Eli Lilly & Co. (In re N.Y. County DES Litig.),
(1999), cert. denied, 531 U.S. 1052 (2000). On the other         89 N.Y.2d 506 (1997), that,
hand, “[c]onclusory allegations of the legal status of the
defendants' acts need not be accepted as true for the
purposes of ruling on a motion to dismiss.” Hirsch v.


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          Case
Garner v. DII     9:18-cv-01232-DNH-DEP
              Industries,                           Document
                          LLC, Not Reported in F.Supp.2d (2010)      26 Filed 04/16/19 Page 41 of 91
2010 WL 456801

                                                                 Court approved the Asbestos PI Trust 4 as a qualified
                                                                 settlement fund within the meaning of regulations issued
            It is apparent from this history                     pursuant to Internal Revenue Code § 468B and included
            that, in enacting a new “discovery”                  a channeling injunction. 5 Id. at 8. Further, the amended
            rule for the commencement of                         order appointed, inter alia, Mark A. Gleason as an
            toxic torts, the Legislature had                     initial trustee. The amended order then discharged the
            in mind only the discovery of                        Haliburton Entities and Harbison–Walker Entities. Id. at
            the manifestations or symptoms                       10.
            of the latent disease that the
            harmful substance produced. The                      The Asbestos PI Trust document is separate and distinct
            dichotomy in the case law that the                   from the DII Industries, LLC Asbestos PI Trust, Trust
            Legislature intended to address was                  Distribution Procedures (December 16, 2004) (“TDP”).
            that between impact or exposure on                   Paragraph 5.11 of the TDP states: “Claimants who
            the one hand and resulting infirmity                 elect nonbinding arbitration and then reject their arbitral
            on the other. Given that narrow                      awards retain the right to institute a lawsuit in a judicial
            focus, the only reasonable inference                 forum against the Asbestos PI Trust....” The TDP further
            is that when the Legislature used                    states that individual suits filed against the Trust will be
            the phrase “discovery of the injury”                 “treated as a personal injury case with all personal injury
            it meant discovery of the physical                   damages to be considered....” (TDP § 7.6.) The TDP does
            condition and not, as plaintiff                      not address whether such a claim should be brought in a
            argues, the more complex concept                     state, or federal, forum.
            of discovery of both the condition
            and the nonorganic etiology of that                   *4 Instead of addressing the question of subject matter
            condition.                                           jurisdiction, the parties simply argue the motion to dismiss
                                                                 on the assumption that this Court has jurisdiction. In their
                                                                 Reply Memorandum of Law, however, Defendants point
Wetherill, 89 N.Y.2d at 514.                                     out that Plaintiff does not dispute the applicability of the
                                                                 New York statute of limitations to this action. (Def.s'
                                                                 Reply Mem. of Law at 3–4.)
                        ANALYSIS
                                                                 At oral argument of the motion, defense counsel disagreed
Jurisdiction                                                     that this matter is properly here under federal question
Plaintiff alleges that the Court has jurisdiction to hear this   jurisdiction, but stated her belief that the case could
case pursuant to: 28 U.S.C. § 1331 (federal question) and        be here on diversity jurisdiction. Jason Little, Esq.,
§ 1343 (civil rights); 42 U.S.C. § 2000(e) [sic; probably a      appearing for Christina Agola, Esq., the counsel of
reference to 42 U.S.C. § 2000e (equal employment) ]; 29          record, stated that the complaint was drafted by Ms.
U.S.C. §§ 206 (minimum wages) and 216 (penalties); and           Agola working with their client, Ms. Garner. Mr. Little
28 U.S.C. § 1367 (supplemental jurisdiction). Plaintiff's        argued that the diversity jurisdiction alleged in the first
claims, however, are for negligence, breach of fiduciary         complaint was transferred to the amended complaint.
duty and negligent supervision. Her amended complaint            The original complaint, though, alleges the following as
fails to allege how jurisdiction lies under Federal law. The     its basis for federal jurisdiction: “Arises under Federal
only possible connection is that the Trust was approved by       law of Bankruptcy Code 11.” (Orig. Compl. at 1.)
a Bankruptcy Court pursuant to 11 U.S.C. § 524(g) (2005).        “It is well established that an amended complaint
                                                                 ordinarily supersedes the original and renders it of no
Defendants have attached 3 an amended order In re: Mid–          legal effect.” International Controls Corp. v. Vesco, 556
Valley, Inc, No. 03–35592 JKF (Bankr.Ct.W.D.Penn.                F.2d 665, 668–69 (2d Cir.1977) (citations omitted); see
Jul. 21, 2004) to their memorandum in support of the             also, Kunglig Jarnvagsstyrelsen v. Dexter & Carpenter,
motion to dismiss. In the attached order, the Bankruptcy         32 F.2d 195, 198 (2d Cir.1929) (“When a pleading is
                                                                 amended or withdrawn, the superseded portion ceases to


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          Case
Garner v. DII     9:18-cv-01232-DNH-DEP
              Industries,                           Document
                          LLC, Not Reported in F.Supp.2d (2010)           26 Filed 04/16/19 Page 42 of 91
2010 WL 456801

be a conclusive judicial admission; but it still remains              find any basis for federal question jurisdiction. Without a
                                                                      basis for subject matter jurisdiction, any opinion rendered
as a statement once seriously made by an authorized
                                                                      on the substantive motion to dismiss would violate
agent, and as such it is competent evidence of the facts
                                                                      the Constitution's prohibition against issuing advisory
stated, though controvertible, like any other extrajudicial
                                                                      opinions. United Public Workers of America (C.I.O.) v.
admission made by a party or his agent.”).
                                                                      Mitchell, 330 U.S. 75, 89 n. 19 (1947).
The Court finds no factual basis alleged for Federal
jurisdiction in the amended complaint, only a conclusory
statement that jurisdiction is related to a laundry list of                                   CONCLUSION
statutes. The argument that federal question jurisdiction
is present is unsupported by any factual allegations in               For the foregoing reasons, Defendants' motion (Docket
the amended complaint. Diversity jurisdiction is neither              No. 32 ) to dismiss is granted. The Clerk is directed to enter
plead, nor are there any facts alleged from which it                  judgment for Defendants and close the case.
could be construed. The amended complaint does allege
that Palermo's representative, his daughter, is a resident             *5 IT IS SO ORDERED.
of New York, but fails to allege the citizenship of the
defendants. Since this is not a cause of action concerning
                                                                      All Citations
whether the Trust was properly formed under the
Bankruptcy law, and since the Bankruptcy Court retained               Not Reported in F.Supp.2d, 2010 WL 456801
jurisdiction itself for those questions, the Court fails to


Footnotes
1      This case was originally to be transferred to the Eastern District of Pennsylvania for inclusion in MDL No. 875. However,
       the Judicial Panel on Multidistrict Litigation, in an order filed on October 10, 2008, vacated the conditional transfer, finding
       that “[t]he issues [in this cas] appear largely case-specific, and we are therefore persuaded that the motion to vacate
       should be granted.” (Docket No. 12.)
2      The amended complaint's caption names only DII Industries, LLC, but in the body of the amended complaint describes
       the only party with that name more fully as “DII Industries, LLC Asbestos PI Trust (“Trust”) ... a trust organized pursuant
       to Section 524(g) of the Bankruptcy Code. Since Defendants do not raise the issue of proper identification of the DI I
       defendant in the caption, the Court will assume that the party named in the caption as only “DII Industries, LLC” is a
       shorthand reference to the true party, the Trust. This, of course, makes the first cause of action problematic, since it does
       not appear from the pleading that the Trust employed Palermo.
3      Unlike Federal Rule of Civil Procedure 12's requirement that the Court constrain itself to the pleadings, when considering
       issues of subject matter jurisdiction the Court may look outside the pleadings. See Filetech S.A. v. France Telcom S.A.,
       157 F.3d 922, 932 (2d Cir.1998) ( “Our rule is that, on a ‘challeng[e][to] the district court's subject matter jurisdiction, the
       court may resolve disputed jurisdictional fact issues by reference to evidence outside the pleadings, such as affidavits.’
       Antares Aircraft, L.P. v. Federal Republic of Nigeria, 948 F.2d 90, 96 (2d Cir.1991).”).
4      Section 7.11 of the Trust agreement states, “This Asbestos PI Trust Agreement shall be governed by and construed in
       accordance with the laws of the Commonwealth of Pennsylvania without regard to its conflicts of law principles.”
5      “[T]he ‘channeling injunction’ was conceived as a vehicle for solving the practical limitations of discharge. Bankruptcy
       courts have the ability to enter injunctions pursuant to Bankruptcy Code § 105(a). A channeling injunction is simply a
       specialized form of injunction. Pursuant to a channeling injunction, all mass tort litigation and claims are ‘channeled’ to
       a trust specifically established to resolve and pay these claims-a so-called mass tort bankruptcy trust. The channeling
       injunction also permanently enjoins present and future claimants from proceeding against the other potentially responsible
       parties. The result of a channeling injunction is that all claimants are required to assert their claims against a trust specially
       designed for this purpose.” 1996 Norton Annual Survey of Bankruptcy Law, Robert J. Miller, “Chapter 11 Reorganization
       —A Viable Solution to the Problem of Mass Torts” at 3 (footnotes omitted).


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Garraway Case   9:18-cv-01232-DNH-DEP
         v. Broome                               Document
                   County, N.Y., Not Reported in F.Supp.2d    26
                                                           (2006)       Filed 04/16/19 Page 43 of 91
2006 WL 931729

                                                               Plaintiff prior to May 31, 2000 and that she did not
                                                               lease any property to him. (Gardner Aff. ¶ 9.) Gardner's
                  2006 WL 931729
                                                               daughter, Margaret Dunn, claims that Denise Houck,
    Only the Westlaw citation is currently available.
                                                               Plaintiff's then girlfriend, contacted her a few weeks prior
             United States District Court,
                                                               to May 31, 2000 about renting the property. (Dunn Aff.
                   N.D. New York.
                                                               ¶ 2.) Dunn claims she and Houck had an oral agreement
          Anthony M. GARRAWAY, Plaintiff,                      that Houck would not move in until she had paid Dunn
                            v.                                 the first month's rent and a security deposit. Dunn gave
     BROOME COUNTY, NEW YORK; Ronald J.                        Houck permission to fix the property up prior to moving
                                                               in and gave Houck a key. Dunn states she never intended
   Bill, Chief Civil Deputy; Broome County Sheriff's
                                                               to rent the property to Plaintiff, but rather to Houck and
    Department; Dennis Rowlands, Deputy # 260;
                                                               her children. (Dunn Aff. ¶ 8.) No formal lease documents
     and Chris Smith, Deputy # 223, Defendants.
                                                               were drawn up. There remains a factual dispute as to what
                                                               rental agreements, if any, were made between Plaintiff,
                    No. 5:03-CV-0681.
                                                               Houck, Gardner, and Dunn.
                             |
                      April 7, 2006.
                                                               Dunn became aware that Houck had moved in without
Attorneys and Law Firms                                        making any rent or security deposit payments. (Dunn Aff.
                                                               ¶ 5.) Dunn claims Houck told her she would have the rent
Anthony M. Garraway, Moravia, NY, pro se.                      money within the next few days and, upon that belief,
                                                               Dunn allowed Houck to stay in the mobile home. Id.
Aaron J. Marcus, Binghamton, NY, for Defendants.

                                                               On May 31, 2000, Gardner went to the mobile home and
                                                               saw that Houck and Plaintiff had moved in and had pit
                DECISION and ORDER                             bulls living on the property. Gardner claims she no longer
                                                               wanted Houck to lease the property and called the Broome
THOMAS J. McAVOY, Senior United States District
                                                               County Humane Society and the Broome County Sheriff's
Judge.
                                                               Office to see what actions could be taken. (Gardner Aff.
I. INTRODUCTION                                                ¶ 5.)
 *1 Plaintiff commenced this action pursuant to 42
U.S.C. § 1983 alleging that Defendants violated his            When the Humane Society arrived, Plaintiff came outside
Fourth Amendment right against unreasonable search             from within the mobile home and an argument ensued
and seizures and his Fourteenth Amendment right to             between he and Gardner as to her request for the Humane
equal protection and due process. Defendants move for          Society to remove Plaintiff's dogs. Shortly thereafter,
summary judgement pursuant to Fed.R.Civ.P. 56 based            Defendant Sheriff's Deputy Rowlands arrived on the
on the untimeliness of Plaintiff's claim and his failure to    scene and claims he was advised by Gardner that Plaintiff
state a cause of action. Plaintiff opposes arguing his claim   did not belong on the property. (Rowlands Aff. ¶ 3.)
is timely under the “prison mailbox rule” and that there
are genuine issues of fact warranting a trial.                 Defendant Sheriff's Chief Civil Deputy Bill claims he
                                                               responded to the scene after hearing a discussion of it on
                                                               his radio. Upon arrival, Bill claims he spoke with Gardner
II. BACKGROUND                                                 who advised him that, while Plaintiff and Houck were
Plaintiff claims that on or about May 15, 2000 he entered      going to lease the property and had been given permission
into an oral agreement with Esther Gardner for a “month-       to do some work inside the home, they had not been given
to-month lease” of a mobile home. Plaintiff contends that      permission to move into the residence. Bill claims Houck
he made a rent payment for the remainder of the month          told him what Gardner said was true and that no money
and was given “the only key to the property so he could        had exchanged hands and there was no formal lease
move in.” (Pl.'s Statement of Undisputed Facts at ¶ 1).        agreement. (Bill Aff. ¶ 4.) Bill claims that he then advised
Gardner, however, states she never met or talked with          Houck that in his opinion she and Plaintiff were “not



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Garraway Case   9:18-cv-01232-DNH-DEP
         v. Broome                               Document
                   County, N.Y., Not Reported in F.Supp.2d    26
                                                           (2006)          Filed 04/16/19 Page 44 of 91
2006 WL 931729

in the residence legally” and that they would ultimately          from the property to the station where Plaintiff was
have to leave. Bill states that he advised Houck of the           processed.
legal processes by which she could contest the landlord's
representations. (Bill Aff. ¶ 4.)                                 It is undisputed that Plaintiff was arrested and charged
                                                                  with Criminal Impersonation in the Second Degree (New
 *2 Defendant Sheriff's Deputy Smith claims that upon             York Penal Law § 190.25) and Criminal Mischief in
his arrival, Rowlands was interviewing Plaintiff who              the Fourth Degree (New York Penal Law § 145.00).
stated his name was Hubert A. Garraway and was refusing           Following the incident, Gardner began a formal eviction
to offer any form of identification. Hubert Garraway              proceeding and posted a 3-day notice on the door of the
is Plaintiff's brother. (Smith Aff. ¶ 3.) Smith claims            mobile home. Following the posting, Gardner believed no
he was advised by the Humane Society employees that               one remained in the mobile home. (Gardner Aff. ¶ 7.)
Plaintiff's name was Anthony Garraway and that they
had a number of prior dealings with him. (Smith Aff.              Plaintiff filed the instant claim pursuant to 42 U.S.C.1983
¶ 4). Smith claims Plaintiff continued to give conflicting        claiming a violation of his Constitutional Fourth
information as to his name, social security number and            Amendment right against unreasonable search and
other identification information. Smith states that just          seizures and a violation of his due process right for being
prior to placing Plaintiff into custody on suspicion of           evicted from the property.
committing criminal impersonation, he was advised of
an active arrest warrant outstanding for Plaintiff from
the Binghamton Police Department regarding a Criminal             III. STANDARD OF REVIEW
Mischief in the Fourth Degree charge. (Smith Aff. ¶ 6.)            *3 It is well settled that on a motion for summary
Smith claims he never entered or searched the mobile              judgment, the Court must construe the evidence in
home.                                                             the light most favorable to the non-moving party, see
                                                                  Tenenbaum v. Williams, 193 F.3d 581, 593 (2d Cir.1999),
Because Defendants suspected Plaintiff was lying about            and may grant summary judgment only where “there
his identity, Rowlands entered the mobile home to find            is no genuine issue as to any material fact and ... the
a form of personal identification for Plaintiff. Rowlands         moving party is entitled to a judgment as a matter of law.”
claims he entered the mobile home upon the belief that            FED.R.CIV.P. 56(c). An issue is genuine if the relevant
Plaintiff did not belong there and that Gardner had the           evidence is such that a reasonable jury could return a
authority to consent to the search. (Rowlands Aff. ¶ 8.)          verdict for the nonmoving party. Anderson v. Liberty
Rowlands claims the search entailed “nothing more than            Lobby, 477 U.S. 242, 248 (1986). A party seeking summary
glancing over any papers or documents that might have             judgment bears the burden of informing the court of the
been lying around the residence.” (Rowlands Aff. ¶ 7.)            basis for the motion and of identifying those portions of
Rowlands claims he did not remove any items from the              the record that the moving party believes demonstrate
property. Id .                                                    the absence of a genuine issue of material fact as to a
                                                                  dispositive issue. Celotex Corp. v. Catrett, 477 U.S. 317,
Plaintiff offers a conflicting version of the events. Plaintiff   323 (1986). If the movant is able to establish a prima facie
claims that Houck was not present and that she was at             basis for summary judgment, the burden of production
work during the entire incident. Plaintiff admits he would        shifts to the party opposing summary judgment who
not offer any form of identification to Defendants and            must produce evidence establishing the existence of a
that he stated he was Hubert. Plaintiff claims Defendant          factual dispute that a reasonable jury could resolve in
Smith unlawfully entered the mobile home and returned             his favor. Matsushita Elec. Indus. Co. v. Zenith Radio
with letters written and sent to Anthony Garraway.                Corp., 475 U.S. 574, 587 (1986). A party opposing a
Plaintiff claims Rowlands also unlawfully entered the             properly supported motion for summary judgment may
mobile home, found Plaintiff's wallet within a pair of            not rest upon “mere allegations or denials” asserted in his
Plaintiff's pants and removed Plaintiff's license and social      pleadings, Rexnord Holdings, Inc. v. Bidermann, 21 F.3d
security card. Plaintiff claims these identification cards        522, 525-26 (2d Cir.1994), or on conclusory allegations or
were obtained from an illegal search and were illegally           unsubstantiated speculation. Scotto v.. Almenas, 143 F.3d
seized. Plaintiff claims the identification cards were taken      105, 114 (2d Cir.1998). With this standard in mind, the
                                                                  Court will address Defendants' motion


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Garraway Case   9:18-cv-01232-DNH-DEP
         v. Broome                               Document
                   County, N.Y., Not Reported in F.Supp.2d    26
                                                           (2006)        Filed 04/16/19 Page 45 of 91
2006 WL 931729

                                                                Plaintiff claims his Fourth Amendment right against
                                                                unreasonable search and seizures was violated when
IV. DISCUSSION                                                  Defendants Rowlands and Smith, without permission
Plaintiff's Complaint alleges violations of his                 from Plaintiff, unlawfully entered into the mobile home
Constitutional right against illegal search and seizures by     and unlawfully seized Plaintiff's property.
Defendants, and a violation of his Constitutional right
to equal protection and due process by denying Plaintiff        To claim a violation of a Fourth Amendment right
a legal eviction. (See Pl. Compl.). Plaintiff claims there      against unreasonable search and seizures, Plaintiff has
was an oral rental agreement between he and Gardner             to show a legitimate expectation of privacy in the
and, therefore, Gardner did not have the authority to           property. California v. Ciraolo, 476 U.S. 207 (1986). A
consent to a search of the mobile home. Plaintiff further       legitimate expectation may be shown by establishing an
claims Defendants threatened his family that if they            actual subjective expectation of privacy and that the
were to return to the property they would be arrested           expectation is one that society is prepared to recognize as
for trespassing, thus resulting in an illegal eviction by       legitimate. Id. Thus, “a tenant's expectation of privacy in
Defendants. Defendants argue the Complaint should be            his apartment ceases to be ‘objectively justifiable’ when his
dismissed because it is untimely under 42 U.S.C.S. §            occupancy ceases to be lawful, as determined by the terms
1983. In addition, Defendants argue that the motion for         of his lease....” U.S. v. Ross, 43 Fed. Appx. 751, 757 (6th
summary judgment should be granted because no Fourth            Cir.2002). In U.S. v. Allen, 106 F.3d 695 (6th Cir.1997),
Amendment or due process rights have been violated and,         for example, the court held a defendant lacked a legitimate
assuming there was a violation, that they are entitled to       expectation of privacy when he failed to remain current on
qualified immunity.                                             his rental payments.

                                                                A search conducted without a warrant is considered per
   A. Timeliness of Plaintiff's Claim
                                                                se unreasonable and, therefore, a violation of the Fourth
There is a three year statute of limitations for actions
                                                                Amendment unless the search falls within a specifically
arising under 42 U.S.C.1983. Plaintiff's claim arose from
                                                                established exception. See Katz v. United States, 389 U.S.
the incidents occurring on May 31, 2000. Defendants
                                                                347 (1967). One such exception is a warrantless search
claim the filing date of June 4, 2003 renders the Complaint
                                                                conducted with consent. See Schneckloth v. Bustamonte,
untimely. However, Plaintiff, in his position of being both
                                                                412 U.S. 218 (1973). “The Fourth Amendment recognizes
pro se and incarcerated, is afforded protection by the
                                                                a valid warrantless entry and search of premises when
“prison mailbox rule”. This rule is justified under the
                                                                police obtain the voluntary consent of an occupant who
rationale that in being pro se and incarcerated the plaintiff
                                                                shares, or is reasonably believed to share, authority over
has no choice but to hand his notices to prison authorities
                                                                the area in common with a co-occupant who later objects
to forward to the Court Clerk. Because the plaintiff
                                                                to the use of evidence so obtained.” Georgia v. Randolph,
loses control over the documents and must therefore rely
                                                                ---S.Ct. ----, ----, 2006 WL 707380, at *3 (Mar. 22,
on prison authorities to forward them on to the clerk,
                                                                2006). Valid consent is established when one with actual
Courts have recognized the date plaintiffs hand over their
                                                                authority over the property voluntarily gives consent to
documents to prison authorities as the effective “filing
                                                                a search. Schneckloth, 412 U.S. 218. “[T]he exception for
date”, and not the date when the Court Clerk actually is in
                                                                consent extends even to entries and searches with the
receipt of them. See Houston v. Lack, 487 U.S. 266 (1988).
                                                                permission of a co-occupant whom the police reasonably,
                                                                but erroneously, believe to possess shared authority as an
 *4 In the instant case, while the filing date as entered by
                                                                occupant.” Randolph, --- S.Ct. at ----, 2006 WL 707380 at
the clerk is June 4, 2003, Plaintiff appears to have handed
                                                                *5. Generally, a lessor of real property has no authority to
the Complaint over to prison officials prior to May 31,
                                                                consent to a warrantless search of rental property which is
2003, and by virtue of the “prison mailbox rule”, filed the
                                                                subject to an existing lease. See Chapman v. U.S., 365 U.S.
Complaint within the three year statute of limitations. 1       610 (1961); U.S. v. Elliott, 50 F.3d 180, 186 (2d Cir.1995).
                                                                “A landlord does, however, have authority to consent to
                                                                a search by police of dwelling units in his building that
  B. Fourth Amendment right against unreasonable search
                                                                are not leased. Further, if the landlord has joint access or
  and seizures


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Garraway Case   9:18-cv-01232-DNH-DEP
         v. Broome                               Document
                   County, N.Y., Not Reported in F.Supp.2d    26
                                                           (2006)        Filed 04/16/19 Page 46 of 91
2006 WL 931729

control over certain areas of his apartment building for        had no legal right to be in the mobile home was
most purposes, he may validly consent to a search of those      unreasonable. Plaintiff claims Houck was not at the scene
areas.” Id.                                                     and Defendants could not therefore rely on her statements
                                                                in determining if Plaintiff was in the mobile home legally.
                                                                Defendants Smith, Rowlands and Bill claim that once
   1. Actual Authority to Consent                               each had arrived on the scene they were advised by
 *5 The first issue is whether Plaintiff had actual authority   Gardner that Plaintiff and Houck had moved into the
over the mobile home as a result of a rental agreement.         mobile home without having permission to do so. (Smith
Plaintiff claims there was an oral lease agreement with         Aff. ¶ 12, Rowlands Aff. ¶ 3, Bill Aff. ¶ 3.) Defendant
Gardner and that he paid rent for the month of May.             Bill claims Houck was at the scene and advised him that
Gardner claims she never made such an agreement and             what Gardner had said was true and that no formal lease
never received any payments from Plaintiff. Dunn claims         agreement had been made and no money had exchanged
she and Houck had an oral lease agreement but that              hands. (Bill Aff. ¶ 4.) Irrespective of why Defendants
she was not authorized to live there yet and had made           arrived at the scene, according to their affidavits, it was
no rental payments. Based on the foregoing, there is a          clear that once they arrived they were dealing with a
material dispute as to whether there was a lease agreement      potential trespassing issue.
in effect at the time of the search and whether rental
payments had been made. As a result, it remains unclear as       *6 Looking at the evidence in the light most favorable
to whether Plaintiff or Gardner had actual authority over       to Plaintiff, the Court will assume that Houck was not
the mobile home and was, therefore, authorized to give or       present. Similar to Elliott and Decristofalo, Gardner's
refuse consent to the warrantless search.                       statements to Defendant Bill could cause a reasonable
                                                                officer to conclude that Plaintiff was not legally living
                                                                in the property and that he was, as Defendant Bill
   2. Apparent Authority to Consent
                                                                concluded, either squatting or trespassing on the property.
Viewing the evidence in the light most favorable to
                                                                (Bill Aff. ¶ 5.) While Plaintiff claims he was objecting
Plaintiff, the Court will assume there was a valid lease
                                                                to the search and that he had a legal right to be
agreement. Nevertheless, the Court finds that the search of
                                                                there, Plaintiff also admitted to lying to Defendants
the mobile home was still valid under Illinois v. Rodriguez,
                                                                about his true identity, for which he was charged with
497 U.S. 177 (1990) and the Supreme Court's more recent
                                                                Criminal Impersonation in the Second Degree (N.Y.S
decision in Randolph. In Rodriguez, the Supreme Court
                                                                PL § 145.00). (Smith Aff. ¶ 7, Garraway Aff. ¶ 12.)
held that law enforcement was permitted to conduct a
                                                                Plaintiff's continued conflicting answers to Defendants
search upon the apparent authority of a third party's
                                                                concerning his true identity gave them reasonable
consent, even if it turns out the third party did not in
                                                                doubt as to his credibility in general. Therefore, this
fact have actual authority. Rodriguez, 497 U.S. 177. Law
                                                                Court finds Defendant Rowlands' reliance on Gardner's
enforcement may rely on the third party's consent so long
                                                                representations that Plaintiff did not belong in the home,
as facts available to the officer at the time of the search
                                                                that there was not an oral lease agreement between she
would warrant a “person of reasonable caution in belief
                                                                and Plaintiff, and that she was the true owner of the
that consenting party had authority over premises.” See
                                                                residence with authority to consent to a search thereon,
U.S. v. Perez, 948 F.Supp. 1191 (S.D.N.Y.1996); see also
                                                                was reasonable against Plaintiff's assertions. Based on
Anderson v. Decristofalo, 494 F.2d 321 (2d Cir.1974); Issa
                                                                the circumstances, Defendant Rowlands believed Gardner
v. City of Glencoe, 118 Fed. Appx. 103 (8th Cir.2004).
                                                                had authority to consent to the search and he searched
                                                                the mobile home for information concerning Plaintiff's
Here, the issue is whether Officer Rowlands had a
                                                                identity. While Plaintiff claims Smith took personal letters
reasonable good faith belief that Plaintiff was not on
                                                                written by Plaintiff from the home as evidence of Plaintiff's
the property legally and was not there pursuant to a
                                                                true identity, Defendant Smith claims he never entered
lease agreement and, therefore, Gardner had the authority
                                                                the mobile home. Looking at the evidence in the light
to consent to a warrantless search of the mobile home.
                                                                most favorable to Plaintiff, and assuming that Defendant
Plaintiff claims that because the Officers were allegedly
                                                                Smith searched the home as Plaintiff claims, Defendant
called to the scene because of the pit bulls, and not
                                                                Smith was privy to the same information that Defendant
for a landlord/tenant dispute, their belief that Plaintiff


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Garraway Case   9:18-cv-01232-DNH-DEP
         v. Broome                               Document
                   County, N.Y., Not Reported in F.Supp.2d    26
                                                           (2006)         Filed 04/16/19 Page 47 of 91
2006 WL 931729

Rowlands relied on in searching the home. See Morgan
v. Superintendent, 88 F.Supp.2d 312, 318 (S.D.N.Y.2000)         A wrongful eviction action can be brought against law
(“[W]here law enforcement authorities are cooperating,          enforcement officals who are accused of evicting tenants
the knowledge of one is presumed shared by all ...” and         for the landlord. See Collum v. Incorp. Village of Freeport,
“[t]he determination of whether probable cause to [act]         691 F.Supp. 637, 641 (E.D.N.Y.1998). The court held
exists can be based on the collective knowledge of all the      in Collum that “where an officer, without an eviction
officers involved ...”.). Therefore, even if Defendant Smith    warrant, gives a tenant a choice between absenting himself
did search the home it was based on the reasonable belief       from the premises and being arrested and the tenant
that Gardner had authority to consent to the search.            chooses the former, a wrongful eviction has taken place.
                                                                [However] ... a finding [that the officer] threatened arrest
Because entry into the mobile home by Defendants was            alone would be insufficient ... the jury would have to find
valid upon either the actual or apparent authority to           that the threat forced plaintiff to choose between vacating
consent by Gardner, the Court finds a “good faith               the premises and being arrested.” Id.
defense” is available to Defendants who may or may not
have been deceived as to who held the true legal interest       Here, the issue is whether Defendant Bill evicted Plaintiff.
in the home. If Plaintiff never had a lease agreement           The answer is that he did not. Plaintiff was removed from
with Gardner (oral or written) or if Houck had an               the premises based on an arrest unrelated to his presence
oral agreement with Dunn 2 but was not yet authorized           in the mobile home (i.e ., the warrant and criminal
to live there, then Gardner provided actual authority           impersonation). 3 Taking the evidence in the light most
to consent to the search. Assuming there was an oral            favorable to Plaintiff, even if Defendant Bill did threaten
agreement between Houck and Dunn or between Plaintiff           to arrest Plaintiff if he was to return to the property,
and Gardner, Defendants had reasonable grounds upon             as discussed above, Defendants had a reasonable good
which to believe there was not a valid lease agreement and,     faith belief that Plaintiff and Houck were not there
therefore, that Gardner retained authority to consent to        legally and, therefore, were trespassing. Any remarks
a search of the premises. Therefore, Plaintiff's claims of      Defendant Bill may have made to Plaintiff or Houck
violations of his Fourth Amendment rights are dismissed.        in regards to arrest were warranted as he had a good
                                                                faith belief that Plaintiff was engaged in the unlawful act
                                                                of squatting or trespassing. In addition, in accordance
   C. Due Process Rights                                        with Collum, mere threats of arrest are insufficient to
 *7 Plaintiff next claims his Constitutional rights to          claim wrongful eviction. Collum, 691 F.Supp. 637. Bill had
equal protection and due process were violated when             independent grounds upon which to arrest Plaintiff and
Defendants denied him the right to a legal eviction and         remove him from the property. Therefore, Plaintiff's claim
the right to a fair trial and hearing before a judge to         of a violation of his due process rights by an unlawful
determine a civil dispute. (Pl. Complaint ¶ 5.) Plaintiff       eviction of his family by Defendants is supported by
alleges Defendant Bill told him “he was kicking me and my       insufficient evidence.
family out of the residence at the request of the landlord
and that if I ever returned he would personally arrest
me.” (Garraway Aff. ¶ 24.) Plaintiff claims Bill's threat          D. Qualified Immunity
of arrest was an act of illegal eviction, thereby denying        *8 As a general rule, police officers are entitled
him the right to a legal eviction by Gardner. Defendant         to qualified immunity if their conduct “does not
Bill claims he never spoke with Plaintiff that day and          violate clearly established constitutional rights, or it was
that at no time did he threaten Plaintiff or Houck that         objectively reasonable for them to believe their acts did not
they would be arrested if they did not leave. (Bill Aff. ¶      violate those rights.” Oliveira v. Mayer, 23 F.3d 642, 648
6.) Bill claims that he believed Plaintiff and Houck were       (2d Cir.1994). Stated another way, officers are entitled to
squatting or trespassing and, therefore, he advised Houck       qualified immunity from liability for violating a plaintiff's
that she and Plaintiff were not there legally. Bill claims he   civil rights unless it was “clear to a reasonable officer that
advised Houck of the process by which she could contest         his conduct was unlawful in the situation he confronted.”
Gardner's representations and told her how she could get        Groh v. Ramirez, 540 U.S. 551, 563 (2004).
an order by the town court to allow her to stay.



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Garraway Case   9:18-cv-01232-DNH-DEP
         v. Broome                               Document
                   County, N.Y., Not Reported in F.Supp.2d    26
                                                           (2006)             Filed 04/16/19 Page 48 of 91
2006 WL 931729

As discussed above, this Court finds it was objectively            deficiency in the city's training program and establish that
                                                                   the deficiency caused a deprivation of his constitutional
reasonable for Defendants to believe their actions were
                                                                   rights.” City of Canton, Ohio v. Harris, 489 U.S. 378, 391
not in violation of Plaintiff's constitutional rights. The
                                                                   (1989). Here, Plaintiff claims, “Broome County Sheriff
Court therefore finds Defendants are entitled to qualified
                                                                   Department failed to train [Defendants].” (Pl. Mem. in
immunity.
                                                                   Opp'n. to Def. Mot. Summ. J., 9). Plaintiff further claims
                                                                   “[a]nytime Defendant Bill is called to a similar civil dispute
   G. Municipality Liability                                       ... he will always threaten and illegally evict the tenant.” Id.
Lastly, Plaintiff claims Broome County is liable for the           Plaintiff's conclusory allegations are insufficient to show
alleged Constitutional violations by Defendants through            specific deficiencies in the municipalities training program
its failure to properly train Defendants. Defendants argue         that resulted in the alleged violations of his rights. As a
Plaintiff has not shown a custom or policy adopted by the          result, Plaintiff has failed to provide sufficient evidence
municipality which caused the alleged violations.                  to show an ongoing, widespread policy or custom of the
                                                                   municipality to violate citizens' Fourth and Fourteenth
In § 1983 claims, municipalities may not be held                   rights. Therefore, Plaintiff's claim against Broome County
responsible under a theory of respondeat superior. Board           is dismissed.
of the County Commissioners of Bryan County, Oklahoma
v. Brown, 520 U.S. 397 (1997). To impose liability onto
                                                                   IV. CONCLUSION
a municipality the plaintiff must identify a municipal
                                                                   For the reasons stated above, Defendant's Motion for
“policy” or “custom” that caused plaintiff's injury. Id.
                                                                   Summary Judgment is GRANTED and Plaintiff's action
(citing Monell v. New York City Dept. of Social Servs.,
                                                                   is DISMISSED.
436 U.S. 658, 694 (1978)). An act performed pursuant
to a “custom” may subject a municipality to liability
                                                                    *9 IT IS SO ORDERED.
on the theory that the practice is so widespread so as
to have force of law. Brown, 520 U.S. at 404. One
way to show a custom or policy has been adopted by                 All Citations
the municipality is to prove the municipality failed to
properly train defendants. In order to show failure to train       Not Reported in F.Supp.2d, 2006 WL 931729
by a municipality, the plaintiff must “identify a specific


Footnotes
1      Respondents may, however, inquire as to the date Plaintiff actually handed over the papers and later raise this issue if
       it should appear that Plaintiff handed over the papers after May 31, 2003.
2      There is no indication in the record that any agreement between Houck and Dunn contemplated Plaintiff living in the
       mobile home. Similarly, there is no evidence in the record that, assuming Houck was legally residing in the mobile home,
       she permitted Plaintiff to reside there.
3      According to Plaintiff's version of the facts, Houck was not at the mobile home during the incident and she, therefore,
       would not have been subjected to removal or arrest. Even if Houck was present, as Defendants claim, Houck was not
       required to leave the home while the Defendants were there and was left at the home upon their departure. (Bill Aff. ¶ 7,
       Smith Aff. ¶ 13, Rowlands Aff. ¶ 3). In addition, there is insufficient evidence that Houck's ultimately left the mobile home
       as a direct result of any alleged threats of arrest made by Defendants.


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          Case
Kattu v. Metro   9:18-cv-01232-DNH-DEP
               Petroleum,                           Document
                          Inc., Not Reported in F.Supp.2d (2013)    26 Filed 04/16/19 Page 49 of 91
2013 WL 4015342

                                                                1937, 173 L.Ed.2d 868 (2009), plaintiffs are not required
                                                                to plead facts in a complaint to rebut a potential statute of
                  2013 WL 4015342
                                                                limitations defense, an affirmative defense that is waived
    Only the Westlaw citation is currently available.
                                                                by a defendant if it is not alleged in an answer. See DeJesus
             United States District Court,
                                                                v. HF Management Services, LLC, Dkt. No. 12–4565, slip
                   W.D. New York.
                                                                op. at 18 n.7 (2d Cir. Aug. 5, 2013); Fed.R.Civ.P. 8(c)
     Anand KATTU, Patricia King, Meghan Mian,                   (1); Litton Indus., Inc., v. Lehman Bros. Kuhn Koed Inc.,
     and Romesh Patel individually and on behalf                967 F.2d 742, 751–52 (2d Cir.1992). Although plaintiffs'
       of all others similarly-situated, Plaintiffs,            federal claims may later be shown to be barred by a statute
                                                                of limitations in whole or in part, defendant's motion
                            v.
                                                                pursuant to Rule 12(b)(6) to dismiss the complaint for
       METRO PETROLEUM, INC., Defendant.
                                                                failure to state a claim upon which relief can be granted
                     No. 12–CV–54–A.                            is denied.
                             |
                       Aug. 6, 2013.
                                                                                       DISCUSSION
Attorneys and Law Firms
                                                                The Rule 12(b)(6) Standard. When deciding a motion
Harvey P. Sanders, Sanders & Sanders, Cheektowaga,
                                                                to dismiss a complaint for failure to state a claim upon
NY, for Plaintiffs.
                                                                which relief can be granted pursuant to Rule 12(b)(6) of
Joel B. Schechter, Bennett Schechter Arcuri & Will LLP,         the Federal Rules of Civil Procedure, “a court must accept
Buffalo, NY, for Defendant.                                     as true all of the allegations contained in a complaint.”
                                                                Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173
                                                                L.Ed.2d 868 (2009). “While legal conclusions can provide
                                                                the framework of a complaint, they must be supported
               DECISION AND ORDER
                                                                by factual allegations.” Id. at 679. When evaluating the
RICHARD J. ARCARA, District Judge.                              factual allegations of a complaint, a court is required to
                                                                draw “all reasonable inferences in favor of the plaintiff.”
 *1 This action seeks unpaid overtime wages under the           Pension Ben. Guar. Corp. ex rel. St. Vincent Catholic Med.
Fair Labor Standards Act, 29 U.S.C. § 201 et seq.,              Centers Ret. Plan v. Morgan Stanley Inv. Mgmt. Inc., 712
and New York Labor Law § 650 et seq., and is within             F.3d 705, 730 (2d Cir.2013).
the Court's federal-question jurisdiction pursuant to 28
U.S.C. § 1331. Plaintiffs Anand Kattu, Patricia King,           In order “[t]o survive a motion to dismiss, a complaint
Meghan Mian, and Romesh Patel are former employees              must contain sufficient factual matter, accepted as true, to
of defendant Metro Petroleum, Inc., an operator of              state a claim to relief that is plausible of its face.” Iqbal,
convenience stores, who allege that they, and others who        556 U.S. at 678 (quotation omitted). “A claim has facial
are similarly situated, are entitled to unpaid overtime         plausibility when the plaintiff pleads factual content that
wages, liquidated damages, interest, attorney fees, and         allows the court to draw the reasonable inference that the
declaratory relief.                                             defendant is liable.” Id. “[O]nly a complaint that states a
                                                                plausible claim to relief survives a motion to dismiss.” Id.
Defendant Metro Petroleum has moved to dismiss the              at 679.
complaint pursuant to Rule 12(b)(6) of the Federal Rules
of Civil Procedure on the ground that the bulk of plaintiffs'    *2 To determine “whether a complaint states a plausible
federal-law claims are barred by the statute of limitations,    claim for relief ... [is] a context-specific task that requires
and that the Court should not exercise supplemental             the reviewing court to draw on its judicial experience and
jurisdiction over any remaining state-law claims. Despite       common sense.” Id. A complaint must allege “more than
the strict pleading standards of Bell Atlantic Corp. v.         a sheer possibility that a defendant has acted unlawfully.”
Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929          Id. at 678.
(2007), and Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct.



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          Case
Kattu v. Metro   9:18-cv-01232-DNH-DEP
               Petroleum,                           Document
                          Inc., Not Reported in F.Supp.2d (2013)   26 Filed 04/16/19 Page 50 of 91
2013 WL 4015342

Elements of an FLSA Overtime–Wage Claim. The Fair             of forty hours per workweek and never received overtime
Labor Standards Act (“FLSA”) provides that                    wages from defendant for all the overtime hours they
                                                              worked.


            no employer shall employ any of                   Based on the wages of each plaintiff, and the number of
            his employees ... for a workweek                  overtime hours each worked, each plaintiff was underpaid
            longer than forty hours unless such               by a different amount. Plaintiff Kattu was underpaid
            employee receives compensation for                by approximately $78,962 annually over the approximate
            his employment in excess of the                   ten-year period of his employment. Plaintiff King was
            hours above specified at a rate not               underpaid by approximately $4,000 during her eight-
            less than one and one-half times the              month period of employment by defendant. Plaintiff
            regular rate at which he is employed.             Mian was underpaid by approximately $14,000 during
                                                              her period of employment by defendant. Plaintiff Patel,
                                                              who worked 12– to 14–hour days, six days a week, was
                                                              underpaid by at least $11,000, and by as much as $15,000,
29 U.S.C. § 207(a)(1). An FLSA collective action
                                                              during his employment with defendant.
overtime-wage claim has four elements: First, there must
be “an employee-employer relationship” between plaintiff
                                                               *3 Plaintiffs Kattu, King, Mian, and Patel commenced
and defendant. Zhong v. August August Corp., 498
                                                              this action by filing their complaint on January 20, 2012.
F.Supp.2d 625, 628 (S.D.N.Y.2007); 29 U.S.C. § 207(a)
(1). Second, the FLSA applies only to “employees whose        Dkt. No. 1. 1 Although plaintiffs' total monetary claims
work involved some kind of interstate activity.” Zhong,       for compensation, liquidated damages, and interest are
498 F.Supp.2d at 628. Third, the complaint must allege        not specifically set forth in the complaint, it appears that
the number of hours worked and the amount of unpaid           they exceed $3 million. See Dkt. No. 8–1.
wages. Zhong, 498 F.Supp.2d at 628; see also DeJesus
v. HF Management Services, LLC, Dkt. No. 12–4565,             The FLSA Claim in the Complaint. In order to survive
slip op. (2d Cir. Aug. 5, 2013). Fourth, if a plaintiff       defendant Metro Petroleum's motion to dismiss, plaintiffs'
brings a collective action on behalf of others who are        complaint must allege facts sufficient to support the
similarly situated, “the complaint should indicate who        four elements of a collective FLSA overtime-wage claim.
those other employees are, and allege facts that would        Fed.R.Civ.P. 12(b)(6). Plaintiffs have specifically alleged
entitle them to relief.” Id.; 29 U.S.C. § 216(b); see also    facts to establish that defendant Metro Petroleum was “an
Peck v. Hillside Children's Center, 915 F.Supp.2d 435,        ‘employer’ and an ‘enterprise engaged in commerce or in
437 (W.D.N.Y.2013) (citing Zhong, with a two-elements         the production of goods for commerce,” satisfying the first
formulation of a valid FLSA overtime-wage claim).             two elements of a FLSA overtime-wage claim. Dkt. No.
                                                              1, ¶¶ 3–7. Plaintiffs have also fairly specifically alleged
Facts. Accepting the factual allegations of plaintiffs        the number of hours that each plaintiff worked, and
Kattu, King, Mian, and Patel in the complaint as true,        the amount of unpaid overtime compensation that each
Ashcroft v. Iqbal, 556 U.S. at 678, defendant Metro           plaintiff is owed. Dkt. No. 1, ¶¶ 12–27. These allegations
Petroleum is a corporation organized and incorporated         satisfy the third element of a FLSA overtime-wage claim.
under the laws of New York State which operates several       See Zhong v. August August Corp., 498 F.Supp.2d 625, 628
convenience stores across New York State, including one       (S.D.N.Y.2007). Finally, plaintiffs have alleged generally
in Buffalo, New York, that sell gasoline, lottery tickets,    that there are other persons similarly situated to plaintiffs,
groceries, and cash checks.                                   who were also employed by defendant Metro Petroleum
                                                              in similar positions, who worked overtime, but were not
Plaintiffs Kattu, King, Mian, and Patel were all previously   paid overtime wages. These allegations are sufficient to
employed by defendant Metro Petroleum and worked              satisfy the fourth element of a FLSA collective overtime-
at the store in Buffalo, New York. Throughout their           wage claim. Dkt. No. 1, ¶¶ 28–30. 2 For these reasons,
employment with defendant, plaintiffs worked different        plaintiffs' complaint alleges the elements necessary to state
hours, at different hourly wages, and for different periods   an overtime-wage claim upon which relief can be granted
of time. However, all plaintiffs routinely worked in excess   under the FLSA.


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          Case
Kattu v. Metro   9:18-cv-01232-DNH-DEP
               Petroleum,                           Document
                          Inc., Not Reported in F.Supp.2d (2013)      26 Filed 04/16/19 Page 51 of 91
2013 WL 4015342

                                                                  defense that need not be addressed in the complaint,” and
Statute of Limitations. Under the FLSA, when a party fails        plaintiffs are not required to allege facts in their complaint
to file an action to recover unpaid overtime compensation         to rebut a potential statute of limitations affirmative
“within two years after the cause of action accrued,”             defense that might be waived. E.E.O.C. v. Elmer W.
the opposing party can interpose a statute of limitations         Davis, Inc., No. 07–CV–6434 (CJS), 2008 WL 4415177 *6
affirmative defense. 29 U.S.C. § 255(a). “[A] cause of            (W.D.N.Y. Sept.24, 2008).
action arising out of a willful violation [of the requirement
to pay overtime compensation] may be begun within three           Requiring plaintiffs to allege in a complaint facts sufficient
years after the cause of action accrued.” 29 U.S.C. §             to overcome a statute of limitations affirmative defense
255(a).                                                           would shift the burden to raise and prove the affirmative
                                                                  defense from defendants, as the burden is allocated and
Defendant Metro Petroleum argues that most of plaintiffs'         imposed by Rule 8(c)(1) of the Federal Rules of Civil
29 U.S.C. § 207 overtime-wage claims should be dismissed          Procedure, to plaintiffs. The standards of Bell Atlantic
pursuant to Rule 12(b)(6) because plaintiffs' claims are          Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955,
time barred by either the two- or the three-year statute of       167 L.Ed.2d 929 (2007) and Ashcroft v. Iqbal, 556 U.S.
limitations period applicable under the FLSA. Defendant           662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) require
stresses that the complaint shows that only plaintiffs            the plaintiffs to plead a plausible, well-founded cause of
Kattu and Patel, and possibly plaintiff King, were                action, but do not justify shifting the burden of raising the
employed by defendant beyond January 20, 2009, which              defense from the defendant to plaintiffs in contravention
is the latest possible bar date three years prior to the filing   of Rule 8(c)(1). See DeJesus v. HF Management Services,
of the complaint on January 20, 2012. Dkt. No. 19–3, p. 4.        LLC, Dkt. No. 12–4565, slip op. at 18 n.7 (2d Cir. Aug.
                                                                  5, 2013).
In response to defendant Metro Petroleum's motion to
dismiss, plaintiffs argue that the statute of limitations         Determining a statute of limitations defense ordinarily
in this case should be equitably tolled to the first              “requires a consideration of the merit of both parties'
time plaintiffs were not paid overtime. Dkt. No. 23, p.           claims and defenses.” Addison v. Reitman Blacktop, Inc.,
4. 3 Defendant Metro Petroleum, in reply, asserts that            283 F.R.D. 74, 83 (E.D.N.Y.2011) (quotations omitted ).
plaintiffs' equitable tolling argument is unsupported by          Because the defense requires consideration on the merits,
facts alleged in the complaint. Defendant also argues             it is heavily fact dependent, which makes a statute of
plaintiffs can present no further facts in support of their       limitations “[d]ismissal under Rule 12(b) (6) ... irregular.”
argument because the Rule 12(b)(6) standard requires              E.E.O.C., 2008 WL 4415177 *6 (citing U.S. v. Northern
evaluation of the claim be limited to the factual allegations     Trust Co., 372 F.3d 886, 888 (7th Cir.2004)). Ordinarily,
in their complaint. Dkt. No. 24, pp. 2–3.                         dismissal of a claim at the complaint stage based on a
                                                                  statute of limitations affirmative defense “is appropriate
 *4 It is well established that “[c]omplaints need                only if a complaint clearly shows the claim is out of
not anticipate, or attempt to plead around, potential             time.” Harris v. City of New York, 186 F.3d 243, 250 (2d
affirmative defenses.” High Falls Brewing Co., LLC                Cir.1999).
v. Boston Beer Corp., 852 F.Supp.2d 306, 310
(W.D.N.Y.2011). As an affirmative defense, a statute of           As plaintiffs stress, a statute of limitations affirmative
limitations defense must be alleged by a defendant in a           defense, if not waived, may be equitably tolled “to avoid
pleading or it is deemed waived. Fed.R.Civ.P. 8(c)(1);            inequitable circumstances.” Johnson v. Nyack Hosp., 86
Litton Indus., Inc., v. Lehman Bros. Kuhn Koed Inc., 967          F.3d 8, 12 (2d Cir.1996); Santos v. Dist. Council of
F.2d 742, 751–52 (2d Cir.1992) (“A claim that a statute           New York City & Vicinity of United Bhd. of Carpenters
of limitations bars a suit is an affirmative defense, and,        & Joiners of Am., AFL–CIO, 619 F.2d 963, 967 (2d
as such, it is waived if not raised in the answer to the          Cir.1980). Equitable tolling “extend[s] the statute of
complaint.” Id.); see United States v. Landau, 155 F.3d 93,       limitations beyond the time of expiration.” Johnson, 86
107 (2d Cir.1998) (statute of limitations defense waived          F.3d at 12. “Ordinarily, equitable tolling is an issue
when only raised in a motion for summary judgment).               determined on a motion for summary judgment or at the
Accordingly, “a statute of limitations is an affirmative          time of trial since it is heavily fact dependent”. Kai Yan



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          Case
Kattu v. Metro   9:18-cv-01232-DNH-DEP
               Petroleum,                           Document
                          Inc., Not Reported in F.Supp.2d (2013)        26 Filed 04/16/19 Page 52 of 91
2013 WL 4015342

Lai v. Wai Mon Leung, No. CV 11–3561(SJ)(MDG), 2012                In light of this ruling, defendant's motion for dismissal of
                                                                   the state-law claims of plaintiffs for lack of supplemental
WL 4472155 at *5 (E.D.N.Y. Aug. 31, 2012) (Report and
                                                                   jurisdiction pursuant to 28 U.S.C. § 1367 is also denied.
Recommendation adopted by Kai Yan Lai v. Wai Mon
Leung, NO. 11–CV–3561 SJ MDG, 2012 WL 4472143
                                                                   Upon random assignment by the Clerk of the Court, the
(E.D.N.Y. Sep 26, 2012)).
                                                                   action is referred to Magistrate Judge Hon. Leslie G.
                                                                   Foschio. The Magistrate Judge is hereby designated to act
 *5 In this action, some of plaintiffs' claims may have
                                                                   in this case as follows: Pursuant to 28 U.S.C. § 636(b)(1)
accrued before the two- or three-year statute of limitations
                                                                   (A) and (B), all pre-trial matters in this case are referred
bar date, but plaintiffs sufficiently raise equitable tolling
                                                                   to the above-named United States Magistrate Judge,
in response to defendant Metro Petroleum's Rule 12(b)(6)
                                                                   including but not limited to: (1) conduct of a scheduling
motion to dismiss to avoid the dismissal of their claims for
                                                                   conference and entry of a scheduling order pursuant to
failure to state a claim. In light of plaintiff's response to
                                                                   Fed.R.Civ.P. 16; (2) hearing and disposition of all non-
the motion to dismiss, it is not clear from the complaint
                                                                   dispositive motions or applications; (3) supervision of
that any of plaintiffs' claims are time-barred. On the other
                                                                   discovery; and, (4) supervision of all procedural matters
hand, undisputed facts may later justify a motion for
                                                                   involving the aforementioned or involving the preparation
summary judgment to significantly narrow the issues for
                                                                   of the case or any matter therein for consideration by the
trial. At this juncture, the Court will not shift the burden
                                                                   District Judge. The Magistrate Judge shall also hear and
of pleading and proving facts that underlie the potential
                                                                   report upon dispositive motions for the consideration of
statute of limitations defense, a defense that is waived if
                                                                   the District Judge pursuant to 28 U.S.C. § 636(b)(1)(B)
not alleged in an answer, from defendant to plaintiffs. See
                                                                   and (C). All motions or applications shall be filed with the
In re South African Aparteid Litigation, 617 F.Supp.2d
                                                                   Clerk and made returnable before the Magistrate Judge.
228, 287 n. 368 (S.D.N.Y.2009)). 4 Defendant's motion to
dismiss plaintiffs' FLSA overtime-wage claims pursuant
                                                                   The parties are encouraged to consider the provisions of
to Rule 12(b)(6) for failure to state a claim upon which
                                                                   28 U.S.C. § 636(c) governing consent to either partial
relief can be granted is therefore denied.
                                                                   or complete disposition of the case, including trial if
                                                                   necessary, by the Magistrate Judge. Consent forms are
                                                                   available from the office of the Magistrate Judge or the
                     CONCLUSION                                    office of the Clerk of Court.

For the foregoing reasons, the motion of defendant Metro           SO ORDERED.
Petroleum, Inc. to dismiss the complaint of plaintiffs
Anand Kattu, Patricia King, Meghan Mian, and Romesh
Patel pursuant to Rule 12(b) (6) of the Federal Rules of           All Citations
Civil Procedure for failure to state a Fair Labor Standards
Act overtime-wage claim under 29 U.S.C. § 207 is denied.           Not Reported in F.Supp.2d, 2013 WL 4015342



Footnotes
1      Since the complaint was docketed, there was a Clerk's Entry of Default, Dkt. No. 7, a Motion for a Default Judgment, Dkt.
       No. 8, which was delayed because of potential counsel conflict-of-interest issues, see Minute Entry July 13, 2012, and
       by negotiations among the parties, see Dkt. Nos. 10–14, which were followed by a Motion to Set Aside the Default, Dkt.
       No. 14, and, eventually, a Stipulation, Dkt. No. 17, to set aside the entry of default and withdrawing the Motion for Default
       Judgment. Counsel and proposed substitute counsel for defendant Metro Petroleum are directed to attend to Text Order
       26, entered July 1, 2013, regarding an unresolved substitution-of-counsel issue by no later than August 20, 2013, so that
       the action may proceed without unnecessary delay.
2      While plaintiffs assert they are representatives of a collective and a class action, they have not yet been required to file
       a motion for conditional certification and notice pursuant to 29 U.S.C. § 216(b), or for certification of a class pursuant
       to Rule 23 of the Federal Rules of Civil Procedure. The Court does not address whether a collective or class action is
       appropriate. See Peck v. Hillside Children's Center, 915 F.Supp.2d 435, 438–39 (W.D.N.Y.2013).




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          Case
Kattu v. Metro   9:18-cv-01232-DNH-DEP
               Petroleum,                           Document
                          Inc., Not Reported in F.Supp.2d (2013)        26 Filed 04/16/19 Page 53 of 91
2013 WL 4015342

3      In claiming equitable tolling, plaintiffs raise two arguments in their Memorandum of Law in Opposition to Defendant's
       Motion to Dismiss that were not supported by factual allegations in plaintiffs' complaint. First, plaintiffs assert that they
       acted diligently throughout the course of their employment, but defendant Metro Petroleum prevented them from knowing
       their rights under the Fair Labor Standards Act. Dkt. No. 23, p. 4. Second, plaintiffs assert that defendant failed to post a
       required notice advising plaintiffs of their rights under the Fair Labor Standards Act. Dkt. No. 23, p. 6.
4      Defendant's contentions that plaintiffs' equitable tolling arguments are invalid as a matter of law are insufficient to prompt
       the Court sua sponte to exercise its discretion to convert defendant's Rule 12(b)(6) motion to dismiss to a motion for
       partial summary judgment under Rule 56 of the Federal Rules of Civil Procedure.


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         Case
Merrihew v. Town9:18-cv-01232-DNH-DEP             Document
                 of Ulster, Not Reported in F.Supp.2d (2005)   26 Filed 04/16/19 Page 54 of 91
2005 WL 1660113

                                                            “Kingston Defendants”). Ulster Motion (Dkt. No. 29);
                                                            Kingston Motion (Dkt. No. 43). In each motion, the
                 2005 WL 1660113
                                                            respective defendants seek the dismissal of Merrihew's
   Only the Westlaw citation is currently available.
                                                            claims based upon excessive force and denial of medical
            United States District Court,
                                                            care as barred by the applicable statute of limitations.
                  N.D. New York.
                                                            Ulster Motion (Dkt. No. 29) at 2; Kingston Motion
          Russell MERRIHEW, Jr., Plaintiff,                 (Dkt. No. 43) at 3. Merrihew has not responded to either
                          v.                                motion.
    THE TOWN OF ULSTER, the Town of Ulster
                                                            On or about the evening of April 23, 1998, Merrihew
     Police Department, the City of Kingston, the
                                                            was at Mid-Hudson Auto Upholstery and Boat Tops, his
    City of Kingston Police Department, Detective
                                                            place of business, to load a truck and meet a friend. 1
   Robert Reynolds, Lieutenant Timothy Mathews,
                                                            Complaint (Dkt. No. 1) at ¶ 8. Merrihew alleges that he
      Detective Brian Robertson, Detective John
                                                            was approached by four police officers who pulled him out
       Sheeley, and Robert Henry, Defendants.
                                                            of his truck, threw him up against it, and then threw him
              No. 1:04-CV-1027(LEKDRH).                     to the ground. Id. at ¶ 9. He claims that they proceeded
                            |                               to beat him in the lower back, head, face, and neck. Id.
                      July 7, 2005.                         According to Merrihew, the officers searched him, took
                                                            money they found in his shirt pocket, and forced him to
Attorneys and Law Firms                                     open the business to let them search it. Id. Nothing was
                                                            found in the business. Id.
John W. Cobb, Cobb, Cobb Law Firm, Tuxedo, NY, for
Plaintiff.                                                  Merrihew states that police then brought him to the police
                                                            station, where he was told that he was being arrested for
David L. Posner, McCabe, Mack Law Firm,
                                                            “sale of cocaine on video.” Id. at ¶ ¶ 9-10. Merrihew told
Poughkeepsie, NY, Robert D. Cook, Cook, Netter Law
                                                            them he was never a drug dealer. Id. at ¶ 10. When police
Firm, Kingston, NY, for Defendants.
                                                            told him they suspected that he had large quantities of
                                                            drugs in his basement safe, Merrihew said that he gave
                                                            them the combination because he had nothing to hide.
     MEMORANDUM-DECISION AND ORDER                          Id. The officers, armed with an allegedly valid search
                                                            warrant, searched Merrihew's residence and claimed to
KAHN, J.
                                                            have found four ounces of cocaine in the basement safe.
I. Background                                               Id. at ¶ 11. Police then went back to his business, again
 *1 On August 21, 2004, Plaintiff Russell Merrihew,         with an allegedly valid search warrant, and claim to have
Jr. (“Merrihew”) filed this action pursuant to 42 U.S.C.    found cocaine in a key box. Id. While in police custody,
§§ 1983 (“ § 1983”) and 1988, alleging that he was          Merrihew contends that he was denied requested medical
subjected to various deprivations of his rights under the   treatment, and that he had to go to the hospital after his
Fourth and Fourteenth Amendments, specifically: (1)         release from jail. Id. at ¶ 12.
malicious prosecution; (2) false arrest and imprisonment;
(3) excessive force utilized by police in making an         Ultimately, Merrihew was charged with Criminal
arrest; (4) illegal searches and seizures; and (5) denial   Possession of a Controlled Substance in the Second
of medical care while imprisoned by police. Complaint       Degree, two counts of Criminal Possession of a Controlled
(Dkt. No. 1) at ¶ 17. Currently before the Court are        Substance in the Third Degree, Criminal Possession of
two motions to dismiss, one by Defendants Town of           a Controlled Substance in the Fourth Degree, and two
Ulster, Detective Robert Reynolds, and Detective John       counts of Criminally Using Drug Paraphernalia in the
Sheeley (collectively, “Ulster Defendants”) and one by      Second Degree. Id. He was convicted on February 14,
Defendants City of Kingston, City of Kingston Police        2000. Id. at ¶ 13. On January 30, 2003, the Appellate
Department, Lieutenant Timothy Mathews, Detective           Division, Third Department vacated his conviction
Brian Robertson, and Robert Henry (collectively,            because his pre-trial motion to dismiss on speedy trial



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         Case
Merrihew v. Town9:18-cv-01232-DNH-DEP             Document
                 of Ulster, Not Reported in F.Supp.2d (2005)       26 Filed 04/16/19 Page 55 of 91
2005 WL 1660113

grounds should have been granted. Id.; Ulster Memo.            claimant knows or has reason to know of the allegedly
(Dkt. No. 29) at 2; People v. Merrihew, 301 A.D.2d 970,        impermissible conduct and the resulting harm.” 2 Veal
755 N.Y.S.2d 462 (3 rd Dept.2003).                             v. Geraci, 23 F.3d 722, 724 (2d Cir.1994). The basis for
                                                               Merrihew's excessive force claim is that on April 23, 1998,
                                                               he was thrown to the ground and beaten by police officers
II. Discussion                                                 in the course of his arrest. Complaint (Dkt. No. 1) at
 *2 A motion to dismiss for failure to state a claim upon      ¶ 9. The circumstances underlying Merrihew's denial of
which relief can be granted pursuant to Rule 12(b)(6)          medical care claim occurred while he was in the custody
of the Federal Rules of Civil Procedure must be denied         of police after his arrest. Id. at ¶ 12. These were the
“ ‘unless it appears beyond doubt that the plaintiff can       only allegations in his complaint that could form the
prove no set of facts in support of his claim which would      bases of claims relating to excessive force and denial of
entitle him to relief.” ’ Cohen v. Koenig, 25 F.3d 1168,       medical care. Based upon the facts as recited by Merrihew
1172 (2d Cir.1994) (quoting Conley v. Gibson, 355 U.S.         in his complaint, the conduct and harm underlying his
41, 45-46, 78 S.Ct. 99, 2 L.Ed.2d 80 (1957)). In assessing     claims regarding excessive force and denial of medical care
the sufficiency of a pleading, the Court must “assume all      occurred on April 23, 1998. Id. at ¶¶ 9, 12. Merrihew had
well-pleaded factual allegations to be true, and ... view      knowledge of the force and the denial of medical care on
all reasonable inferences that can be drawn from such          that same evening. See, Singleton v. City of New York, 632
allegations in the light most favorable to the plaintiff.”     F.2d 185, 191 (2d Cir.1980). His knowledge of the denial
Dangler v. New York City Off Track Betting Corp., 193          of medical care is evidenced by his request for medical
F.3d 130, 138 (2d Cir.1999). Consideration is limited to       treatment while in custody, which was denied. Id. at ¶ 12.
the complaint, documents attached to the complaint or
incorporated into it by reference, matters of which judicial    *3 As there are no allegations in the complaint indicating
notice may be taken, and “documents either in plaintiffs'      that the statute of limitations for these claims may be
possession or of which plaintiffs had knowledge and relied     equitably tolled or otherwise extended, Merrihew's claims
on in bringing suit.” Brass v. Amer. Film Techs., Inc.,        relating to excessive force and denial of medical care
987 F.2d 142, 150 (2d Cir.1993); Young v. Goord, No. 01        filed on August 31, 2004 are barred by the three year
CV 626(JG), 2005 WL 562756, at *6 (E.D.N.Y. Mar.10,            statute of limitations, which expired on April 23, 2001.
2005).                                                         That Merrihew was incarcerated for most (or all) of the
                                                               statute of limitations period is of no matter; he could have
Ulster Defendants and Kingston Defendants contend that         pursued these claims from prison.
the claims alleging excessive force and denial of access
to medical care are barred by the applicable statute of
limitations. Ulster Memo. (Dkt. No. 29) at 3; Kingston         III. Conclusion
Memo. (Dkt. No. 43) at 5.                                      Based on the foregoing discussion, it is hereby

The statute of limitations period for § 1983 claims such as    ORDERED, that the motion to dismiss filed by the Town
the two at issue in this motion is determined by the forum     of Ulster, Detective Robert Reynolds, and Detective John
state's statute of limitations for personal injury actions.    Sheeley is GRANTED, and Merrihew's claims regarding
Okure v. Owens, 816 F.2d 45, 47 (2d Cir.1987); Taylor v.       excessive force and denial of medical care pursuant to 42
New York State Dep't of Corr., No. 03 Civ.1929(PKC),           U.S.C. § 1983 are DISMISSED as to these defendants; and
2004 WL 2979910, at *8 (S.D.N.Y. Dec.22, 2004). Under          it is further
New York State law, the statute of limitations period
for personal injury claims is three years. N.Y. C.P.L.R. §     ORDERED, that the motion to dismiss filed by
214(5) (1991). Because the complaint was filed on August       the City of Kingston, the City of Kingston Police
31, 2004, (Dkt. No. 1), claims accruing prior to August 31,    Department, Lieutenant Timothy Mathews, Detective
2001 are barred.                                               Brian Robertson, and Robert Henry is GRANTED,
                                                               and Merrihew's claims regarding excessive force and
A claim pursuant to § 1983 “accrues when the                   denial of medical care pursuant to 42 U.S.C. § 1983 are
alleged conduct has caused the claimant harm and the           DISMISSED as to these defendants; and it is further



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         Case
Merrihew v. Town9:18-cv-01232-DNH-DEP             Document
                 of Ulster, Not Reported in F.Supp.2d (2005)          26 Filed 04/16/19 Page 56 of 91
2005 WL 1660113


                                                                  All Citations
ORDERED, that the Clerk serve a copy of this order on
all parties.                                                      Not Reported in F.Supp.2d, 2005 WL 1660113



Footnotes
1     As this is a motion to dismiss, Merrihew's factual allegations are taken as true. See Dangler v. New York City Off Track
      Betting Corp., 193 F.3d 130, 138 (2d Cir.1999).
2     In certain circumstances, § 1983 claims do not accrue until a plaintiff's conviction is overturned or otherwise invalidated.
      Heck v. Humphrey, 512 U.S. 477, 489-90, 114 S.Ct. 2364, 129 L.Ed.2d 383 (1994). If the basis for a § 1983 claim is
      “harm caused by actions whose unlawfulness would render a conviction or sentence invalid,” the plaintiff must prove
      that the conviction or sentence was reversed, expunged, invalidated, or called into question by the issuance of a writ of
      habeas corpus, and thus, the cause of action does not accrue until that point. Id. at 486-87; 489-90. When a “plaintiff's
      action, even if successful, will not demonstrate the invalidity of any outstanding criminal judgment against the plaintiff,
      the action should be allowed to proceed.” Id. at 487. Because there is nothing in Merrihew's complaint that suggests
      that his claims regarding excessive force and denial of medical care are in any way related to the validity or invalidity of
      Merrihew's criminal conviction, the claims began to accrue when the harms occurred and he had (or should have had)
      knowledge of them.


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                   Document 26 Filed 04/16/19 Page 57 of 91
2017 WL 9511094

                                                            not oppose the motion. For the following reasons, it is
                                                            recommended that defendants' motion be granted in part
                 2017 WL 9511094
                                                            and denied in part.
   Only the Westlaw citation is currently available.
    United States District Court, N.D. New York.

           Frank J. POVOSKI, Jr., Plaintiff,                                      I. Background
                         v.
           Steven LACY, et al., Defendants.
                                                                       A. Plaintiff’s Recitation of the Facts
               No. 9:14-CV-97 (BKS/CFH)
                                                            The facts are related herein in the light most favorable
                           |
                                                            to the plaintiff as the nonmoving party. See subsection
                   Signed 12/13/2017
                                                            II (B) infra. In his Second Amended Complaint, plaintiff
Attorneys and Law Firms                                     alleges that in May 2010, he was elected to the Inmate
                                                            Liaison Committee (“ILC”) 2 at CCF. Sec. Am. Comp.
Frank J. Povoski, Jr., 161 Hillview Drive, Rochester, New   at ¶ 9. The ILC “investigate[s] and facilitate[s] facility-
York 14622, Plaintiff pro se.                               wide grievances that effect the inmate population as a
                                                            whole or part, and communicate[s] those grievances to
Hon. Eric T. Schneiderman, Attorney General for
                                                            administration....” Id. That year, the ILC’s investigations
the State of New York, OF COUNSEL: BRIAN W.
                                                            included the misappropriation of funds obtained through
MATULA, ESQ., Assistant Attorney General, The
                                                            vending machine sales in the visiting room; assaults by
Capitol, Albany, New York 12224-0341, Attorney for
                                                            staff members; and the death of an inmate, Leonard
Defendants.
                                                            Strickland, that occurred in October 2010. Id. ¶ 10. In
                                                            preparation for the November 2010 meeting, the ILC
                                                            prepared eleven grievances for the Executive Team at
  REPORT-RECOMMENDATION AND ORDER 1                         CCF, which included Supt. LaValley and Capt. Lacy.
                                                            Id. ¶ 11. On November 22, 2010, the ILC met with
CHRISTIAN F. HUMMEL, U.S. MAGISTRATE
                                                            the Executive Team to discuss the grievances, which
JUDGE
                                                            included the death of Strickland, the misappropriation
 *1 Plaintiff pro se Frank J. Povoski, Jr. (“plaintiff”),   of vending machine funds, and the failure to receive
a former inmate who was, at all relevant times, in          inmate account statements. Id. ¶ 12. Plaintiff led the
the custody of the New York State Department of             discussion on these topics, stating that Supt. LaValley
Corrections and Community Supervision (“DOCCS”),            and Capt. Lacy were “doing little to curtail the numerous
brings this action pursuant to 42 U.S.C. § 1983 alleging    assaults that were being committed on inmates by staff.”
that defendants Corrections Captain (“Capt.”) Steven        Id. Plaintiff stated that requests to inspect the records
Lacy, Corrections Officer (“C.O.”) Patrick Summo,           from the vending machines were being ignored, and asked
C.O. Brian Kelly, C.O. John Cruise, C.O. Richard            to inspect those records. Id. Plaintiff also complained
Mahuta, C.O. Thomas Tamer, C.O. James Pray,                 that inmate account statements had not been received
Director of Special Housing (“Dir.”) Albert Prack,          and were being discarded prior to distribution. Id. ¶ 15.
Lieutenant (“Lieut.”) William Allan, Superintendent         Plaintiff requested the reissuance of those statements. Id.
(“Supt.”) Thomas LaValley, and Sergeant (“Sgt.”) James      In response, Supt. LaValley told plaintiff that each inmate
Archambault – who, at all relevant times, were employed     would need to request the reissuance of their Inmate
at Clinton Correctional Facility (“CCF”) – violated         Account Statement, and authorized plaintiff to draft a
his rights under the First, Eighth, and Fourteenth          prototype letter to assist inmates in making those requests.
Amendments. Dkt. No. 106 (“Sec. Am. Compl.”). At            Id. On November 23, 2010, plaintiff drafted the prototype
all relevant times, plaintiff was incarcerated at CCF.      letter and sent it to Supt. LaValley. Id. ¶ 16.
Presently pending is defendants' Motion for Summary
Judgment pursuant to Federal Rules of Civil Procedure        *2 On November 24, 2010, plaintiff provided the
(“Fed. R. Civ. P.”) 56. Dkt. No. 132. Plaintiff did         prototype letter to three inmates. Sec. Am. Compl. ¶ 17.



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                      Document 26 Filed 04/16/19 Page 58 of 91
2017 WL 9511094

C.O. Mahuta observed plaintiff distributing the letter, and    searched his cell. Sec. Am. Compl. ¶ 35. During the search,
approached plaintiff. Id. ¶ 18. After plaintiff explained      plaintiff watched C.O. Crusie leave his cell and return a
the contents of the letter, C.O. Mahuta confiscated the        short time later. Id. ¶ 36. C.O. Kelly then exited plaintiff’s
remaining prototype letters. Id. ¶¶ 18-19. Plaintiff alleges   cell and returned approximately fifteen minutes later
that C.O. Mahuta contacted defendant Sgt. Tamer and            carrying rolled up papers. Id. Both officers then exited the
proceeded to the disciplinary office to inquire what           cell carrying items in a box. Id. Plaintiff returned to his
charges could be brought against plaintiff regarding the       cell and noticed that two legal notebooks were missing. Id.
prototype letter, and a non-party employee told C.O.           C.O. Kelly and C.O. Crusie issued plaintiff a misbehavior
Mahuta that plaintiff had not violated any standards of        report for his possession of escape paraphernalia, stating
inmate behavior. Id. ¶ 20-21. C.O. Tamer informed C.O.         that they had found a detailed, five-page pamphlet on how
Mahuta of plaintiff’s statements at the November 22 ILC        to pick locks in plaintiff’s cell. Id. ¶ 37.
meeting, and of Supt. LaValley and Capt. Lacy’s desire
to issue plaintiff a Tier III misbehavior report to insure      *3 Later that day, C.O. Tamer and non-party C.O.
his confinement in the Special Housing Unit (“SHU”)       3    Trombley escorted plaintiff to SHU. Sec. Am. Compl. ¶
and remove him from the ILC. Id. ¶¶ 22-23. C.O. Mahuta         41. During the escort, Sgt. Tamer said to plaintiff: “This
and C.O. Tamer planned to issue plaintiff a misbehavior        is what you get for suing me and sticking your nose into
report, charging him with solicitation and organization of     things where it doesn't belong.... Lacy is going to give
an action detrimental to the order of the facility, despite    you two years. I've already talked to him about it.” Id.
knowing that the charges were false. Id. ¶¶ 24-25.             The next day, plaintiff was served with two misbehavior
                                                               reports stemming from the events of the previous day. Id.
Following the confiscation of plaintiff’s prototype letters,   ¶ 45. C.O. Summo was assigned to provide assistance to
plaintiff proceeded to the scheduled inmate ILC meeting.       plaintiff in his upcoming disciplinary hearing. Id. ¶ 46.
Sec. Am. Compl. ¶ 28. At that meeting, plaintiff received      Plaintiff provided C.O. Summo with two lists of requests
a letter, sent to non-party inmate Hector Torres from a        for assistance, which Summo failed to complete. Id.
civilian, claiming that Capt. Lacy was an active member
and the “Grand Wizard” in the local chapter of the Ku          On December 6, 2010, Capt. Lacy sentenced plaintiff
Klux Klan (“KKK”). Id. Officers confiscated plaintiff’s        to twenty-four months of SHU confinement. Sec. Am.
ILC folder and legal notebook while he was picking up his      Compl. ¶¶ 49, 50. On December 17, 2010, plaintiff mailed a
medication, including the KKK letter. Id. ¶ 31. Plaintiff      request for a thirty-day extension to file his administrative
                                                               appeal. Id. ¶ 51. On or about January 3, 2011, plaintiff
was keeplocked 4 in his cell. Id.
                                                               mailed his administrative appeal to Dir. Prack, raising
                                                               violations of New York State law and procedural due
Plaintiff contends that, after inspection of the KKK
                                                               process rights. Id. ¶ 52. On January 26, 2011, Dir. Prack
letter, Supt. LaValley, Capt. Lacy, C.O. Tamer, and C.O.
                                                               affirmed the disposition and modified plaintiff’s SHU
Mahuta mutually agreed to search plaintiff’s cell, and if
                                                               confinement to eighteen months. Id. ¶ 54.
no contraband was found, they would plant contraband. 5
Id. ¶ 32-33. C.O. Tamer instructed C.O. Kelly and C.O.         On December 22, 2010, Lieut. Allan and three unidentified
Crusie to conduct a search of plaintiff’s cell and to          non-party officers escorted plaintiff to the hospital for
make sure they found “something substantial” that would        “special watch” following his hunger strike. Sec. Am.
result in plaintiff receiving a Tier III misbehavior report    Compl. ¶ 136. During that escort, the non-party officers
and SHU placement. Id. ¶ 34. C.O. Tamer then told              punched plaintiff multiple times on his head and face,
C.O. Kelly and C.O. Crusie that “if they could not find        and pushed him into a concrete wall. Id. Plaintiff was
any contraband to come see him ... [because] he had            handcuffed and waist-chained throughout the assault. Id.
‘something’ they could justify the misbehavior report          Plaintiff suffered bruising, contusions, and “other painful
with.” Id. C.O. Kelly and C.O. Crusie agreed to search         physical injuries.” Id. After failing to intervene in the
plaintiff’s cell. Id.                                          assault, Lieut. Allan stated: “that will teach you for
                                                               opening your mouth ... and writing grievances.” Id. ¶ 137.
On November 24, 2010, plaintiff was instructed to wait
in the “slop sink” area while C.O. Kelly and C.O. Crusie



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                       Document 26 Filed 04/16/19 Page 59 of 91
2017 WL 9511094

In March 2011, Supt. LaValley denied plaintiff transport         November 30, 2010, was adjourned to December 3, 2010,
to attend his father’s funeral in retaliation for plaintiff’s    and completed on December 6, 2010. Id. ¶ 2. Plaintiff
prior speech. Sec. Am. Compl. ¶ 61. On March 16, 2011,           identified three inmate witnesses and two corrections
plaintiff mailed Supt. LaValley an appeal of the December        officers that he wanted examined during the hearing. Id. ¶
6, 2010 disciplinary hearing, raising various violations of      3. Plaintiff provided questions to the hearing officer to ask
New York State law and state procedural due process              of the witnesses. Id. ¶ 4. The hearing officer told plaintiff
rights. Id. ¶ 62. Supt. LaValley failed to review the hearing.   that inmate witnesses could not testify in his presence
Id.                                                              because of security reasons. Id. ¶ 5. The hearing officer
                                                                 informed plaintiff that certain inmate witnesses and family
On January 26, 2011, defendant Sgt. Archambault and              members he requested were not relevant to the issues, and,
defendant C.O. Pray escorted plaintiff to a teleconference       therefore, would not be called. Id. ¶¶ 6, 7. The hearing
pursuant to a pending case in the New York State Court of        officer based his hearing determination on a November
Claims. Sec. Am. Compl. ¶ 139. Plaintiff was handcuffed          24 misbehavior report that alleged a pamphlet on how to
and waist-chained during the escort. Id. Prior to leaving        “pick” or “bump” a lock was found in plaintiff’s cell. Id. ¶¶
the SHU, C.O. Pray ordered plaintiff to hand him his legal       8, 9. The hearing officer also took into account plaintiff’s
papers for inspection. Id. ¶ 140. C.O. Pray read plaintiff’s     previous involvement in a conspiracy to escape plot. Id.
Court of Claims petition out loud to the officers present.       ¶ 10.
Id. C.O. Pray stated: “So you are suing my buddy Kevin,
we know how to fix inmates like you.” Id. C.O. Pray and          On December 6, 2010, plaintiff was found not guilty of
Sgt. Archambault escorted plaintiff to the teleconference        the solicitation charges set forth in the C.O. Mahuta’s
without physical incident, but taunted plaintiff, stating        November 24 misbehavior report. Dkt. No. 132-2 ¶
that they would assault him after the appearance, and            11. Plaintiff was found guilty of possession of escape
that they knew the “ideal place to assault inmates.” Id.         paraphernalia, and Capt. Lacy sentenced him to twenty-
On the return escort, upon entering the Lower A/B Block          two months in SHU. Id. ¶ 12. Capt. Lacy issued a written
corridor, Sgt. Archambault told C.O. Pray: “Go ahead,            disposition which set forth the basis for his determination,
the hallway’s clear.” Id. ¶ 141. C.O. Pray pushed plaintiff      together with the evidence relied upon. Id. ¶ 13.
into a brick wall and punched him multiple times on the
head and neck while plaintiff was restrained. Id. ¶ 139.         On January 3, 2011, plaintiff appealed the hearing
Plaintiff suffered bruising and contusions as a result. Id.      determination to Dir. Prack, and on January 26, his
                                                                 sentence was reduced to eighteen months. Dkt. No. 132-2
Plaintiff was confined in the SHU for three hundred and          ¶¶ 14, 15. In April 2011, plaintiff’s sentence was further
thirty eight days before being released to the general           reduced to eleven months after entering into a confidential
prison population on or about October 27, 2011, 6 after          agreement with C.O. Allan and facility administrators
being credited a “time cut” for good behavior and                allowing plaintiff to act as an informant for CCF. Id.
cooperation. Sec. Am. Compl. ¶ 95. Plaintiff challenged          ¶ 16. On May 8, 2011, plaintiff transferred out of SHU
Capt. Lacy’s December 6, 2010 determination upon his             confinement after serving 152 days. Id. ¶¶ 17,18. In
transfer to Great Meadows Correctional Facility and was          connection with the December 6, 2010 sentence, plaintiff
determined not guilty of all charges. Id. ¶ 98.                  spent a total of ninety days in SHU. Id. ¶ 20.

                                                                 Plaintiff initiated an Article 78 proceeding in state
                                                                 court challenging the November 2010 hearing and the
          B. Defendants' Recitation of the Facts                 December 6, 2010 decision. Dkt. No. 132-2 ¶ 21.
                                                                 Due to technical problems with the tape recording at
*4   In support of this motion, defendants filed a
                                                                 plaintiff’s initial disciplinary hearing, DOCCS requested
Statement of Material Facts. 7 On November 25, 2010,             that plaintiff’s hearing and disciplinary decision be
C.O. Mahuta and C.O. Kelly each issued plaintiff                 annulled, and the state court ordered plaintiff a de novo
misbehavior reports charging him with (1) solicitation,          hearing concerning the charges. Dkt. No. 132-2 ¶ 21.
(2) conduct detrimental to the order of the facility, and        Pursuant to this re-hearing, the charges against plaintiff
(3) possession of escape paraphernalia. Id. ¶ 45. Dkt.
No. 132-2 ¶ 1. A disciplinary hearing commenced on


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                       Document 26 Filed 04/16/19 Page 60 of 91
2017 WL 9511094

were determined to be unsubstantiated, and the entire            at 74. Therefore, as plaintiff’s complaint is verified, 9
matter was stricken from plaintiff’s record. Id. ¶ 22.           the undersigned will accept plaintiff’s Second Amended
                                                                 Complaint to the extent that the statements are based on
As to plaintiff’s December 22, 2010 and January 26, 2011         the plaintiff’s personal knowledge or are supported by
claims of excessive force, plaintiff first raised these claims   the record. See Berry v. Marchinkowski, 137 F.Supp.3d
in the Amended Complaint filed on August 1, 2014. Id. ¶¶         495, 530 (S.D.N.Y. 2005) (collecting cases to support
29, 30. In the grievances regarding these claims, plaintiff      the proposition that a court may consider an unsworn
failed to reference retaliation or his protected speech. Id.     assertions on a motion for summary judgment where they
¶¶ 34, 37.                                                       are based on the plaintiff’s personal knowledge and in
                                                                 light of special solicitude).


                      II. Discussion 8
                                                                                      B. Legal Standard

                   A. Failure to Respond                         “A court shall grant summary judgment if the movant
                                                                 shows that there is no genuine dispute as to any material
 *5 Plaintiff failed to oppose defendants' Motion for
                                                                 fact and the movant is entitled to judgment as a matter
Summary Judgment. Plaintiff requested two extensions
                                                                 of law.” FED. R. CIV. P. 56(a). The moving party has
of time to file his response to the present motion, which
                                                                 the burden of showing the absence of disputed material
the Court granted. Dkt. Nos. 135, 136, 137, 138. Plaintiff
                                                                 facts by providing the Court with portions of “pleadings,
was notified of the consequences of failing to respond
                                                                 depositions, answers to interrogatories, and admissions on
to a summary judgment motion. Dkt. No. 134. Given
                                                                 file, together with the affidavits, if any,” which support the
this notice and the two extensions for plaintiff to file
                                                                 motion. FED. R. CIV. P. 56(c); Celotex Corp. v. Catrett,
opposition papers, plaintiff was adequately apprised of
                                                                 477 U.S. 317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986).
the pendency of defendants' motion and the consequences
                                                                 A fact is material if it may affect the outcome of the case
of failing to respond.
                                                                 as determined by substantive law, such that “a reasonable
                                                                 jury could return a verdict for the nonmoving party.”
“Where a non-movant fails to adequately oppose a
                                                                 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,
properly supported factual assertion made in a motion
                                                                 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). “In determining
for summary judgment, a district court has no duty to
                                                                 whether summary judgment is appropriate, [the Court
perform an independent review of the record to find proof
                                                                 will] resolve all ambiguities and draw all reasonable
of a factual dispute, even if that movant is proceeding pro
                                                                 inferences against the moving party.” Skubel v. Fuoroli,
se.” Jackson v. Onondaga Cty., 549 F.Supp.2d 204, 209
                                                                 113 F.3d 330, 334 (2d Cir. 1997).
(N.D.N.Y. 2008) (footnotes omitted). However, if “the
district court chooses to conduct such an independent
                                                                  *6 To avoid summary judgment, a non-moving party
review of the record, any verified complaint filed by
                                                                 “must do more than simply show that there is some
the plaintiff should be treated as an affidavit.” Id. at
                                                                 metaphysical doubt as to the material facts.” Carey
210. “[T]o be sufficient to create a factual issue for
                                                                 v. Crescenzi, 923 F.2d 18, 19 (2d Cir. 1991) (quoting
purposes of a summary judgment motion, an affidavit
                                                                 Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,
must, among other things, not be conclusory.” Id. Even
                                                                 475 U.S. 574, 586, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986) )
if a verified complaint is deemed nonconclusory, “it may
                                                                 (internal quotation marks omitted). A non-moving party
be insufficient to create a factual issue where it is (1)
                                                                 must support such assertions by evidence showing the
largely unsubstantiated by any other direct evidence and
                                                                 existence of a genuine issue of material fact. Id. “When
(2) so replete with inconsistencies and improbabilities that
                                                                 no rational jury could find in favor of the non-moving
no reasonable juror would undertake the suspension of
                                                                 party because the evidence to support is so slight, there is
disbelief necessary to credit the allegations made in the
                                                                 no genuine issue of material fact and a grant of summary
complaint.” Id. Plaintiff’s Second Amended Complaint
                                                                 judgment is proper.” Gallo v. Prudential Services, Ltd.
states on its final page, “I certify under penalty of perjury
                                                                 P'ship, 22 F.3d 1219, 1224 (2d Cir. 1994).
that the foregoing is true and correct.” Sec. Am. Compl.



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                          Document 26 Filed 04/16/19 Page 61 of 91
2017 WL 9511094

Where, as here, a party seeks judgment against a pro                crucial time for accrual purposes is when the plaintiff
se litigant, a court must afford the non-movant special             becomes aware that he [or she] is suffering from a wrong
solicitude. See Triestman v. Fed. Bureau of Prisons, 470            for which damages may be recovered in a civil action.”
F.3d 471, 477 (2d Cir. 2006). As the Second Circuit has             Singleton v. City of New York, 632 F.2d 185, 192 (2d Cir.
stated,                                                             1980). Additionally, “a pro se prisoner’s § 1983 complaint
                                                                    is deemed filed, for statute of limitations purposes, when
  [t]here are many cases in which we have said that a pro se        it is delivered to prison officials.” Tapia-Ortiz v. Doe, 171
  litigant is entitled to “special solicitude,” ... that a pro se   F.3d 150, 152 (2d Cir. 1999) (citing Houston v. Lack, 487
  litigant’s submissions must be construed “liberally,” ...         U.S. 266, 270, 108 S.Ct. 2379, 101 L.Ed.2d 245 (1988);
  and that such submissions must be read to raise the               Dory v. Ryan, 999 F.2d 679, 682 (2d Cir. 1993) ).
  strongest arguments that they “suggest,” .... At the same
  time, our cases have also indicated that we cannot read            *7 However, the Second Circuit has held that equitable
  into pro se submissions claims that are not “consistent”          tolling is applicable to claims brought under the PLRA,
  with the pro se litigant’s allegations, ... or arguments          otherwise a prisoner would risk the dismissal of his
  that the submissions themselves do not “suggest,” ...             or her complaint based on untimeliness if he or she
  that we should not “excuse frivolous or vexatious filings         were to wait for a final administrative decision before
  by pro se litigants,” ... and that pro se status “does not        filing suit. Gonzalez v. Hasty, 651 F.3d 318, 323-24 (2d
  exempt a party from compliance with relevant rules of             Cir. 2011) (noting that the Ninth, Fifth, Seventh, and
  procedural and substantive law....                                Sixth Circuits have all held that equitable tolling applies
                                                                    during the time in which a prisoner is exhausting his or
Id. (citations and footnote omitted); see also Sealed
                                                                    her administrative remedies). Under the Second Circuit’s
Plaintiff v. Sealed Defendant, 537 F.3d 185, 191-92 (2d
                                                                    rule, the equitable tolling period begins when a plaintiff
Cir. 2008).
                                                                    first raises his administrative claim, and ends when the
                                                                    plaintiff’s administrative remedies are deemed exhausted.
                                                                    Id. at 324. The statute of limitations, however, is only
                  C. Statute of Limitations                         tolled during the period in which a prisoner is “actively
                                                                    exhausting” his administrative remedies. See id. at 322 n.2.
Defendants argue that plaintiff’s claims are barred by              The statute of limitations is not tolled during the period
the applicable statute of limitations. See Dkt. No. 132-1.          between the accrual of the claims and when the plaintiff
Although there is no statute of limitations provision in §          began the administrative remedy process. Id. at 324.
1983, 25 U.S.C. § 1988 provides that state law may apply
if it is consistent with the Constitution or federal law. 42        Further, the “continuing violation doctrine” delays the
U.S.C. § 1988(a); Moor v. Cnty. of Alameda, 411 U.S.                accrual date for a claim challenging a discriminatory
693, 702-03, 93 S.Ct. 1785, 36 L.Ed.2d 596 (1973). In               policy “ ‘until the last discriminatory act in furtherance
New York State, the applicable statute of limitations for           of [the discriminatory policy.]’ ”. Shomo v. City of
a § 1983 suit is three years, derived from the general or           New York, 579 F.3d 176, 181 (2d Cir. 2009) (quoting
residual personal injury laws of the forum state. See N.Y.          Cornwell v, Robinson, 23 F.3d 694, 703 (2d Cir. 1994)
C.P.L.R. § 214(5) (MCKINNEY 2017); Owens v. Okure,                  ) (additional citation omitted). Thus, “the continuing
488 U.S. 235, 249-50, 109 S.Ct. 573, 102 L.Ed.2d 594                violation doctrine is an ‘exception to the normal knew-or-
(1989); Romer v. Leary, 425 F.2d 186, 187 (2d Cir. 1970);           should-have-known accrual date.’ ” Id. (quoting Harris v.
Lugo v. Senkowski, 114 F.Supp.2d 111, 113 (N.D.N.Y.                 City of New York, 186 F.3d 243, 248 (2d Cir. 1999) ).
2000) (applying Owens in establishing a three-year statute
of limitation for § 1983 claims). Thus, plaintiff’s claims are      Plaintiff filed his initial complaint in this action on
subject to New York’s three-year statute of limitations.            January 16, 2014. Dkt. No. 1 (“Compl.”). Therefore,
                                                                    absent exceptions, claims arising before January 16, 2011
Federal law governs the determination of the accrual date           are barred under the three-year statute of limitations.
for purposes of a § 1983 claim. Pearl v. City of Long Beach,
296 F.3d 76, 80 (2d Cir. 2002). A claim accrues “when
the plaintiff knows or has reason to know” of the harm.
Id. (citations and internal quotation marks omitted). “The


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                      Document 26 Filed 04/16/19 Page 62 of 91
2017 WL 9511094

                                                               Aug. 4, 2016) ). Thus, although plaintiff exhausted
                                                               his administrative remedies from January 3, 2011 until
          1. Fourteenth Amendment Due Process
                                                               January 26, 2011, defendants' last discriminatory act
Plaintiff asserts due process violations related to his        was the December 6, 2010 disciplinary hearing, during
disciplinary hearing and confinement in SHU. See Sec.          which plaintiff claims that Capt. Lacy, C.O. Summo,
Am. Compl ¶¶ 96, 97, 164-165. Plaintiff’s claim accrued        Dir. Prack, and Supt. LaValley denied him a full and
on December 6, 2010 – when plaintiff received the              fair hearing. Id.; Shomo, 579 F.3d at 181. A “discrete
hearing officer’s determination sentencing him to SHU          violation” may accrue under the Fourteenth Amendment
confinement. Id. ¶ 50. On or about January 3, 2011,            “each time that a defendant fails to provide an inmate
plaintiff appealed his disciplinary hearing by mailing the     with the notice, hearing, or evaluation to which he is
administrative appeal to the Dir. of Special Housing.          entitled after a liberty interest attaches.” Id. at 223.
                                                               Plaintiff alleges that the defendants denied him a full
Id. ¶ 52. On January 26, 2011, 10 Dir. Prack affirmed
                                                               and fair hearing at the December 6, 2010 disciplinary,
the hearing judgment, and plaintiff’s confinement was
                                                               which constitutes a discrete act that starts the running of
continued; however, Dir. Prack modified plaintiff’s
                                                               the statute of limitations. Id. Therefore, because “each
confinement to eighteen months. Id. ¶ 53. Defendants
                                                               decision made without due process is a discrete act,”
further argue that the defense of equitable tolling is
                                                               plaintiff cannot benefit from the continuing violation
inapplicable. Dkt. No. 132-1 at 7.
                                                               doctrine. Crichlow, 2017 WL 920753, at *5. Accordingly,
                                                               plaintiff’s Fourteenth Amendment claim is time-barred.
Here, the statute of limitations was tolled for a total of
twenty-three days, from January 3, 2011 until January 26,
2011, while plaintiff appealed his disciplinary proceeding.
As plaintiff did not appeal his disciplinary hearing                         2. First Amendment Retaliation
disposition until January 3, which is twenty-eight days
after the December 6, 2010 hearing, the statute of             Plaintiff claims that Capt. Lacy, Supt, LaValley, C.O.
limitations was not tolled between December 6, 2010            Mahuta, C.O. Tamer, C.O. Kelly, C.O. Crusie, Lieut.
and January 3, 2011. See Trapani v. Coryer, No. 14-            Allan, C.O. Pray, and Sgt. Archambault denied him “his
CV-683 (GTS/CFH), 2016 WL 8732638, at *6 (N.D.N.Y.             right to be free of retaliation for exercising his right to free
June 6, 2016) (citing Gonzalez, 651 F.3d at 322 n.2)           speech.” Sec. Am. Compl. ¶¶ 166-67.
(“[I]f an inmate’s claim accrues on January 1, 2010,
and the inmate does not begin pursuing administrative
remedies until December 1, 2010, any subsequent tolling        a. Defendants Capt. Lacy, Supt., LaValley, C.O. Mahuta,
that may be applicable would not include this eleven             Sgt. Tamer, C.O. Kelly, C.O. Crusie, and Lieut. Allan
month period.”). Therefore, the statute of limitations on
plaintiff’s Fourteenth Amendment claim arising out of his      Plaintiff contends that Capt. Lacy, Supt. LaValley, C.O.
December 6, 2010 disciplinary hearing disposition began        Mahuta, Sgt. Tamer, C.O. Kelly, C.O. Crusie, and Lieut.
to run on December 6, 2010 and expired on December 29,         Allan subjected him to retaliation for his protected speech.
2013. Plaintiff signed the initial complaint in this action    The accrual dates for these claims are: November 24, 2010,
on January 16, 2014, eighteen days after the statute of        November 25, 2010, and December 6, 2010. See Sec. Am.
limitations expired. See Compl. at 34.                         Compl. ¶¶ 27, 39, 70, 75.

 *8 The continuing violation doctrine does not apply           The Second Circuit has held that “[t]he mere fact that
to plaintiff’s Fourteenth Amendment due process claims         the effects of retaliation are continuing does not make
because “ ‘each decision made without due process is a         the retaliatory act itself a continuing one.” Gonzalez,
discrete violation, and the statute of limitations begins to   802 F.3d at 222. “First Amendment retaliation claims
run from the date that the plaintiff was denied the full and   typically accrue at the time that the allegedly wrongful
fair hearing he was entitled to.’ ” Crichlow v. Fischer, No.   conduct occurred.” Albritton v. Morris, No. 13-CV-3708
6:15-CV-06252 EAW, 2017 WL 920753, at *5 (W.D.N.Y.             (KMK), 2016 WL 1267799, at *10 (S.D.N.Y. Mar. 30,
Mar. 7, 2016) (quoting Bunting v. Fischer, No. 14-             2016) (citing Smith v. Campbell, 782 F.3d 93, 101 (2d
CV-0578-RJA-MJR, 2016 WL 4939389, at *3 (W.D.N.Y.              Cir. 2015) ) (additional citation omitted). Therefore, the


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                     Document 26 Filed 04/16/19 Page 63 of 91
2017 WL 9511094

statute of limitations “begins to run when the defendant      that he mailed appeals to the Superintendent on December
has ‘engaged in enough activity to make out an actionable     27, 2010, and never received a response.
claim.’ ” Gonzalez, 802 F.3d at 22 (quoting Nat'l R.R.
Passenger Corp. v. Morgan, 536 U.S. 101, 111, 122              *9 Affording plaintiff special solicitude, 11 the statute
S.Ct. 2061, 153 L.Ed.2d 106 (2002) ). By contrast, the        of limitations was tolled for a total of twenty days,
continuing violation doctrine only applies “to claims that    from December 7, 2010 until December 27, 2010 while
by their nature accrue only after the plaintiff has been      plaintiff exhausted his administrative remedies. Therefore,
subjected to some threshold amount of discrimination.”        the statute of limitations on plaintiff’s First Amendment
Id. (citing Morgan, 536 U.S. at 114-15, 122 S.Ct. 2061).      retaliation claim expired on December 27, 2013. Plaintiff
The continuing violation doctrine does not apply to           signed the initial complaint in this action on January
“discrete unlawful acts.” Albritton, 2016 WL 1267799, at      16, 2014, twenty-one days after the statute of limitations
*10 (quoting Gonzalez, 802 F.3d at 220).                      expired. See Compl. at 34. Moreover, plaintiff has not
                                                              pleaded facts sufficient to show that he was suffering
Plaintiff claims that on November 24, 2010, Capt.             an ongoing wrong – i.e., “ ‘the existence of an ongoing
Lacy, Supt. LaValley, C.O. Mahuta, C.O. Tamer, C.O.           policy ... and some non-time barred acts taken in the
Kelly, C.O. Crusie, and Lieut. Allan orchestrated an          furtherance of that policy.’ ” Shomo, 579 F.3d at 182
elaborate conspiracy to cause his wrongful confinement        (quoting Harris, 186 F.3d at 250). Accordingly, plaintiff’s
in SHU, including issuing retaliatory cell searches, false    First Amendment claim, insofar as it relates to defendants
misbehavior reports, and tampering with his mail —            Capt. Lacy, Supt. LaValley, C.O. Mahuta, Sgt. Tamer,
all in retaliation for plaintiff’s protected speech at the    C.O. Kelly, C.O. Crusie, and Lieut. Allan, is time-barred.
ILC Executive Board meeting. Sec. Am. Compl. ¶¶
27, 39, 70, 75. On November 25, 2010, C.O. Mahuta
and C.O. Kelly issued plaintiff two misbehavior reports
charging him with (1) solicitation, (2) organization of           b. Defendants C.O. Pray and Sgt. Archambault 12
an action detrimental to the order of the facility, and
(3) possession of escape paraphernalia. Id. ¶ 40. On          Plaintiff’s retaliation claim against C.O. Pray and Sgt.
December 6, 2010, Capt. Lacy found plaintiff guilty           Archambault accrued on January 26, 2011, when plaintiff
of possession of escape paraphernalia and sentenced           claims he was subjected to excessive force in retaliation
plaintiff to twenty-four months of SHU confinement.           for his complaints against other officers. Sec. Am.
Id. ¶¶ 11, 49. The next day, Lieut. Allan issued              Compl. ¶¶ 139-41. Although there is some discrepancy
plaintiff a false misbehavior report charging him with        whether plaintiff properly exhausted his administrative
solicitation, stemming from a letter plaintiff wrote to       remedies, 13 plaintiff filed a grievance against C.O. Pray
his sister attempting to obtain the “personal identifying     and Sgt. Archambault on March 1, 2011. Pl. Dep. at
information” of two former DOCCS employees. Id. ¶¶            221. 14 The IGRC received this grievance on March 15,
73-75. On December 7, 2010, plaintiff drafted a grievance     2011. Dkt. No. 123-15 at 1. The Superintendent issued a
alleging that defendants had issued false misbehavior         decision on April 18, 2011, finding no staff malfeasance.
reports “in retaliation for lawsuits, and investigations      Id. at 5. On April 25, 2011, plaintiff appealed the decision
of deaths and assaults and fraud that was occurring           to CORC. Id. On July 20, 2011, CORC unanimously
at C.C.F., perpetrated by staff and executive team....        denied plaintiff’s grievance. Id. at 8. Plaintiff contends
Also grieving the practices of executive staff promoting      that he did not receive the CORC decision until August 8,
and condoning these transgressions” and the “reputed          2011. Dkt. No. 103 at 22. Thus, affording plaintiff special
involvement” of CCF staff members, including Capt.            solicitude, the statute of limitations was tolled for 153 days
Lacy, in “racially motivated hate groups” such as the         while plaintiff attempted to exhaust his administrative
KKK. Dkt. No. 132-4 (“Pl. Dep.”) at 232. Plaintiff            remedies. The statute of limitations on plaintiff’s First
also filed a separate grievance on December 7, 2010           Amendment retaliation claim against C.O. Pray and Sgt.
against C.O. Mahuta alleging retaliation. Id. at 233-34.      Archambault expired on June 28, 2014. Plaintiff first
The Inmate Grievance Program Committee responded on           raised this claim in his amended complaint, filed on June
December 23, 2010 to both grievances. Id. Plaintiff alleges   16, 2014. See Dkt. No. 42. Because plaintiff was actively
                                                              pursuing his administrative remedies during this period,



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                       Document 26 Filed 04/16/19 Page 64 of 91
2017 WL 9511094

the excessive force claim that arose from the January 26,        Here, following plaintiff’s timeline of events, it does not
2011 incident is timely, as plaintiff raised this claim before   appear that he, as an inmate, could have known about
the statute of limitations expired. Accordingly, plaintiff’s     the alleged conspiracy prior to someone telling him. See
First Amendment claim, insofar as it relates to defendants       Dory, 999 F.2d at 681. Pursuant to plaintiff’s allegations,
C.O. Pray and Sgt. Archambault, is not time-barred.              the statute of limitations on plaintiff’s conspiracy claim
                                                                 accrued sometime in “late 2011” when he found out
                                                                 about the alleged conspiracy. See Pl. Dep. at 72, 96-97.
                                                                 However, “on a motion for summary judgment, [the
          3. Conspiracy to Discipline and Confine
                                                                 Court] cannot rely on an unsupported inference ...
                                                                 to resolve disputed issues of fact.” Keating, 706 F.2d
    a. Capt. Lacy, Supt. LaValley, C.O. Mahuta, Sgt.             at 383. Plaintiff has not offered evidence other than
    Tamer, C.O. Kelly, C.O. Crusie, and Lieut. Allan             his self-serving testimony to demonstrate that unnamed
                                                                 individuals told him the conspiracy occurred. See Pl. Dep.
Plaintiff claims that on November 24, 2010, Capt. Lacy,          at 72, 96-97. Moreover, plaintiff acknowledged that he
Supt. LaValley, C.O. Mahuta, C.O. Tamer, C.O. Kelly,             did not have direct knowledge whether such conversations
and C.O. Crusie entered into an agreement to write               or agreements between defendants even occurred. Id.
false misbehavior reports against plaintiff with the intent      at 96-97. Therefore, because plaintiff has not offered
confine plaintiff to SHU in retaliation for his protected        any evidence to support his allegation that learned of
speech at the November 22, 2010 ILC Executive Team
                                                                 the conspiracy in “late 2011,” equitable estoppel does
meeting. Sec. Am. Compl. ¶ 40. On November 25, 2010,             not apply/Thus, plaintiff’s conspiracy claim, insofar as
plaintiff received two misbehavior reports charging him          it relates to Capt. Lacy, Supt. LaValley, C.O. Mahuta,
with (1) solicitation, (2) conduct detrimental to the order      C.O. Tamer, C.O. Kelly, C.O. Crusie, and Lieut. Allan,
of the facility, and (3) possession of escape paraphernalia.     is time-barred. See Howard v. Cherish, 575 F.Supp.
Id. ¶ 45. Plaintiff further claims that on December 6, 2010,     34, 35 (S.D.N.Y. 1983) (internal citation and quotation
Lieut. Allan entered into an agreement with Capt. Lacy           marks omitted) (“[S]ince summary judgment is designed
and Supt. LaValley to punish plaintiff for his protected         to quickly end frivolous or meritless claims, the opposing
speech, and pursuant to this agreement, Lieut. Allan             party may not rest upon mere conclusory allegations or
read plaintiff’s outgoing mail and issued a misbehavior          denials as a vehicle for obtaining a trial.”); Pinaud v. Cty.
report charging plaintiff with solicitation for attempting       of Suffolk, 52 F.3d 1139, 1157-58 (2d Cir. 1995) (holding,
to obtain the “personal identifying information” of two          on review of a motion for summary judgment, “[t]o
former DOCCS employees. Id. ¶¶ 73, 74, 76. Plaintiff was         take advantage of [the doctrine of equitable estoppel], ...
served a misbehavior report in connection with this charge       a plaintiff must submit non-conclusory evidence of a
on December 7, 2010. Id. ¶ 77. However, plaintiff contends       conspiracy or other fraudulent wrong which precluded
that he did not become aware of defendants' alleged              his possible discovery of the harms that he suffered.”);
agreement until sometime in “late 2011” when “unnamed            Konovalchuk v. Cerminaro, No. 9:11-CV-01344 (MAD/
individuals” informed plaintiff of the conspiracy. See Pl.       CFH), 2014 WL 272428, at *14 (N.D.N.Y. Jan. 24, 2014)
Dep. at 72, 96-97.                                               (citing Matsushita Elec. Indus. Co., 475 U.S. 574, 586
                                                                 (1986) ) (“[S]peculative and conclusory allegations are
 *10 In Dory v. Ryan, the Second Circuit held that               insufficient to withstand a summary judgment motion.”)
in assessing conspiracy claims, the doctrine of equitable
estoppel extends the statute of limitations until the time
when the plaintiff could have reasonably found out about
the conspiracy. Dory, 999 F.2d at 681 (citing Keating v.              b. Defendants C.O. Pray and Sgt. Archambault
Carey, 706 F.2d 377, 381, 382 (2d Cir. 1983) ) (“[W]hen the
                                                                 Plaintiff claims that on January 26, 2011, C.O. Pray
defendant fraudulently conceals the wrong, the time does
                                                                 and Sgt. Archambault reached an agreement “as to the
not begin running until the plaintiff discovers, or by the
                                                                 place to commit misuse of force” motivated by plaintiff’s
exercise of reasonable diligence should have discovered,
                                                                 verbal complaint prior to his escort from SHU. Sec. Am.
the cause of action.”).
                                                                 Compl. ¶¶ 139, 142. Although plaintiff filed a grievance
                                                                 against C.O. Pray and Sgt. Archambault regarding alleged



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                      Document 26 Filed 04/16/19 Page 65 of 91
2017 WL 9511094

excessive force, that grievance does not mention an alleged    search, plaintiff cannot benefit from equitable tolling.
conspiracy. See Dkt. No. 132-15. Thus, plaintiff is not        Therefore, the statute of limitations on plaintiff’s denial
afforded the benefit of equitable tolling.                     of access to the courts claim expired on December 9,
                                                               2013. Plaintiff signed the initial complaint in this action
Plaintiff first initiated his conspiracy claims against        on January 16, 2014. See Compl. All of the alleged
defendants C.O. Pray and Sgt. Archambault in his               acts constituting interference with plaintiff’s access to the
amended complaint on June 16, 2014. Dkt. No. 42.               courts occurred before January 16, 2011, and are outside
Therefore, any wrongs that occurred before June 16,            of either of the three-year statutory windows. Therefore,
2011 are time-barred under the three-year statute of           plaintiff’s denial of access to the courts claim against Capt.
limitations. Plaintiff has failed to allege that C.O. Pray     Lacy, Supt. LaValley, and Lieut. Allan is time-barred.
or Sgt. Archambault committed at least one wrongful act
within the statutory time period to invoke the continuing
violation doctrine, as his conspiracy claims center on the
                                                                              5. Improper SHU Conditions
January 26, 2011 transport from SHU to a teleconference.
See Gonzalez v. Wright, 665 F.Supp.2d 334, 350                 Plaintiff alleges that Supt. LaValley, Capt. Lacy, and
(S.D.N.Y. 2009) (“[I]n order for the continuing violation      Lieut. Allan violated his Eighth Amendment right to
doctrine to apply, plaintiff needed to show that those         be free from cruel and unusual punishment “when
specific individuals committed at least one wrongful act       the defendants acted with deliberate indifference or
within the statutory time period”). Therefore, plaintiff’s     with malice, in deprivation of the Plaintiff’s basic
conspiracy claim, insofar as it relates to defendants C.O.     human needs, and conduct which amount to calculated
Pray and Sgt. Archambault, is time-barred.                     harassment unrelated to penological interests, causing
                                                               unconstitutional, actual and physical injuries to the
                                                               Plaintiff.” Sec. Am. Compl. ¶ 173. Plaintiff was confined in
                  4. Access to the Courts                      SHU from November 25, 2010 until May 8, 2011. See Dkt.
                                                               No. 132-9 at 3. Plaintiff failed to specifically name Supt.
*11 Plaintiff alleges that Capt. Lacy, Supt. LaValley, and     LaValley, Capt. Lacy, or Lieut. Allan in any grievances
Lieut. Allan 15 interfered with his “constitutional right of   he may have filed relating to improper SHU conditions.
access to the courts under Article IV, First Amendment,        See Pl. Dep. at 228-29. Thus, plaintiff is not afforded the
Fifth Amendment and Fourteenth Amendment of the                benefit of equitable tolling.
United States Constitution.” Sec. Am. Compl. ¶ 171.
Plaintiff contends that on November 24, 2010, November         Plaintiff first raised claims against defendants Supt.
27, 2010, and December 9, 2010, defendants caused a            LaValley, Capt. Lacy, and Lieut. Allan in his amended
search of plaintiff’s cell and hindered his access to the      complaint, filed on June 16, 2014. Dkt. No. 42. Therefore,
courts by confiscating his legal papers. Pl. Dep. at 210,      any claims that occurred before June 16, 2011 are
212. The latest possible date of accrual for plaintiff’s       time-barred under the three-year statute of limitations.
claim is on December 9, 2010 – when plaintiff became           Plaintiff has not alleged that Supt. LaValley, Capt. Lacy,
aware that he may be “suffering from a wrong for               and Lieut. Allan committed at least one wrongful act
which damages may be recovered.” Singleton, 632 F.2d           within the statutory time period to invoke the continuing
at 192. Plaintiff claims that he submitted a grievance         violation doctrine, as any violation committed due to
to the Inmate Grievance Review Committee (“IGRC”)              improper SHU conditions ceased on his release from
with regard to “legal materials taken and moved to the         SHU on May 8, 2011. See Wright, 665 F.Supp.2d at
SHU, legal materials confiscated.” See id. at 237, 109         350 (“[I]n order for the continuing violation doctrine
S.Ct. 573. The DOCCS' database shows that plaintiff            to apply, plaintiff needed to show that those specific
appealed a grievance for “missing items after cell search”     individuals committed at least one wrongful act within the
on December 8, 2010, but it is unclear if that grievance       statutory time period”). Accordingly, because plaintiff did
relates to the instant claim. See Dkt. No. 132-13 at 3.        not allege a constitutional violation within the statutory
                                                               period, plaintiff’s Eighth Amendment improper SHU
Because the December 8, 2010 grievance for “legal              conditions claim is time-barred.
materials confiscated” pre-dates the December 9, 2010


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                       Document 26 Filed 04/16/19 Page 66 of 91
2017 WL 9511094

                                                                York, 380 F.3d 680, 686 (2d Cir. 2004) to determine
                                                                exhaustion. Under the test established in Hemphill, a
             6. Eighth Amendment Excessive
                                                                plaintiff’s failure to exhaust could be excused if the
                Force/Failure to Intervene
                                                                plaintiff established that his or her failure to exhaust
Plaintiff asserts two Eighth Amendment excessive force          was justified by “special circumstances.” Id. However,
claims relating to incidents on December 22, 2010 and           the Supreme Court of the United States recently held
January 26, 2011. Sec. Am. Compl. ¶ 175. The undersigned        that “[c]ourts may not engraft an unwritten ‘special
addressed the timeliness of plaintiff’s excessive force         circumstances’ exception onto the PLRA’s exhaustion
claims in the February 8, 2016 Report-Recommendation            requirement.” Ross v. Blake, ––– U.S. ––––, 136 S.Ct.
and Order, concluding that plaintiff’s excessive force          1850, 1862, 195 L.Ed.2d 117 (2016). As such, the special
claims were timely because the statute of limitations was       circumstances exception Hemphill, is no longer consistent
tolled while plaintiff actively pursued his administrative      with the statutory requirements of the PLRA. Williams v.
appeals. Dkt. No. 105 at 10. On March 9, 2016, the Court        Priatno, 829 F.3d 118, 123 (2d Cir. 2016).
adopted the undersigned’s Report-Recommendation and
                                                                Although the Supreme Court’s decision in Ross eliminates
Order. Dkt. No. 107. 16
                                                                the “special circumstances” exception, courts must still
                                                                consider the PLRA’s “textual exception to mandatory
                                                                exhaustion.” Ross, 136 S.Ct. at 1858. Under this
        D. Exhaustion of Administrative Remedies                exception, courts must determine whether administrative
                                                                remedies were “available” to a prisoner. Id. The Supreme
 *12 Defendants contend that plaintiff failed to
                                                                Court identified three circumstances where administrative
exhaust his administrative remedies through the available
                                                                remedies may be unavailable to a prisoner. First, “an
grievance procedures. See Dkt. No. 132-1 at 16, 24, 33.
                                                                administrative procedure is unavailable when (despite
The Prison Litigation Reform Act (“PLRA”) requires that
                                                                what regulations or guidance materials may promise) it
a prisoner exhaust any administrative remedies available
                                                                operates as a simple dead end — with officers unable or
to him or her before bringing an action for claims arising
                                                                consistently unwilling to provide any relief to aggrieved
out of his or her incarceration. Porter v. Nussle, 534 U.S.
                                                                inmates.” Id. at 1859 (citing Booth v. Churner, 532
516, 524, 122 S.Ct. 983, 152 L.Ed.2d 12 (2002); see also
                                                                U.S. 731, 736, 738, 121 S.Ct. 1819, 149 L.Ed.2d 958
Woodford v. Ngo, 548 U.S. 81, 82, 126 S.Ct. 2378, 165
                                                                (2001) ). “Next, an administrative scheme might be so
L.Ed.2d 368 (2006). The exhaustion requirement applies
                                                                opaque that it becomes, practically speaking, incapable of
“to all inmate suits about prison life, whether they involve
                                                                use.” Id. Lastly, administrative remedies are unavailable
general circumstances or particular episodes, and whether
                                                                where “prison administrators thwart inmates from taking
they allege excessive force or some other wrong.” Porter,
                                                                advantage of a grievance process through machination,
534 U.S. at 532, 122 S.Ct. 983. Further, the exhaustion
                                                                misrepresentation, or intimidation.” Id. at 1860. Here,
requirement applies even where the prisoner seeks relief
                                                                although plaintiff identifies consistent troubles with
not available in the administrative grievance process, such
                                                                CCF’s Inmate Grievance Program, 17 it is no dispute that,
as money damages. Porter, 534 U.S. at 524, 122 S.Ct.
                                                                at all relevant times, DOCCS had in place a three-step
983. To exhaust administrative remedies, the inmate must
                                                                inmate grievance program. N.Y. COMP. CODES R. &
complete the full administrative review process set forth in
the rules applicable to the correctional facility in which he   REGS. tit. 7, § 701.5 (2015). 18
or she is incarcerated. Jones v. Bock, 549 U.S. 199, 218,
127 S.Ct. 910, 166 L.Ed.2d 798 (2007) (internal citation
omitted).
                                                                             1. Retaliation/Excessive Force 19
Although the Supreme Court has deemed exhaustion                 *13 Defendant argues that plaintiff failed to exhaust his
mandatory, the Second Circuit has recognized that               administrative remedies as to his excessive force claims
“certain caveats apply.” Ruggiero v. County of Orange,          against C.O. Pray and Sgt. Archambault. Dkt. No. 132-1
467 F.3d 170, 175 (2d Cir. 2006) (citation omitted). Until      at 19. Defendants do not address plaintiff’s retaliation
recently, courts in this District followed a three-part test    claim against C.O. Pray and Sgt. Archambault. Plaintiff
established by the Second Circuit in Hemphill v. New


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                      Document 26 Filed 04/16/19 Page 67 of 91
2017 WL 9511094

contends that, on January 26, 2011, C.O. Pray and              to name the staff members present. Dkt. No. 132-14.
Sgt. Archambault subjected him to excessive force in           Defendants argue that plaintiff “readily acknowledges”
retaliation for his complaints against fellow officers. Sec.   the vagueness of his grievance, which lacks not only
Am. Compl. ¶ 140-141. Plaintiff claims that he filed a         the officers' names, but the location of the assault, any
grievance on January 26, 2011, but that the IGRC failed        mention of Lieut. Allan’s involvement, or notice of the
to respond. See Dkt. No. 132-15 at 1; Pl. Dep. at 220-21.      underlying facts. Dkt. No. 132-1 at 33. Defendants further
On March 1, 2011, plaintiff filed a second grievance           contend that plaintiff’s “obstructionist actions during
regarding the January 26, 2011 incident. Pl. Dep. at 211.      the investigation completely defeated the purpose of the
The IGRC received this grievance on March 15, 2011,            grievance process” and that “plaintiff should not be
but no decision is available. Dkt. No. 123-15 at 1, 7.         considered to have properly exhausted his administrative
The Superintendent issued a decision on April 18, 2011         remedies.” Id.
finding no staff malfeasance. Id. at 5. On April 25, 2011,
plaintiff appealed the decision to CORC. Id. On July 20,       In New York State, the IGP regulations do not require
2011, CORC unanimously denied plaintiff’s appeal. Id. at       that an inmate’s grievance contain the name of the
8. Plaintiff contends that he did not receive the CORC         offending corrections officer. Espinal v. Goord, 558 F.3d
decision until August 8, 2018. Dkt. No. 103 at 22.             119, 126 (2d Cir. 2009). “[T]he IGP regulations offer
                                                               the general guidance that a grievance should ‘contain a
Even assuming that plaintiff first filed his grievance on      concise, specific description of the problem,’ ... and the
March 1, 2011, the undersigned finds that plaintiff’s          complaint form does not instruct the inmate to name
filing his grievance thirteen days past the thirty-day         the officials allegedly responsible for misconduct.” Id.
time limitation was not so egregious as to constitute an       (internal citations omitted). Therefore, an inmate “is not
unreasonable attempt to avail himself of the grievance         required to name responsible parties in a grievance in
process, as the IGRC accepted the grievance, and both          order to exhaust his administrative remedies.” Id.
the Superintendent and CORC issued decisions on the
merits. See Hill v. Curcione, 657 F.3d 116, 125 (2d Cir.       Plaintiff’s December 26, 2010 grievance states: “Assaulted
2011) (“[T]he exhaustion requirement of the PLRA is            by staff on December 22, 2010 causing various injuries.
satisfied by an untimely filing of a grievance if it is        This violated my 8 th Amendment rights.” Dkt. No.132-14
accepted and decided on the merits by the appropriate          at 1. On April 14, 2011, the Superintendent affirmed
prison authority.”). Thus, plaintiff has properly exhausted    the IGRC’s denial of plaintiff’s grievance, finding that
his administrative remedies. Defendants have not met           there was no staff malfeasance. Id. at 2. Three days later,
their burden of showing that plaintiff failed to exhaust       plaintiff appealed to CORC. Id. On July 13, 2011, CORC
his administrative remedies as to his retaliation claim.       upheld the Superintendent’s determination. Id. at 3.
Accordingly, it is recommended that defendants' Motion
for Summary Judgment on this ground be denied.                  *14 Plaintiff’s December 22, 2010 grievance, as written,
                                                               fails to give adequate notice of his failure to protect claim
                                                               against Lieut. Allan in order “to allow prison officials
          2. Excessive Force/Failure to Intervene              to take appropriate responsive measures.” PLRA’s
                                                               exhaustion requirement is “not dissimilar to the rules
                                                               of notice pleading.” Johnson v. Testman, 380 F.3d 691,
       a. December 22, 2010 incident – Lieut. Allan            697 (2d Cir. 2004). It requires that prison officials be
                                                               afforded the time and opportunity to address a complaint
Plaintiff claims that, during an escort, three unidentified,
                                                               internally, “[i]n order to exhaust ... inmates must provide
non-party corrections officers punched him on the head,
                                                               enough information about the conduct of which they
face, and body, and pushed him into a concrete wall.
                                                               complain to allow prison officials to take appropriate
Sec. Am. Compl. ¶ 136. Plaintiff further argues that
                                                               responsive measures.” Id. The December 22 grievance
Lieut. Allan, as the ranking officer in the escort, failed
                                                               only alleges an assault claim. Dkt. No. 132-14. Plaintiff
to intervene and prevent the non-party officers' excessive
                                                               testified that he first mentioned Lieut. Allan as one of the
force. Id. ¶¶ 137, 175. Plaintiff filed a grievance on
                                                               officers present during the incident in the IGRC interview,
December 26, 2010 concerning the December 22 incident,
                                                               but there is no indication that plaintiff mentioned Lieut.
which states that he was “assaulted by staff,” but fails


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                       Document 26 Filed 04/16/19 Page 68 of 91
2017 WL 9511094

Allan’s failure to intervene on his behalf. Pl. Dep. at          1983, a prisoner must show that ‘(1) that the speech or
206. Moreover, neither the Superintendent’s decision nor         conduct at issue was protected, (2) that the defendant took
the CORC decision mention Lieut. Allan or a failure to           adverse action against the plaintiff, and (3) that there was
protect claim. Dkt. No. 132-14 at 2-3. There is nothing          a causal connection between the protected speech and the
in plaintiff’s grievance that would alert prison officials to    adverse action.’ ” Espinal, 558 F.3d at 128 (quoting Gill
investigate a subsequent failure to intervene claim against      v. Pidlypchak, 389 F.3d 379, 380 (2d Cir. 2004), overruled
Lieut. Allan; thus, such claim was not properly grieved.         on other grounds by Swierkiewicz, 534 U.S. at 560, 122
See Luckerson v. Gooard, No. 00 Civ. 9508(JSR), 2002             S.Ct. 992).
WL 1628550, at *2 (S.D.N.Y. July 22, 2002) (determining
the plaintiff’s claim to be unexhausted and stating, “[f]or
[the defendants] now to have to litigate a federal lawsuit
                                                                                     1. Protected Conduct
premised on allegations that ... they had no reason to
address [in the IGRC] would make a mockery of the                To satisfy the first element of a retaliation claim, a plaintiff
exhaustion requirement.”). Indeed, “the mere fact that           must show that he engaged in a protected activity. See
plaintiff filed some grievance, and fully appealed all           Espinal, 558 F.3d at 128. “Reporting the wrongdoing of
the decisions on that grievance, does not automatically          corrections officers and other prison officials ... qualifies
mean that he can now sue anyone who was in any way               as protected speech under the First Amendment.” Moore
connected with the events giving rise to that grievance.”        v. Peters, 92 F.Supp.3d 109, 120 (W.D.N.Y. 2015) (citing
Turner v. Goord, 376 F.Supp.2d 321, 324 (W.D.N.Y.                Ahlers v. Grygo, No. 02-CV-3256 (JG)(LB), 2009 WL
2005). Thus, plaintiff has failed to properly exhaust his        3587483, at *4 (E.D.N.Y. Oct. 27, 2009) ). Plaintiff
administrative remedies regarding his failure to intervene       claims that C.O. Pray and Sgt. Archambault retaliated
claim against Lieut. Allan. Therefore, defendants have           against him based on his complaints of wrongdoing at the
met their burden in showing that plaintiff failed to exhaust     November 22, 2010 ILC Executive Team meeting, as well
administrative remedies. Accordingly, it is recommended          as for “exercising his right of access to the courts and for
that defendants' Motion for Summary Judgment on this             [plaintiff’s] complaint related to [C.O. Pray’s] reading of
ground be granted.                                               his legal paper[s].” Sec. Am. Compl. ¶ 139. At the time,
                                                                 plaintiff was engaged in a lawsuit against C.O. Pray’s
                                                                 “buddy Kevin,” a non-party corrections officer. Id. ¶ 140.
                    E. First Amendment
                                                                 To the extent that plaintiff bases his retaliation claim
Plaintiff contends that C.O. Pray and Sgt. Archambault           against C.O. Pray and Sgt. Archambault on verbal
“denied [him] his right to be free of retaliation                complaints he made at the November 22, 2010 ILC
for exercising his right to free speech ... when the             Executive Team meeting, such statements amount to
defendants took ... adverse actions solely motivated by          protected conduct. Dolan v. Connolly, 794 F.3d 290, 292
the Plaintiff’s protected speech, causing actual physical        (2d Cir. 2015) (finding that “action as a member of an
and unconstitutional injuries to the Plaintiff.” Sec. Am.        ILC, i.e. the filing or voicing grievances on behalf of a
Compl. ¶ 167. Courts are to “approach [First Amendment]          prison population, qualifies as constitutionally protected
retaliation claims by prisoners ‘with skepticism and             conduct under the First and Fourteenth Amendments.”).
particular care[.]’ ” See, e.g., Davis v. Goord, 320 F.3d        Moreover, plaintiff’s lawsuit against a corrections officer
346, 352 (2d Cir. 2003) (quoting Dawes v. Walker, 239            qualifies as protected conduct. Colon v. Coughlin, 58 F.3d
F.3d 489, 491 (2d Cir. 2001), overruled on other grounds         865, 872 (2d Cir. 1995) (“Prisoners, like non-prisoners,
by Swierkiewicz v. Sorema, N. A., 534 U.S. 506, 122 S.Ct.        have a constitutional right of access to the courts and
992, 152 L.Ed.2d 1 (2002) ). A retaliation claim under           to petition the government for the redress of grievances,
Section 1983 may not be conclusory and must have some            and prison officials may not retaliate against prisoners
basis in specific facts that are not inherently implausible on   for the exercise of that right.”); Smith v. Kelly, 985
their face. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct.      F.Supp.2d 275, 279 (N.D.N.Y. 2013) (assessing a First
1937, 173 L.Ed.2d 868 (2009); South Cherry St., LLC v.           Amendment retaliation claim where the plaintiff claimed
Hennessee Grp. LLC, 573 F.3d 98, 110 (2d Cir. 2009). “To         that his complaints against a non-party corrections officer
prove a First Amendment retaliation claim under Section          constituted protected conduct). As plaintiff alleged that



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                       Document 26 Filed 04/16/19 Page 69 of 91
2017 WL 9511094

defendants retaliated against him due to his protected
conduct of voicing grievances as a member of the ILC and        Baskerville, 224 F.Supp.2d at 732. “The causal connection
filing a lawsuit against a fellow officer, he has established   must be sufficient to support an inference that the
the first prong of the retaliation analysis.                    protected conduct played a substantial part in the adverse
                                                                action.” Id. The Second Circuit has established that no
                                                                more than six months between the protected activity and
                                                                the adverse action establishes the temporal proximity
                     2. Adverse Action                          sufficient to support an inference of causal connection.
                                                                Espinal, 558 F.3d at 129.
 *15 “Only retaliatory conduct that would deter a
                                                                Plaintiff has plausibly suggested facts supporting two of
similarly situated individual of ordinary firmness from
                                                                the factors. Prior to the escort to the Court of Claims
exercising his or her constitutional rights constitutes
                                                                teleconference, plaintiff and C.O. Pray were discussing the
an adverse action for a claim of retaliation.” Moore,
                                                                basis for plaintiff’s ongoing lawsuit, and it was determined
92 F.Supp.3d at 120 (internal quotation marks and
                                                                that plaintiff had sued a fellow non-party corrections
citation omitted). It is well-settled that excessive force
                                                                officer who was C.O. Pray’s friend. Pl. Dep. at 216-17.
constitutes adverse action for the purposes of a retaliation
                                                                During the escort back to SHU, C.O. Pray assaulted
analysis. Baskerville v. Blot, 224 F.Supp.2d 723, 731-32
                                                                plaintiff. Id. C.O. Pray learned of plaintiff’s lawsuit on
(S.D.N.Y. 2002) (“[The plaintiff’s] claim regarding the
                                                                the same day that he assaulted plaintiff; therefore, the
retaliatory assault sufficiently describes adverse conduct
                                                                temporal proximity between is well-within the Second
that would deter a reasonable inmate from exercising his
                                                                Circuit’s six-month time frame to sufficiently support an
constitutional rights.”); see Flemming v. King, No. 14-
                                                                inference of causal connection. See Flemming, 2016 WL
CV-316 (DNH/CFH), 2016 WL 5219995, at *5 (N.D.N.Y.
                                                                5219995, at *5 (finding the fact that assault occurred on
June 20, 2016) (“[T]he alleged assault need not rise to the
                                                                the same day that the plaintiff threatened to file a lawsuit
level of an Eighth Amendment excessive force violation
                                                                against the defendants sufficed to establish temporal
in order to be considered an adverse action for purposes
                                                                proximity); Jordan v. Garvin, No. 01CIV4393LTS/GWG,
of First Amendment retaliation analysis.”). Therefore,
                                                                2004 WL 302361, at *6 (S.D.N.Y. Feb. 17, 2004) (“[T]he
plaintiff’s allegation of excessive force constitutes adverse
                                                                existence of a temporal connection as close as the one
action.
                                                                present here – just two days – is sufficient by itself to
                                                                establish the requisite inference of a causal connection.”).
                                                                Moreover, upon learning that plaintiff had sued the non-
                   3. Causal Connection                         party corrections officer, C.O. Pray allegedly stated, “[s]o
                                                                you are suing my buddy Kevin, [sic] we know how to fix
                                                                inmates like you, Povoski,” and then proceed to joke with
            In determining whether a causal                     Sgt. Archambault “about their intent to physically [injure
            connection exists between the                       him] on his return from the video court appearance.”
            plaintiff’s protected activity and a                Sec. Am. Compl. at 57. Defendants' statements suggest
            prison official’s actions, a number                 a retaliatory motive and signify that plaintiff’s lawsuit
            of factors may be considered,                       may have been a “substantial or motivating factor”
            including: (i) the temporal proximity               in the defendants' alleged decision to assault plaintiff.
            between the protected activity and                  Baskerville, 224 F.Supp.2d at 732. Although plaintiff’s
            the alleged retaliatory act; (ii) the               comments at the November 22, 2010 ILC meeting
            inmate’s prior good disciplinary                    constitute protected conduct and fall within the Second
            record; (iii) vindication at a hearing              Circuit’s six-month time frame, there is no indication that
            on the matter; and (iv) statements                  C.O. Pray or Sgt. Archambault attended that meeting –
            by the defendant concerning his                     in fact, the minutes confirm that neither defendant was
            motivation.                                         present. Dkt. No. 132-5 at 1. Moreover, neither C.O. Pray
                                                                nor Sgt. Archambault mentioned plaintiff’s November
                                                                22, 2010 comments prior to the assault. Therefore,
                                                                defendants have not met their burden of showing that
                                                                there is no genuine issue of material fact as to plaintiff’s


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                      Document 26 Filed 04/16/19 Page 70 of 91
2017 WL 9511094

retaliation claim against C.O. Pray and Sgt. Archambault.      (internal quotation marks and citation omitted). The
Accordingly, it is recommended that defendants' Motion         wantonness inquiry “turns on ‘whether force was applied
for Summary Judgment on this ground be denied.                 in a good-faith effort to maintain or restore discipline,
                                                               or maliciously and sadistically to cause harm.’ ” Id.
                                                               (quoting Hudson, 503 U.S. at 7, 112 S.Ct. 995). In
                                                               determining whether a defendant acted in a malicious or
                  F. Eighth Amendment
                                                               wanton manner, the Second Circuit has identified five
 *16 Plaintiff claims that on January 26, 2011, C.O.           factors to consider: “[1] the extent of the injury and the
Pray assaulted him during an escort to a Court of              mental state of the defendant[;] [2] ... the need for the
Claims teleconference. Sec. Am. Compl. ¶ 142. Plaintiff        application of force; [3] the correlation between that need
further contends that Sgt. Archambault, the ranking            and the amount of force used; [4] the threat reasonably
supervisor, failed to intervene to prevent the assault. Id.    perceived by the defendants; and [5] any efforts made
Defendants argue that plaintiff “has failed to provide         by the defendants to temper the severity of a forceful
any corroborating evidence of any assault on January 26,       response.” Scott v. Coughlin, 344 F.3d 282, 291 (2d Cir.
2011.” Dkt. No. 132-1 at 37. “The Eighth Amendment             2003) (internal quotation marks and citations omitted).
protects prisoners from cruel and unusual punishment by
prison officials.” Crawford v. Cuomo, 796 F.3d 252, 256
(2d Cir. 2015) (quoting Wilson v. Seiter, 501 U.S. 294,                            1. Excessive Force
297, 111 S.Ct. 2321, 115 L.Ed.2d 271 (1991) ). To state
a prima facie claim of excessive force under the Eighth        Viewing the evidence in the light most favorable to
Amendment, a plaintiff must establish both objective and       plaintiff, the undersigned declines to recommend dismissal
subjective elements. Blyden v. Mancusi, 186 F.3d 252, 262      of plaintiff’s excessive force claim because there exists a
(2d Cir. 1999)                                                 genuine issue of material fact whether C.O. Pray used
                                                               excessive force, and whether that force was malicious.
The objective element is “responsive to contemporary           See Griffin v. Crippen, 193 F.3d 89, 91 (2d Cir. 1999)
standards of decency” and requires a showing “that the         (internal quotation marks and citation omitted) (“[T]he
injury actually inflicted is sufficiently serious to warrant   malicious use of force to cause harm constitutes an
Eighth Amendment protection.” Hudson v. McMillian,             Eighth Amendment violation[ ] per se ... whether or not
503 U.S. 1, 9, 112 S.Ct. 995, 117 L.Ed.2d 156 (1992)           significant injury is evident.”). Plaintiff testified that on
(internal citations omitted); Blyden, 186 F.3d at 262.         the return escort, C.O. Pray led him to the secluded
However, “the malicious use of force to cause harm             A-B corridor, and, after ensuring that the area was
[ ] constitute[s an] Eighth Amendment violation per se         clear, “struck [him] ... three times ... [i]n the face and
[,]” regardless of the seriousness of the injuries. Blyden,    head.” Pl. Dep. at 217. Plaintiff contends that he suffered
186 F.3d at 263 (citing Hudson, 503 U.S. at 9, 112             bruising and swelling that lasted approximately one
S.Ct. 995). “The Eighth Amendment’s prohibition of             week. Id. at 219-20, 127 S.Ct. 910. However, plaintiff’s
cruel and unusual punishments necessarily excludes from        medical records do not reference any injury he allegedly
constitutional recognition de minimis uses of physical         sustained during the assault. Dkt. No. 132-16 at 3-4.
force, provided that the use of force is not of a sort         Still, “certain actions, including malicious use of force
repugnant to the conscience of mankind.” Hudson, 503           to cause harm, constitute Eighth Amendment violations
U.S. at 9-10, 112 S.Ct. 995 (internal quotation marks          per se.” Blyden, 186 F.3d at 263 (emphasis in original).
and citations omitted). “Not every push or shove, even         Although plaintiff’s medical records do not support the
if it may later seem unnecessary in the peace of a judge’s     injuries plaintiff purports to have incurred, “any or even
chambers, violates a prisoner’s constitutional rights.”        no injuries resulting from the events plaintiff described
Sims v. Artuz, 230 F.3d 14, 22 (2d Cir. 2000) (citation        could amount to a per se constitutional violation.”
omitted).                                                      Brown v. Dubois, No. 9:15-CV-1515 (LEK/CFH), 2017
                                                               WL 2983305, at *9 (N.D.N.Y. June 16, 2017) (citing
The subjective element requires a plaintiff to demonstrate     Baskerville v. Mulvaney, 411 F.3d 45, 48-49 (2d Cir. 2005)
the “necessary level of culpability, shown by actions          ); Tafari v. McCarthy, 714 F.Supp.2d 317, 352 (N.D.N.Y.
characterized by wantonness.” Sims, 230 F.3d at 21             2010) (internal quotation marks and citation omitted)



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                       Document 26 Filed 04/16/19 Page 71 of 91
2017 WL 9511094

(denying the defendants' motion for summary judgment             bear responsibility for any resulting constitutional
because although the plaintiff’s injuries were de minimis,       deprivation.” Lewis v. Mollette, 752 F.Supp.2d 233, 244
“the extent of injury suffered by the inmate is only one         (N.D.N.Y. 2010).
factor that may suggest whether the use of force could
plausibly have been thought necessary in a particular
situation or instead evinced such wantonness with respect                    In order to establish liability on the
to the unjustified infliction of harm as is tantamount to a                  part of a defendant under a failure
knowing willingness that it occur.”)                                         to intervene theory, a plaintiff must
                                                                             prove the use of excessive force by
 *17 Assessing the subjective prong of the analysis,                         someone other than the individual
plaintiff testified that C.O. Pray assaulted him after                       and that the defendant under
learning that plaintiff had commenced a lawsuit against                      consideration: (1) possessed actual
his friend, and that the assault was otherwise unprovoked.                   knowledge of the use by another
Pl. Dep. at 215, 217. A reasonable factfinder could find                     corrections officer of excessive force;
plaintiff’s testimony credible and determine that C.O.                       (2) had a realistic opportunity
Pray’s actions were wanton and malicious. See Bylden,                        to intervene and prevent the
196 F.3d at 263 (“[T]he malicious use of force to cause                      harm from occurring; and (3)
harm [ ] constitute[s an] Eighth Amendment violation per                     nonetheless disregarded that risk by
se.”). Further, plaintiff testified that he was restrained in                intentionally refusing or failing to
a waist chain and handcuffs, weighing against the notion                     take reasonable measures to end the
that C.O. Pray could have reasonably perceived plaintiff                     use of excessive force.
to be a threat. Scott, 344 F.3d at 291. Such testimony
could establish that C.O. Pray used force not to restore or
maintain order, rather, in retaliation for filing suit against   Id. (internal citation and quotation marks omitted).
a fellow corrections officer. See Sims, 230 F.3d at 21.          Viewing the facts in the light most favorable to plaintiff,
                                                                 Sgt. Archambault alerted C.O. Pray that no one was
As the governing law dictates that the evidence must             around, stood close enough to C.O. Pray to be able to
be viewed in the light most favorable to plaintiff, the          intervene, and failed to intervene to prevent C.O. Pray
undersigned must credit plaintiff’s version of events            from striking plaintiff. Pl. Dep. at 217. Based on these
for purposes of this motion. In re Dana Corp., 574               facts, a fact-finder could conclude that Sgt. Archambault
F.3d 129, 152 (2d Cir. 2009) (“In [reviewing all of the          had the ability to intervene. Therefore, defendants have
evidence in the record], the court must draw all reasonable      not met their burden of showing that there is no genuine
inferences in favor of the nonmoving party, and it may not       issue of material fact as to plaintiff’s failure to intervene
make credibility determinations or weigh the evidence.”).        claim. Accordingly, it is recommended that defendants'
Defendants have not met their burden of showing that             Motion for Summary Judgment on this ground be denied.
there is no genuine issue of material fact as to plaintiff’s
excessive force claim. Accordingly, it is recommended
that defendants' Motion for Summary Judgment on this
ground be denied.                                                                      III. Conclusion

                                                                 For the reasons stated herein, it is hereby:

                   2. Failure to Intervene                       RECOMMENDED, that defendant’s Motion for
                                                                 Summary Judgment (Dkt. No. 132) be GRANTED IN
Plaintiff claims that during the January 26, 2011 escort to      PART:
a Court of Claims video conference, Sgt. Archambault,
the ranking supervisor, failed to intervene when C.O. Pray         (1) Insofar as it seeks dismissal of plaintiff’s Fourteenth
assaulted him. Sec. Am. Compl. ¶ 142. “A corrections               Amendment due process claim against Capt. Lacy, C.O.
worker who, though not participating, is present while             Summo, Dir. Prack, and Supt. LaValley,
an assault upon an inmate occurs may nonetheless



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                          Document 26 Filed 04/16/19 Page 72 of 91
2017 WL 9511094

    (2) Insofar as it seeks dismissal of plaintiff’s First              (1) Insofar as it seeks dismissal of plaintiff’s First
    Amendment retaliation claim against Capt. Lacy, Supt.               Amendment retaliation claim against C.O. Pray and
    LaValley, C.O. Mahuta, C.O. Tamer, C.O. Kelly, C.O.                 Sgt. Archambault,
    Crusie, and Lieut. Allan,
                                                                        (2) Insofar as it seeks dismissal of plaintiff’s Eighth
    (3) Insofar as it seeks dismissal of plaintiff’s First              Amendment excessive force claim against C.O. Pray,
    Amendment access to the courts claim against Capt.
    Lacy, C.O. Kelly, C.O. Crusie, C.O. Mahuta, Supt.                   (3) Insofar as it seeks dismissal of plaintiff’s Eighth
    LaValley, and Lieut. Allan,                                         Amendment failure to intervene claim against Sgt.
                                                                        Archambault,
     *18 (4) Insofar as it seeks dismissal of plaintiff’s § 1983
    conspiracy claims Capt. Lacy, Supt. LaValley, C.O.               the motion be DENIED; and it is
    Mahuta, C.O. Tamer, C.O. Kelly, C.O. Crusie, Lieut.
    Allan, C.O. Pray, and Sgt. Archambault,                          ORDERED, that the Clerk of the Court serve a copy of
                                                                     this Report-Recommendation and Order on the parties in
    (5) Insofar as it seeks dismissal of plaintiff’s Eighth
                                                                     accordance with Local Rules.
    Amendment claim against Capt. Lacy, Lieut. Allan,
    and Supt. LaValley for improper SHU conditions,
                                                                     IT IS SO ORDERED.
    (6) Insofar as it seeks dismissal of plaintiff’s Eighth
                                                                     Pursuant to 28 U.S.C. § 636(b)(1), the parties may lodge
    Amendment failure to intervene claim against Lieut.
                                                                     written objections to the foregoing report. Such objections
    Allan,
                                                                     shall be filed with the Clerk of the Court. FAILURE TO
                                                                     OBJECT TO THIS REPORT WITHIN FOURTEEN
the motion be GRANTED, and the claims be
                                                                     (14) DAYS WILL PRECLUDE APPELLATE REVIEW.
DISMISSED with prejudice; and it is further
                                                                     Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993); Small
                                                                     v. Sec'y of HHS, 892 F.2d 15 (2d Cir. 1989); see also 28
RECOMMENDED, that defendants' Motion for
Summary Judgment (Dkt. No. 132) be DENIED IN                         U.S.C. § 636(b)(1); FED. R. CIV. P. 72, 6(a), 6(e). 20
PART:

                                                                     All Citations

                                                                     Slip Copy, 2017 WL 9511094


Footnotes
1        This matter was referred to the undersigned for Report-Recommendation and Order pursuant to 28 U.S.C. § 636(b) and
         N.D.N.Y.L.R. 72.3(c).
2        The ILC is a “group of inmates elected to communicate grievances to officials.” Meriwether v. Coughlin, 879 F.2d 1037,
         1039 (2d Cir. 1989).
3        SHUs exist in all maximum and certain medium security facilities. The units “consist of single-occupancy cells grouped
         so as to provide separation from the general population....” N.Y. COMP. CODES R. & REGS. tit 7, § 300.2(b). Inmates
         are confined in a SHU as discipline, pending resolution of misconduct charges, for administrative or security reasons, or
         in other circumstances as required. Id. at pt. 301.
4        “Keeplock is a form of disciplinary confinement segregating an inmate from other inmates and depriving him of
         participation in normal prison activities.” Green v. Bauvi, 46 F.3d 189, 192 (2d Cir. 1995); N.Y. COMP. CODES R. &
         REGS. tit. 7, § 301.6.
5        Plaintiff also alleges that on November 22, 2010, Supt. LaValley, Capt. Lacey, and Lieut. Allan mutually agreed to open
         and read plaintiff’s incoming and outgoing mail which included correspondence with plaintiff’s then attorney Neil Bubel
         and plaintiff’s sister Sheila Povoski-Butler. Sec. Am. Compl. ¶¶ 64, 69, 70. These letters contained plaintiff’s allegations
         of wrongdoing by staff members. Id. ¶ 70. Plaintiff alleges these letters were the bases for defendants' plan to issue




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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                        Document 26 Filed 04/16/19 Page 73 of 91
2017 WL 9511094

      false misbehavior reports and punish plaintiff for his complaints and grievances at the November 22, 2010 ILC Executive
      Team meeting. Id. ¶¶ 71, 73.
6     In his Second Amended Complaint, plaintiff alleges that he was released to the general prison population on or about
      October 27, 2011. Sec. Am. Compl. ¶ 95. This statement is at odds with plaintiff’s “Affidavit in Opposition of Request
      for Re-Hearing,” in which he states he was released from SHU on May 8, 2011 to the general population, but remained
      under keeplock confinement until October 24, 2011. See Dkt. No. 132-9 at 3.
7     Local Rule 7.1(a)(3) states:
         Summary Judgment Motions
         Any motion for summary judgment shall contain a Statement of Material Facts. The Statement of Material Facts shall
         set forth, in numbered paragraphs, each material fact about which the moving party contends there exists no genuine
         issue. Each fact listed shall set forth a specific citation to the record where the fact is established. The record for
         purposes of the Statement of Material Facts includes the pleadings, depositions, answers to interrogatories, admissions
         and affidavits.
         The opposing party shall file a response to the Statement of Material Facts. The non-movant’s response shall mirror
         the movant’s Statement of Material Facts by admitting and/or denying each of the movant’s assertions in matching
         numbered paragraphs. Each denial shall set forth a specific citation to the record where the factual issue arises. The
         non-movant’s response may also set forth any additional material facts that the non-movant contends are in dispute.
         Any facts set forth in the Statement of Material Facts shall be deemed admitted unless specifically controverted by
         the opposing party.
      N.D.N.Y. L.R. 7.1(a)(3).
8     All unpublished opinions cited in this Report-Recommendation and Order, unless otherwise noted, have been provided
      to plaintiff.
9     The fact that plaintiff’s Second Amended Complaint is not notarized is immaterial under 28 U.S.C. § 1746. See Hameed v.
      Pundt, 964 F.Supp. 836, 840-41 (S.D.N.Y. 1997) (deeming an unnotarized document admissible in support of a summary
      judgment motion so long as that document contains the statement “I declare under penalty of perjury that the foregoing
      is true and correct.”).
10    Plaintiff alleges he was not immediately notified of the January 24, 2011 appeal disposition. Sec. Am. Compl. ¶ 54. Plaintiff
      mailed the Dir. of Special Housing to inquire whether the hearing disposition had been reviewed. Id. ¶ 56. On or about
      February 15, 2011, plaintiff received a letter from the Dir. dated February 11, 2011, indicating that the hearing had been
      reviewed and the disposition affirmed on January 26, 2011. Id. ¶ 57.
11    DOCCS records confirm plaintiff’s filing of a grievance and the administrative denial of that grievance, but fail to show
      that plaintiff filed an appeal. Dkt. No. 132-1 at 23. There is no evidence, other than plaintiff’s own testimony, to establish
      whether he appealed to the Superintendent.
12    Defendants' motion does not address the retaliation claim insofar as it applies to C.O. Pray and Sgt. Archambault.
13    Plaintiff’s exhaustion of his administrative remedies will be further discussed. See subsection III.D.1. infra.
14    At various points in his second amended complaint, plaintiff alleges that CCF had a policy of obstructing the mailing
      of grievances. See Pl. Dep. at 194-96. In calculating the equitable tolling period, the use of either March 1, 2011 or
      January 26, 2011 would deem plaintiff’s claims regarding the January 26 incident timely under the statute of limitations.
      See subsection III.D.1. infra.
15    Plaintiff’s claims against C.O. Mahuta, C.O. Crusie, C.O. Kelly and Sgt. Tamer were terminated by the Court’s March
      9, 2016 Memorandum-Decision and Order, adopting and incorporating the undersigned’s February 8, 2016 Report-
      Recommendation and Order. Dkt. Nos. 105, 107.
16    The undersigned decided the timeliness of plaintiff’s Eighth Amendment claims in the February 8, 2016 Report-
      Recommendation and Order. However, were the undersigned to address again the timeliness of those claims, the
      undersigned would still find the claims timely based on the copies of plaintiff’s grievance submissions submitted pursuant
      to defendants' Motion for Summary Judgment.
17    Plaintiff details obstruction by DOCCS employees of delivery of grievances. See Sec. Am. Compl. ¶ 177; Pl. Dep. at
      194-97.
18    First, the inmate must file a complaint with an inmate grievance program (“IGP”) clerk within twenty-one days of the
      alleged incident. N.Y. COMP. CODES R. & REGS. tit. 7, § 701.5(a)(1). An IGP representative has sixteen calendar days
      to informally resolve the issue. Id. § 701.5(b)(1). If no informal resolution occurs, the IGRC must hold a hearing within
      sixteen days of receipt of the grievance and must issue a written decision within two working days after the conclusion of
      the hearing. Id. §§ 701.5(b)(2)(i)-(ii). If the determination is unfavorable to the inmate, the inmate may appeal the IGRC’s



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Slip Copy (2017)                       Document 26 Filed 04/16/19 Page 74 of 91
2017 WL 9511094

      determination to the facility superintendent within seven calendar days of receipt of the determination. Id. § 701.5(c)(1).
      If the superintendent’s determination is unfavorable, the inmate may appeal to the Central Office Review Committee
      (“CORC”) within seven days after receipt of the superintendent’s determination. Id. §§ 701.5(d)(i)-(ii). CORC must “review
      each appeal, render a decision on the grievance, and transmit its decision to the facility, with reasons stated, for the
      [inmate], the grievance clerk, the superintendent, and any direct parties within thirty (30) calendar days from the time the
      appeal was received.” Id. § 701.5(d)(3)(ii).
19    Exhaustion of plaintiff’s retaliation claim is discussed in conjunction with plaintiff’s excessive force claim, as they were
      grieved together.
20    If you are proceeding pro se and are served with this Order by mail, three additional days will be added to the fourteen-
      day period, meaning that you have seventeen days from the date the Order was mailed to you to serve and file objections.
      FED. R. CIV. P. 6(d). If the last day of that prescribed period falls on a Saturday, Sunday, or legal holiday, then the
      deadline is extended until the end of the next day that is not a Saturday, Sunday, or legal holiday. Id. § 6(a)(1)(C).


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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Not Reported in Fed. Supp. (2018) Document        26 Filed 04/16/19 Page 75 of 91
2018 WL 547392


                                                              As no objections to the Report-Recommendation have
                 2018 WL 547392
                                                              been filed, and the time for filing objections has expired,
   Only the Westlaw citation is currently available.
                                                              the Court reviews the Report-Recommendation for clear
    United States District Court, N.D. New York.
                                                              error. See Petersen v. Astrue, 2 F. Supp. 3d 223,
            Frank J. POVOSKI, Jr., Plaintiff,                 228-29 (N.D.N.Y. 2012); Fed. R. Civ. P. 72(b) advisory
                          v.                                  committee’s note to 1983 amendment. Having reviewed
            Steven LACY, et al., Defendants.                  the Report-Recommendation for clear error and found
                                                              none, the Court adopts the Report-Recommendation in
                9:14-CV-0097 (BKS/CFH)                        its entirety.
                            |
                    Signed 01/17/2018                         For these reasons, it is

Attorneys and Law Firms                                       ORDERED that the Report-Recommendation (Dkt. No.
                                                              139) is ADOPTED in its entirety; and it is further
Frank J. Povoski, Jr. Rochester, NY 14622 Plaintiff, pro
se
                                                              ORDERED that Defendants' motion for summary
Brian W. Matula, Esq. Hon. Eric T. Schneiderman Office        judgment (Dkt. No. 132) is GRANTED IN PART AND
of New York State Attorney General The Capitol Albany,        DENIED IN PART; and it is further
NY 12224 Attorney for Defendants
                                                              ORDERED that Defendants' motion for summary
                                                              judgment (Dkt. No. 132) is GRANTED with respect to
                                                              the following claims, and that the following claims are
     MEMORANDUM-DECISION AND ORDER
                                                              DISMISSED WITH PREJUDICE:
Brenda K. Sannes, U.S. District Judge
                                                                (1) Plaintiff’s Fourteenth Amendment due process
 *1 Plaintiff Frank Povoski, Jr., a former New York                claim against Capt. Lacy, C.O. Summo, Dir. Prack,
State inmate, commenced this action under 42 U.S.C.                and Supt. LaValley;
§ 1983 alleging that the Defendants violated his
                                                                (2) Plaintiff’s First Amendment retaliation claim
constitutional rights under the First, Eighth, and
                                                                   against Capt. Lacy, Supt. LaValley, C.O. Mahuta,
Fourteenth Amendments during his confinement at the
                                                                   C.O. Tamer, C.O. Kelly, C.O. Crusie, and Lieut.
Clinton Correctional Facility. Dkt. No. 106. On April 7,
                                                                   Allan;
2017, Defendants filed a motion for summary judgment,
seeking dismissal of the entirety of the Plaintiff’s Second     (3) Plaintiff’s First Amendment access to the courts
Amended Complaint. Dkt. No. 132. Plaintiff did not                 claim against Capt. Lacy, C.O. Kelly, C.O. Crusie,
respond to the motion even though he filed two requests            C.O. Mahuta, Supt. LaValley, and Lieut. Allan;
for extensions of time, which were granted. Dkt. Nos.
136 and 138. This matter was referred to United                 (4) Plaintiff’s § 1983 conspiracy claims against Capt.
States Magistrate Judge Christian F. Hummel who, on                Lacy, Supt. LaValley, C.O. Mahuta, C.O. Tamer,
December 13, 2017, issued a Report-Recommendation                  C.O. Kelly, C.O. Crusie, Lieut. Allan, C.O. Pray, and
and Order recommending that Defendants' motion for                 Sgt. Archambault;
summary judgment be granted in part and denied in
part. Dkt. No. 139. Magistrate Judge Hummel advised             (5) Plaintiff’s Eighth Amendment claim against Capt.
the parties that under 28 U.S.C. § 636(b)(1), they had             Lacy, Lieut. Allan, and Supt. LaValley for improper
fourteen days within which to file written objections to           SHU conditions; and
the Report, and that the failure to object to the Report
                                                                (6) Plaintiff’s Eighth Amendment failure to intervene
within fourteen days would preclude appellate review.
                                                                   claim against Lieut. Allan; and it is further
Dkt. No. 139, pp. 42-43. No objections to the Report-
Recommendation have been filed.



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Povoski v.Case  9:18-cv-01232-DNH-DEP
          Lacy, Not Reported in Fed. Supp. (2018) Document         26 Filed 04/16/19 Page 76 of 91
2018 WL 547392

ORDERED that the Defendants' motion for summary                ORDERED that the Clerk is directed to terminate Capt.
                                                               Lacy, C.O. Summo, Dir. Prack, Supt. LaValley, C.O.
judgment is DENIED as to the following claims, which
                                                               Mahuta, C.O. Tamer, C.O. Kelly, C.O. Crusie, and Lieut.
will be scheduled for trial:
                                                               Allan as Defendants in this case; and it is further
  *2 (1) Plaintiff’s First Amendment retaliation claim
   against C.O. Pray and Sgt. Archambault;                     ORDERED that the Clerk serve a copy of this Order upon
                                                               the parties in accordance with the Local Rules.
  (2) Plaintiff’s Eighth Amendment excessive force claim
     against C.O. Pray; and                                    IT IS SO ORDERED.

  (3) Plaintiff’s Eighth Amendment failure to intervene
     claim against Sgt. Archambault; and it is further         All Citations

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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)        Page 77 of 91
2007 WL 951459

                                                               when Orville “Sardine” Miller came out of Allen's house
                                                               brandishing a knife and approached the group. Trial Tr.
                  2007 WL 951459
                                                               at 579, 698-700, 901. Miller and Shaw soon “exchanged
    Only the Westlaw citation is currently available.
                                                               words” and then “went to go fight.” Trial Tr. at 701. At
             United States District Court,
                                                               some point during that altercation, Miller discarded his
                   N.D. New York.
                                                               knife and pulled a gun out from his back pocket. Trial
           Michael SHAW, Petitioner,                           Tr. at 582, 702. Miller's actions prompted Shaw to exclaim
                      v.                                       “this is the second or third time you pull a gun on me. I'll
          SUPERINTENDENT, ATTICA                               be back.” Trial Tr. at 582, 705. Miller then put the gun
                                                               back in his pocket and walked away. Trial Tr. at 704.
      CORRECTIONAL FACILITY, Respondent.

                 No. 9:03-CV-0610 (NPM).                       Shaw, Johnson and Sayeeda then left the area and met
                             |                                 Omar Lutehman, a friend of both Shaw and Johnson.
                      March 28, 2007.                          Trial Tr. at 582, 705-08. After a brief meeting, Lutehman
                                                               entered his car and drove to the Western Lights area
Attorneys and Law Firms                                        of Syracuse with Shaw, Johnson and Sayeeda following
                                                               in their automobile. Trial Tr. at 708-10. Lutehman and
Michael Shaw, Comstock, NY, Petitioner, pro se.                Shaw then briefly entered a house together, after which
                                                               they both entered Johnson's car and drove towards East
Hon. Andrew Cuomo, New York State Attorney General,
                                                               Fayette Street. Trial Tr. at 711-713. After dropping Shaw
Patrick F. MacRae, Esq., Assistant Att'y General, of
                                                               off, Johnson parked his car and he, Lutehman and
counsel, Syracuse, NY, for Respondent.
                                                               Sayeeda began walking towards Allen's home. Trial Tr. at
                                                               713.

      MEMORANDUM-DECISION and ORDER
                                                               Allen, who had returned to his home approximately
NEAL P. McCURN, Senior United States District Judge.           fifteen minutes after the fight between Shaw and Miller
                                                               had ended (Trial Tr. at 585), soon noticed Sayeeda,
I. Background                                                  Johnson and Lutehman walking toward his house. Trial
                                                               Tr. at 588-589, 714-715, 902-905. When Johnson and
  A. State Court Proceedings                                   Allen met, the two began fighting. Trial Tr. at 537, 590,
 *1 According to the testimony adduced at trial, on            716.
May 15, 1998, Donovan “Romeo” Allen, lived on East
Fayette Street in the City of Syracuse, New York. See          Around that time, Shaw was observed walking up East
Transcript of Trial of Michael Shaw (2/23/99) (“Trial Tr.”)    Fayette Street with a long, black gun at his side. Trial Tr.
at 575. Allen had been involved in an ongoing dispute          at 598-99, 717-718, 905-907. Around that time, Sayeeda
with Michael “Lucky” Johnson and his friends, including        apparently said something to Allen which prompted him
petitioner, pro se, Michael “Gem Star” Shaw. Trial Tr.         to call her a “bitch.” Trial Tr. at 592-93, 905. Johnson
at 578-579, 697-700. Specifically, the records reflect that    responded by moving toward Allen, who then brandished
several months before May, 1998, Allen had hit Johnson's       a knife. Trial Tr. at 592-93. Johnson turned and ran
car, Trial Tr. at 759, and the two had been involved in both   away, however Allen chased after him. Trial Tr. at 594,
verbal arguments and fist fights. Trial Tr. at 784-785.        716-717. Shaw then started shooting the gun he was
                                                               carrying at Allen. Trial Tr. at 599-601, 718-19, 842-843,
Between 2:30 and 3:30 in the afternoon of May 15, 1998,
                                                               849, 905-907. 1 After the shooting, Lutehman, Johnson
Johnson, his girlfriend Sayeeda and Shaw drove to Allen's
                                                               and Sayeeda entered their car and drove away, however
home. Trial Tr. at 693-695. At the time, people were
                                                               the trio soon returned to pick up Shaw. Trial Tr. at 719-20.
sitting outside of that house, however Allen himself was
                                                               At that time, Shaw informed Johnson that he had shot
not at home. Trial Tr. at 577. Johnson, Sayeeda and
                                                               Allen. Trial Tr. at 722.
Shaw exited their vehicle and Johnson began talking
with an individual who was standing in front of Allen's
house. Trial Tr. at 579, 698. Their conversation ended


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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)        Page 78 of 91
2007 WL 951459

 *2 The trial transcript also reflects that at approximately   On April 16, 1999, Shaw appeared before Judge Mulroy
4:19 p.m. on May 15, 1998, Syracuse Police Officer             for sentencing on the above convictions. At that
Ronald Brico was dispatched to the 1400 block of East          proceeding, the County Court sentenced Shaw to a term
Fayette Street in the City of Syracuse on a call that          of twenty-five years to life imprisonment on the murder
“started out with a man with a gun and it was updated          conviction, and lesser, concurrent terms on the remaining
to a shots fired and ultimately a man down.” Trial Tr. at      convictions. See Transcript of Sentencing of Michael
510. Upon arriving at the scene, Officer Brico observed an     Shaw (4/16/99) at 12-13.
individual later identified as Allen lying in the driveway
of a residence bleeding profusely from his left side. Trial    Shaw appealed his convictions to the New York State
Tr. at 511-12. Allen was transported to Upstate Medical        Supreme Court, Appellate Division, Fourth Department,
Center where he was pronounced dead at 4:46 p.m. on            which appeal was opposed by the Onondaga County
May 15, 1998, never having regained consciousness after        district attorney. On November 13, 2000, the Appellate
the shooting. Trial Tr. at 512-513. 2                          Division denied Shaw's appeal in all respects. See People v.
                                                               Shaw, 277 A.D.2d 1052 (4th Dept.2000). On April 6, 2001,
As a result of the foregoing, on July 15, 1998,                the Court of Appeals denied Shaw's application for leave
an Onondaga County grand jury returned an                      to appeal to that court. See People v. Shaw, 96 N.Y.2d 806
indictment against Shaw. See Indictment No. 98-0573-1          (2001).
(“Indictment”). In that accusatory instrument, Shaw was
charged with murder in the second degree, in violation          *3 On November 27, 2001, Shaw filed a collateral
of N.Y. Penal L. § 125.25(1), criminal possession of a         challenge to his state court conviction in the form of
weapon in the second and third degrees, contrary to N.Y.       an application for a writ of error coram nobis filed
Penal L. §§ 265.02(1) and 265.03, and first degree reckless    with the Appellate Division. See State Court Record
endangerment, in violation of N.Y. Penal L. § 120.25. See      (“Record”) at 1732-95 (“Coram Nobis Application”).
Indictment. Beginning on February 23, 1999, Shaw was           In that application, Shaw alleged several theories in
tried before a jury on the foregoing charges in Onondaga       support of his claim that his appellate counsel rendered
County Court with County Court Judge J. Kevin Mulroy           ineffective assistance. See Coram Nobis Application. That
presiding. At the close of the prosecution's case-in-          application was opposed by the district attorney, and on
chief, Shaw's counsel moved to dismiss all counts in the       March 11, 2002, the Appellate Division denied Shaw's
Indictment based upon his claim that the prosecution           coram nobis request in all respects. See People v. Shaw, 292
had failed to meet its burden of proof as to each of the       A.D.2d 881 (4th Dept.2002).
above-described charges. Trial Tr. at 1037. Judge Mulroy
dismissed the charge of criminal possession of a weapon in     On April 2, 2002, Shaw filed a motion to vacate his
the third degree after he determined that it was duplicitous   judgment of conviction pursuant to Section 440.10 of New
of the other weapons possession charge brought against         York's Criminal Procedure Law (“CPL”) with the County
Shaw, however the County Court denied counsel's motion         Court. See Record at 1800-46. Later that same month,
to dismiss the Indictment in all other respects. See Trial     Shaw filed a second CPL Motion with that court. See
Tr. at 1038.                                                   Record at 1856-79. The district attorney opposed those
                                                               applications, see Record at 1880, 1883-84, and on July 22,
Following the arguments of counsel and the trial court's       2002, Onondaga County Court Judge William D. Walsh
instructions, the jury began its deliberations. Trial Tr.      denied Shaw's motions to vacate. See People v. Shaw,
at 1198. During the course of those deliberations, Judge       No. 98-573-1 (Onon.Cty.Ct. July 22, 2002) (Record at
Mulroy responded to several requests of the jury, which        1881-82) (“July, 2002 Order”). In its order dated February
included a request that the testimony of a prosecution         27, 2003, the Appellate Division denied Shaw's application
witness, Everod Reid, be read back to the jury. Trial          for leave to appeal that decision of the County Court to the
Tr. at 1201-06. The jury thereafter returned a unanimous       Appellate Division. See People v. Shaw, No. KA 02-02099
verdict in which it found Shaw guilty of the second degree     (4th Dept. Feb. 27, 2003) (Record at 1885).
murder, criminal possession of a weapon and reckless
endangerment charges. Trial Tr. at 1207-09.
                                                                 B. Proceedings in This Court



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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)             Page 79 of 91
2007 WL 951459

Petitioner commenced this proceeding, pro se, on May 3,            Judge Mordue ultimately concluded that “it appears as
                                        3
2003. See Petition (Dkt. No. 1) at 7. Now-Chief United             though Petitioner has timely filed his original Petition for
States District Judge Norman A. Mordue thereafter                  purposes of the AEDPA.” See October, 2003 Order at 3.
directed Shaw to file an amended petition in this
action (Dkt. No. 3), and on August 14, 2003, Shaw                  Under the doctrine of the law of the case, “ ‘when a court
filed an amended petition herein. Dkt. No. 5. Shaw                 decides upon a rule of law, that decision should continue
thereafter requested permission to file another amended            to govern the same issues in subsequent stages of the same
pleading in this action (Dkt. No. 19), and on April                case.’ “ Small v. Arch Capital Group, Ltd., No. 03 CIV.
20, 2004, Magistrate Judge David E. Peebles granted                5604, 2005 WL 2584158, at *2 (S.D.N.Y. Oct. 12, 2005)
that application. See Dkt. No. 21. Shaw thereafter filed           (quoting Arizona v. California, 460 U.S. 605, 618 (1982)).
such pleading in which he alleges that: i) he received
the ineffective assistance of appellate counsel; ii) the           Nothing in the record suggests that Judge Mordue's
prosecutor engaged in misconduct when he called a “false           determination that this action was timely commenced by
witness” to testify at Shaw's trial; iii) he was deprived of his   Shaw is erroneous in any way. 6 Therefore, under the
right to a fair trial by the County Court; and iv) he received     doctrine of law of the case, this Court denies respondent's
the ineffective assistance of trial counsel. See Dkt. No.          request to dismiss this action as untimely filed, and
23 (“Am.Pet.”). The respondent was afforded until July             accordingly next considers the standard of review that is
30, 2004 to file his response to the amended pleading, see         to be employed in considering petitioner's claims.
Dkt. No. 25, and on that day, the Office of the Attorney
General for the State of New York, acting on respondent's
behalf, filed an answer together with a memorandum of               B. Standard of Review Applicable to Shaw's Claims
law in opposition to Shaw's amended petition. Dkt. No.             Under the AEDPA:

26. 4 Petitioner thereafter submitted a traverse in further          a federal court may award habeas corpus relief with
support of his habeas application. See Dkt. No. 27.                  respect to a claim adjudicated on the merits in state
                                                                     court only if the adjudication resulted in an outcome
On January 5, 2006, then-Chief United States District                that: (1) was “contrary to, or involved an unreasonable
Judge Frederick J. Scullin, Jr. reassigned this action to the        application of, clearly established Federal law, as
undersigned for disposition. See Dkt. No. 29.                        determined by the Supreme Court of the United States”;
                                                                     or (2) was “based on an unreasonable determination of
                                                                     the facts in light of the evidence presented in the State
II. Discussion
                                                                     court proceeding.”
   A. Timeliness of Petition
                                                                   Rodriguez v. Miller, 439 F.3d 68, 73 (2d Cir.2006) (quoting
 *4 Respondent initially claims that this action was not
                                                                   28 U.S.C. § 2254(d)); see also DeBerry v. Portuondo, 403
timely commenced by Shaw in light of the one year statute
                                                                   F.3d 57, 66 (2d Cir.2005); Miranda v. Bennett, 322 F.3d
of limitations applicable to habeas corpus petitions as a
                                                                   171, 177-78 (2d Cir.2003). “A state court adjudication is
result of the Antiterrorism and Effective Death Penalty
                                                                   ‘contrary to’ clearly established federal law only if ‘the
Act of 1996 (“AEDPA”). See Resp. Mem. at 11-12; see
                                                                   state court arrives at a conclusion opposite to that reached
also 28 U.S.C. § 2244(d).
                                                                   by [the Supreme] Court on a question of law or if the
                                                                   state court decides a case differently than [the Supreme]
On October 17, 2003, United States District Judge
                                                                   Court has on a set of materially indistinguishable facts.’
Norman A. Mordue, who at the time was the assigned
                                                                   “ Rodriguez, 439 F.3d at 73 (quoting Williams v. Taylor,
District Judge relating to this action, entered an order
                                                                   529 U.S. 362, 413 (2000)). Under the “unreasonable
that specifically addressed the issue of the timeliness of
                                                                   application” clause of the AEDPA, a federal habeas court
Shaw's action. See Dkt. No. 8 (“October, 2003 Order”).
                                                                   may only grant the writ where the state court's decision
In that order, Judge Mordue provided a detailed analysis
                                                                   “identifies the correct governing legal principle from [the
relating to the state court actions filed by Shaw and the
                                                                   Supreme] Court's decisions but unreasonably applies that
effect that those proceedings had on tolling the AEDPA's
                                                                   principle to the facts of the prisoner's case.” Rodriguez, 439
statute of limitations. See October, 2003 Order at 1-3. 5          F.3d at 73 (quoting Williams, 529 U.S. at 413).


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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)         Page 80 of 91
2007 WL 951459

                                                                purportedly written by the former juror. See Traverse at
                                                                1-4 (citing CPL § 330.40). 7 Both of these theories relate
  B. Substance of Shaw's Claims
                                                                to correspondence sent to, inter alia, the County Court by
  1. Ground One                                                 an individual who claimed to have been member of the
 *5 In his first ground for relief, Shaw argues that he was     jury that convicted Shaw. See Am. Pet., Ground One; see
denied the effective assistance of appellate counsel. See       also Traverse. Therefore, a review of the state court record
Am. Pet., Ground One.                                           relating to such correspondence is warranted.

                                                                On March 22, 1999, Judge Mulroy presided over a hearing
   i. Clearly Established Supreme Court Precedent               at which Shaw, his trial attorney and the prosecutor were
The Sixth Amendment to the United States Constitution           present. The following exchange occurred at that hearing:
provides that “[i]n all criminal prosecutions, the accused
shall enjoy the right ... to have the Assistance of               THE COURT: I've received a letter for what it's
Counsel for his defence.” U.S. Const., amend. VI. This             worth, from somebody that has signed their name,
Amendment has been interpreted to require that indigents           “Unknown,” alleging certain improprieties that took
be provided with assigned counsel for their first appeal           place in the jury room during the deliberations of this
as of right. Douglas v. California, 372 U.S. 353, 358              gentleman's case. I understand through conversations
(1963). Thus, an individual is entitled to the effective            with Mr. Carey 8 that he's also received a letter and
assistance of appellate counsel. McMann v. Richardson,              I also understand the Syracuse Newspapers have
397 U.S. 759, 771 n. 14 (1970). The proper standard for             received a letter. I assume Mr. Carey is going to ask
evaluating a claim which alleges that appellate counsel             for some type of an adjournment . 9 I'll hear you, Mr.
was ineffective is the test enunciated in Strickland v.             Carey.
Washington, 466 U.S. 668 (1984). See Smith v. Robbins,
528 U.S. 259, 287-89 (2000). In Strickland, the Supreme
Court held that to establish a violation of one's right            *6 MR. CAREY: I am, Judge. Judge, in light of the
to the effective assistance of counsel, a habeas petitioner         fact that the Court ... and myself, have received a
must show both: i) that counsel's representation fell below         letter from a person who identifies themselves as a
an objective standard of reasonableness, measured in the            juror in this case, who in my letter states that they
light of the prevailing professional norms; and ii) resulting       were untruthful and they broke their oath, that they
prejudice that is, a reasonable probability that, but for           did, in fact, have reasonable doubt but they were
counsel's unprofessional performance, the outcome of the            somehow pressured by the other jurors into rendering
proceeding would have been different. Strickland, 466               a guilty verdict. This person does say in my letter,
U.S. at 688-90.                                                     and I think in the Court's as well, that, as of now
                                                                    he or she wants to remain unknown, but it says, “I
                                                                    will stay unknown until I find the proper authorities
   ii. Contrary to, or Unreasonable Application of, Clearly         and then I will deal with the consequences at that
   Established Supreme Court Precedent                              time.” I would first ask the Court in light of this very
In support of his first ground for relief, petitioner argues        serious matter, Judge, to recall the jurors singly, not
that he was not present at a hearing conducted by the trial         en masse. Obviously this person is saying that he or
court relating to a “juror that was forced to give a guilty         she was coerced by someone or other people in the
verdict against the Petitioner,” see Am. Pet., Ground               jury room and I think it's so important that the Judge
One, and that his appellate counsel's failure to raise that         should-the Court should bring back the entire jury
issue on appeal constituted ineffective assistance. Id. In          and in-camera interview each one.
his traverse, Shaw argues that his counsel wrongfully
failed to argue on appeal that: 1) his absence from that               THE COURT: Well, first of all, I think any request
hearing deprived him of his right to be present during a                for the Court to do anything is premature. I
material stage of his trial; and 2) trial counsel wrongfully            think your request should be in writing so that
withdrew a request that the County Court conduct “a                      Mr. Cuffy, 10 can have a chance to respond....
hearing to inquire into the truth” regarding the letters                 Mr. Cuffy, I'll make my letter available to you



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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)    Page 81 of 91
2007 WL 951459

         for your response. If you'd like, stop by this             wasn't sent a copy of any letter at all on this
         afternoon and my secretary will make a copy of             case. From what I read in this letter you have a
         it.                                                        juror say that. Even if this letter is accepted as
                                                                    being truthful, it doesn't make grounds-it doesn't
  MR. CUFFY: Your Honor, Mr. Carey has provided                     establish grounds for any change in the outcome
   me with a copy of the letter.                                    of this because the letter basically says that,
                                                                    “I was persuaded by other jurors during jury
      THE COURT: Of my letter?
                                                                    deliberation,” which the Court I know is well
      MR. CUFFY: Oh, excuse me.                                     aware that's what happens in jury deliberations
                                                                    in every case. So based prima facie on what I
      MR. CAREY: The letter I received I gave it to him.            have in front of me, I ask that sentencing go
                                                                    forward because there isn't a ground here to
      MR. CUFFY: I don't know if the Court has a copy               change the verdict.
       of it.
                                                                   *7 THE COURT: I don't disagree with you but I
      THE COURT: I don't have Mr. Carey's copy. He                  think for fairness sake and for proper appellate
       doesn't have my copy and you don't have my                   review we ought to just formalize it in writing. I
       copy .....                                                   don't know how you're going to make this person
                                                                    who's unknown, come forward. I do not intend
      MR. CUFFY: Okay.
                                                                    with this information to start calling jurors,
      THE COURT: I don't, quite frankly, want                       bringing them in and beginning an inquiry. I
       anybody's copy.                                              don't think that's-this information rises to that
                                                                    level yet. So that's just a gut reaction I have to
      MR. CAREY: Judge, I'm passing up a copy.                      this information, but I'll give you a chance to put
                                                                    it in writing and afford this person, if this person
      THE COURT: I'll read about it in some motion
                                                                    is a member of the jury, to come forward and see
       papers, I'm sure. All right? Now I'm not going to
                                                                    what else is new....
       do anything, Mr. Carey, other than grant you an
       adjournment for you to formalize your request         See Transcript of Hearing before Judge Mulroy
       in writing to me and give Mr. Cuffy a chance to         (3/22/99) (Dkt. No. 26, Exh. J.) (“March, 1999 Tr.”)
       respond. How long will it take you to put that
                                                                at 3-7. 11
       request down, sir?
                                                           Approximately three weeks later, on April 14, 1999, Shaw,
      MR. CAREY: Judge, I would ask for at least two       his attorney and the prosecutor appeared before Acting
       weeks, because hopefully, whoever this person       Supreme Court Judge John J. Brunetti. The transcript of
       is will come forward by that time. I think          that proceeding reflects the following discussion relating
       that would be important if the Court had an         to the above-described letters:
       opportunity but I'll need at least a couple of
                                                             THE COURT: This was on today for arguments of
       weeks to do this, Judge.
                                                              motions relative to some information that came
      MR. CUFFY: Your Honor, could I be heard                 to your attention-my attention, and I understand
       briefly on this?                                       the District Attorney's attention about some letters
                                                              or whatnot. Today was the day to make motions
      THE COURT: Yes, sir. Yeah.                              addressed to that. No motion has been received. I
                                                              intend to sentence this man....
      MR. CUFFY: Basically, the Court's presented
       with a typed-and it's important that it's typed-      MR. CAREY: Judge, with regards to my motion, my
       a typed letter from someone who signs,                 motion was for the court to conduct an in camera
       “Unknown,” and claims to be a juror in this            review of each and every juror particularly with
       case. As far as I know, your Honor, I ... may          regards to the letter that was received by numerous
       have a different letter as I'm understanding. I        people. In light of the fact that the District Attorney's



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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)          Page 82 of 91
2007 WL 951459

     office has conducted an investigation, and it's my          753) (“[a] brief that raises every colorable issue runs the
     understanding that all the jurors were questioned,          risk of burying good arguments ... in a verbal mound of
     no one stated that they sent that letter, and they          strong and weak contentions”).
     continued their investigation, I would withdraw my
     motion for the court to do that investigation.              Turning to the specific allegations asserted by Shaw
                                                                 in his first ground for relief, the undersigned notes
  THE COURT: I wasn't going to do it anyway. Fine,               that Shaw initially argues that his counsel wrongfully
   now that I have your permission not to I'll not do it.        failed to argue on appeal that the hearing held by the
                                                                 County Court in Shaw's absence regarding the identity
  MR. CAREY: You do, judge.
                                                                 of the author of the letters referenced above violated the
See Transcript of Hearing before Justice Brunetti (4/14/99)      principles announced by New York's Court of Appeals
(Dkt. No. 26, Exh. K) (“April, 1999 Tr.”) at 2-3.                in People v. Antommarchi, 80 N.Y.2d 247 (1992). 13 See
                                                                 Am. Pet. at (unnumbered) 7. However, the transcripts
In addressing the merits of Shaw's Coram Nobis                   of the hearings referenced above establishes that the
Application, the Appellate Division had the benefit of           County Court never conducted a hearing where factual
the above transcripts as well as an affidavit provided           issues relating to the letters was explored. See March,
by the district attorney in opposition to Shaw's coram           1999 Tr. at 7 (Judge Mulroy noting that he did not
nobis application. In that affidavit, the district attorney      intend to contact jurors and question them about letters);
noted that the investigation into the source of the letters      April, 1999 Tr. at 2-3 (Justice Brunetti noting that he
conducted by the district attorney's office revealed that        had no intention of questioning jurors about the above-
“the typeface of the letter had been traced back to a            referenced correspondence). Therefore, Shaw's claims that
typewriter located in the Justice Center Jail, on the same       his attorney wrongfully failed to argue on appeal that:
floor where [Shaw] was being held.” See Affidavit in             1) the holding of such a hearing by the trial court in his
Opposition to Shaw's Coram Nobis Application (2/1/02)            absence violated his Antommarchi rights (see Am. Pet.,
(Dkt. No. 26, Exh. V) (“February, 2002 Aff.”) at 2-3. That       Ground One; Traverse at 2); and 2) Shaw was wrongfully
evidence-which was not refuted by Shaw in either the state       denied his right to be present at that hearing (see Traverse
courts or this action-is entirely consistent with the district   at 2-3), are clearly without substance.
attorney's finding that the above-mentioned letters were
not written by any member of the jury at Shaw's criminal         Shaw also argues that his appellate counsel rendered
         12                                                      ineffective assistance by failing to argue that petitioner's
trial.
                                                                 trial attorney “was not looking out for the petitioner's
 *8 To establish that his appellate counsel's conduct was        best interest, nor was he ... seeking out the truth” when
objectively unreasonable, “ ‘it is not sufficient for the        trial counsel withdrew his motion which had requested
habeas petitioner to show merely that counsel omitted            that the County Court conduct an investigation into the
a nonfrivolous argument, for counsel does not have               source of the letters. See Traverse at 2. However, this
a duty to advance every nonfrivolous argument that               claim appears to overlook the facts that: 1) the district
could be made.’ “ Clark v. Stinson, 214 F.3d 315, 322            attorney's investigation into the source of letters revealed
(2d Cir.2001) (citing Jones v. Barnes, 463 U.S. 745,             that none of the jurors at Shaw's criminal trial had sent
754 (1983)); see also Atkins v. Miller, 18 F.Supp.2d             such correspondence (see April, 1999 Tr. at 2-3); 2) the
314, 320 (S.D.N.Y.1998) (citation omitted). Rather, to           investigation into the source of the letters established
prevail upon such this claim, Shaw must demonstrate              that they had been created by a typewriter located in the
that his counsel “omitted significant and obvious issues         Justice Center Jail at which petitioner was incarcerated
while pursuing issues that were clearly and significantly        (see Coram Nobis Aff. at 2-3); and 3) the County Court
weaker.” Clark, 214 F.3d at 322. Thus, appellate counsel         specifically declared on the record that it would have
cannot be considered ineffective for making a strategic          denied defense counsel's motion to conduct a hearing
decision to abandon weaker arguments and, instead,               into the matter (see April, 1999 Tr. at 3). The foregoing
develop only those arguments more likely to succeed. See         conclusively demonstrates that appellate counsel did not
Gonzalez v. Duncan, No. 00-CV-1857, 2001 WL 726985,              act unreasonably when he failed to argue on appeal that
at *6 (E.D.N.Y. June 22, 2001) (citing Jones, 463 U.S. at


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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)          Page 83 of 91
2007 WL 951459

trial counsel's strategic decision to withdraw the above-         only argued that the prosecutor engaged in misconduct at
described application amounted to ineffective assistance.         petitioner's trial as one of the theories Shaw asserted in
                                                                  support of his claim that his appellate counsel rendered
 *9 Finally, Shaw's argument that appellate counsel               ineffective assistance. See Record at 1747-48; 1757-58.
improperly failed to argue on appeal that the trial court
erred when it did not conduct any hearing relating to the         “Coram nobis applications brought in state court do not
above-mentioned letters fails to recognize the fact that          exhaust the ‘predicate’ issues raised therein....” Richards
the County Court had determined that no hearing was               v.. Berbary, No. 01CIV.5524, 2003 WL 22076247, at *5
necessary in light of the facts that were disclosed by the        (S.D.N.Y. Aug. 22, 2003) (citing Turner v. Artuz, 262
district attorney's investigation relative to the source of the   F.3d 118, 123 (2d Cir.2001)); see also Perez v. Hollins,
letters.                                                          No. 02CIV.6120, 2004 WL 307271, at *5-7 (S.D.N.Y.
                                                                  Feb. 5, 2004) (claims advanced in state court only as the
In sum, the record fails to support Shaw's habeas claim           predicate for ineffective assistance of appellate counsel
that his appellate counsel rendered ineffective assistance.       claim are not exhausted for purposes of asserting such
Accordingly, he has not demonstrated that the Appellate           claims independent of appellate counsel claim); Williams
Division's decision denying his Coram Nobis Application,          v. Bennett, No. 99 CV 1119, 2003 WL 21143070, at *5 n. 4
see Shaw, 292 A.D.2d at 881, is either contrary to, or            (E.D.N.Y. Jan. 3, 2003) (same). Thus, the claim asserted in
represents an unreasonable application of, the above-cited        ground two of Shaw's amended petition, which has never
Supreme Court precedent. Therefore, the undersigned               been asserted by petitioner as independent claim for relief
denies Shaw's first ground for relief.                            in any state court, is necessarily unexhausted.

                                                                   *10 However, for reasons best known to the respondent,
  2. Ground Two                                                   he has not argued that Shaw has failed to exhaust this
In his second ground, Shaw argues that his conviction was
                                                                  (or any) of his claims in the state courts. 16 Rather,
obtained as a result of prosecutorial misconduct. See Am.
                                                                  respondent argues this claim must be denied on the merits.
Pet., Ground Two.
                                                                  See Resp. Mem. at 16-17.

It is well settled that a federal district court “ ‘may not
                                                                  It is improper for a federal district court to sua sponte
grant the habeas petition of a state prisoner unless it
                                                                  dismiss a federal habeas claim on the theory that such
appears that the applicant has exhausted the remedies
                                                                  claim is unexhausted. E.g., Acosta v. Artuz, 221 F.3d
available in the courts of the State....’ “ Shabazz v.
                                                                  117, 121-24 (2d Cir.2000) (courts may not sua sponte
Artuz, 336 F.3d 154,160 (2d Cir .2003)) (quoting Aparicio
                                                                  raise nonjurisdictional defenses without affording inmate
v. Artuz, 269 F.3d 78, 89 (2d Cir.2001) (other citation
                                                                  “notice and an opportunity to be heard” relative to
omitted); see also Ellman v. Davis, 42 F.3d 144, 147
                                                                  the proposed dismissal); Klem v. Brunelle, 96-CV-0807,
(2d Cir.1994). This is because “[s]tate courts, like federal
                                                                  1999 WL 603824, at *2 n. 3 (W.D.N.Y. Aug. 9, 1999)
courts, are obliged to enforce federal law.” Galdamez v.
                                                                  (exhaustion requirement applicable to habeas petitions
Keane, 394 F.3d 68, 72 (2d Cir.) (quoting O'Sullivan v.
                                                                  is not jurisdictional but rather a principle of comity)
Boerckel, 526 U.S. 838, 844 (1999)), cert denied sub nom.,
                                                                  (citation omitted).
Galdamez v. Fischer, 544 U.S. 1025 (2005). As the Supreme
Court noted in O'Sullivan, “[c]omity ... dictates that when
                                                                  28 U.S.C. § 2254(b)(2) permits federal courts to consider
a prisoner alleges that his continued confinement for a
state court conviction violates federal law, the state courts     the merits of an unexhausted habeas claim. 17 The
should have the first opportunity to review this claim and        Second Circuit, however, has not yet discussed the
provide any necessary relief.” O'Sullivan, 526 U.S. at 844;       standard of review that district courts should employ
                                                                  when reviewing such a claim. See Brown v. State of
see also Galdamez, 394 F.3d at 72 (quoting O'Sullivan ). 14
                                                                  New York, 374 F.Supp.2d 314, 318 (W.D.N.Y.2005). The
                                                                  majority of courts in this circuit that have addressed this
Shaw never raised in the state courts-as an independent
                                                                  issue have utilized a “patently frivolous” standard. See
claim for relief-that his conviction must be reversed
                                                                  Brown, 374 F.Supp.2d at 318 (citing Naranjo v. Filion,
because of prosecutorial misconduct. 15 Rather, Shaw              No. 02-CIV-5449, 2003 WL 1900867, at *8 (S.D.N.Y.


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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)         Page 84 of 91
2007 WL 951459

Apr. 16, 2003)) (collecting cases) (footnote omitted).           generated in the state court proceeding. Therefore, a
A minority of district courts have opined that the               review of that record is warranted.
dismissal of unexhausted claims is appropriate when “
‘it is perfectly clear that the [petitioner] does not raise      Toward the conclusion of its case-in-chief against Shaw,
even a colorable federal claim.’ “ See Hernandez v.              the prosecution called Everod Reid as a prosecution
Lord, No. 00-CIV-2306, 2000 WL 1010975, at *4 n.                 witness. See Trial Tr. at 895. The following exchange
8 (S.D.N.Y. July 21, 2000) (collecting cases); see also          occurred between Shaw's counsel, the County Court
Edmonson v. Artus, No. 04-CV-5477, 2006 WL 3486769,              and the prosecution at the conclusion of that witness's
at *11 (E.D.N.Y. Nov. 30, 2006); Russell v. Ricks, No.           testimony:
02-CV-0940, 2006 WL 1555468, at *16 (N.D.N.Y. May
31, 2006) (Kahn, J.). Since the undersigned concludes that         MR. CAREY: Since discovery ... we have been by way
Shaw's prosecutorial misconduct claim must be dismissed             of all the police reports informed an Everod Reid was
under either standard, this Court need not determine                another person. We have never been told that Everod
which of the above-referenced tests should be applied in            Reid, as we had believed by the police reports, was
considering petitioner's unexhausted claims.                        in fact the witness that they just called. And I think
                                                                    it's improper, given the fact that the prosecutor knew
A criminal defendant's right to a fair trial is mandated            that we had no knowledge that the Everod Reid that
by the Due Process Clause of the United States                      we thought was Sardine and the police report said was
Constitution. Albright v. Oliver, 510 U.S. 266, 273 n.              Sardine was, in fact, not this witness.
6 (1994) (citing United States v. Agurs, 427 U.S. 97,
                                                                   THE COURT: Are you telling-
107 (1976)). 18 For habeas relief to be granted based
on a claim of prosecutorial misconduct, however, the               MR. CAREY: Which should have been disclosed when
alleged misconduct must have “ ‘so infected the trial with          that witness list came out, but they never agreed on.
unfairness as to make the resulting conviction a denial of
due process.’ “ Darden v. Wainwright, 477 U.S. 168, 181            THE COURT: Are you telling me you've been misl[ed]
(1986) (quoting Donnelly v. DeChristoforo, 416 U.S. 637,            by the fact that Everod Reid was somebody in the
643 (1974)); see, e.g., United States v. Shareef, 190 F.3d          police report or described or some indication of what
71, 78 (2d Cir.1999) (internal quotations and citations             you thought this man was going to say, who he was,
omitted). In considering such a claim, courts are to focus          when in fact he takes the witness stand he's been
on “the fairness of the trial, not the culpability of the           misidentified in those police reports? As a matter of
prosecutor.” Smith v. Phillips, 455 U.S. 209, 219 (1982).           fact, there is no report-

                                                                   MR. CAREY: During the course of the investigation
 *11 In support of his claim that his conviction must be
                                                                    the name Everod Reid came up as a witness to
set aside due to prosecutorial misconduct, Shaw argues
                                                                    the homicide. He was identified as Anthony Miller,
that the prosecutor “knowingly and willingly used fraud
                                                                    Sardine, all the police reports we had. Not until five
and misrepresentation to obtain a conviction against
                                                                    minutes before this witness took the stand was I
petitioner by putting a false witness on the stand to
                                                                    informed that the Everod Reid that we had all the
testify.” Am. Pet. at (unnumbered) 8. Specifically, Shaw
                                                                    police reports was in fact not Sardine, it was someone
argues that the prosecution “used trickery” when it called
                                                                    else. I believe they have an obligation to tell us if the
Everod Reid as a prosecution witness, and that Reid
                                                                    witness list has someone else on it that we don't know
thereafter provided “false testimony” at Shaw's trial. Id.
                                                                    about.
Petitioner contends that “no justification ... can make
up for the numerous blatant constitutional violations the          THE COURT: Let me ask you this. Mr. Cuffy, at what
D.A. bestowed upon the Petitioner,” id. (emphasis in                point in time did you realize that the Everod Reid
original), and that the “fraud and misrepresentation” of            discussed and identified in these police reports was,
the prosecutor deprived Shaw of his right to a fair trial. Id.      in fact, this individual who fled the area and you had
                                                                    no statement, no reports on.
A detailed record relating to Shaw's claim that a “false”
witness was purportedly called by the prosecution was



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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)      Page 85 of 91
2007 WL 951459


  *12 MR. CUFFY: Well, Your Honor, the Everod                  THE COURT: I see. Well, you know, Mr.-I don't know.
   Reid who is identified in the police reports is
   identified as Sardine, so I never thought that was          MR. CAREY: Judge, I have a problem with that.
   Everod Reid. He was identified as-identified as Oliver       There's no indication in here that Everod Reid, and
   Miller, Sardine, and in fact gave a statement at which       we have consistently seen with all the witnesses the
   Sardine identifies himself as Elijah Bey, so there was       prosecutor has called, they all have several names.
   never any dispute in the police reports that Sardine
                                                               THE COURT: Yeah.
   was not Everod Reid.
                                                               MR. CAREY: All right? They should have been under
  THE COURT: The point is, we had a discussion about
                                                                [an] obligation, ethical obligation, it's a homicide trial
   Everod Reid that apparently the police have had
                                                                where this man is facing life, should have been under
   some continual or contact with about this case.
                                                                some ethical obligation to at least come back and tell
  MR. CUFFY: Yes.                                               us the Everod Reid that we gave you all these police
                                                                reports on is not the Everod Reid that we told you
  THE COURT: ... [M]ay I ask when did you learn about           about February 3rd, 1999.
   this person?
                                                              ***
  MR. CUFFY: When I learned there was another
   Everod Reid, I learned the Everod Reid, I ... learned       THE COURT: Well, I know. Let me give it some
   of [another] Everod Reid in late January.                    thought. I don't know what sanction, if there was a
                                                                violation of something, some exculpatory rule.
  THE COURT: ... Did you ever tell [defense counsel]
   that the Everod Reid you talked about in your letter        MR. CAREY: That's what my motion is here today,
   was misidentified in these police reports?                   Judge. My motion is for a mistrial.

  MR. CUFFY: No, Your Honor, I did not.                        THE COURT: Okay. Okay.

  THE COURT: Did you know that at some point                   MR. CAREY: All right? Because I believe now, first of
   during this preparing, did you know that person was          all, we're not given the opportunity to prepare for that
   misidentified in those police reports you have?              type of witness, when obviously he's-he's disclosing
                                                                some time in December of 1998 to his attorney about
  MR. CUFFY: No, Your Honor, the Everod Reid in the             his involvement and what he saw. Now ...
   police reports is not misidentified. The police reports-
                                                               THE COURT: Were you informed he was going to
  THE COURT: There's another Everod Reid.                       come in and make some identification here?

  MR. CUFFY: Yes, it is.                                       *13 MR. CAREY: No.
  THE COURT: Oh. Oh. I'm sorry.                                THE COURT: That came as a complete surprise.

  MR. CUFFY: The Everod Reid, Sardine uses the name            MR. CAREY: Complete surprise.
   Everod Reid. He also uses the name Elijah Bey. And
   that's clearly in the police reports.                       THE COURT: When did you know that, Mr. Cuffy?

  THE COURT: Oh, so the misrepresentation has come             MR. CUFFY: I knew that. Your Honor. I thought I
   from some witness.                                           informed him.

  MR. CUFFY: From the witness.                                 THE COURT: When[?]

  THE COURT: Who says I am Everod Reid.                        MR. CUFFY: I knew that when I spoke to him, when
                                                                I sent that letter to Mr. Carey.
  MR. CUFFY: Yes. That's my position.


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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)         Page 86 of 91
2007 WL 951459

                                                                as the trial court properly noted, the omission on Reid's
  THE COURT: So in early February, I guess, you                 rap sheet of those known aliases should have caused
   knew....                                                     defense counsel to inquire further about the identity of
                                                                the Reid who was listed on the prosecution's witness
  MR. CUFFY: Well, I did not know he would be able
   to identify him. I can't say that.                           list. 21 Trial Tr. at 970. The fact that Reid's rap sheet was
                                                                provided to defense counsel in advance of the trial severely
  THE COURT: So when you asked him the question do              undermines petitioner's claim that the prosecutor engaged
   you see the gunman in the courtroom.                         in misconduct through deceit or trickery.

  MR. CUFFY: Yeah, I didn't know he was going to                 *14 Regardless, it is undisputed that before Reid
   identify him. In fact-in fact, as you notice, I didn't ask   testified, the prosecution informed Shaw's counsel that
   him that question. He just pointed to the guy.               the Everod Reid who was about to testify was not the
                                                                same Everod Reid mentioned in the police reports. Trial
Trial Tr. at 958-64.
                                                                Tr. at 970-71. Defense counsel never requested a delay
                                                                in the proceedings upon learning that information, and
The following week, Judge Mulroy ruled on defense
                                                                went on to conduct what the County Court characterized
counsel's request for a mistrial based upon the foregoing.
                                                                as a “very vigorous cross-examination” of that witness.
The County Court opined that the better course for
                                                                Trial Tr. at 971. During that cross-examination, defense
the prosecution to have followed would have been to
                                                                counsel: i) fully explored Reid's prior criminal history
clearly advise defense counsel, prior to trial, that the
                                                                (Trial Tr. at 914-20); ii) established that Reid had violated
Everod Reid to whom the police reports referred was
                                                                the terms of his federal probation and was testifying as
an individual other than the Everod Reid whom the
                                                                part of a plea agreement with the United States Attorney
prosecution intended to call as a witness. Trial Tr. at
                                                                relating to that probation violation (Trial Tr. at 921-23);
971-72. However, although the County Court noted that
                                                                and iii) elicited testimony from Reid in which he admitted
Reid's testimony was “important” for the prosecution,
                                                                that he had a history of illegally selling guns and had
Judge Mulroy nevertheless concluded that such testimony
                                                                previously been arrested while in possession of at least six
was also “cumulative [of] other witnesses who came in and
                                                                pounds of marijuana (Trial Tr. at 923-24). Significantly,
identified [Shaw] as being the shooter....” Trial Tr. at 971.
                                                                Shaw has failed to articulate how defense counsel's cross-
The trial court therefore denied the mistrial motion and
                                                                examination of Reid was impacted, in any way, by the
declined to sua sponte strike Reid's testimony. Trial Tr. at
                                                                claimed misconduct of the prosecution relating to Reid.
971.

                                                                “To succeed in a habeas claim based on prosecutorial
Initially, this Court finds that the prosecutor did not
                                                                misconduct, the petitioner must demonstrate ‘that
engage in misconduct with respect to calling Everod Reid
                                                                he suffered actual prejudice because the prosecutor's
as a witness. It is undisputed that before the trial started,
                                                                [conduct] had a substantial and injurious effect or
the prosecution provided defense counsel with the federal
                                                                influence in determining the jury's verdict.’ “ Johnson v.
criminal identification record 19 that related to the Everod    State of New York, No. 01 CIV. 4219, 2002 WL 1974048,
Reid who took the witness stand. Trial Tr. at 968. The          at *3 (S.D.N.Y. Aug. 26, 2002) (quoting Bentley v. Scully,
evidence at trial suggested that the rap sheet provided         41 F.3d 818, 824 (2d Cir.1994)). Therefore, even assuming,
to defense counsel contained all of the aliases of the          arguendo, that the prosecutor improperly failed to inform
Reid who testified for the prosecution. 20 See Trial Tr.        the defense of the fact that the Everod Reid who was to
at 970 (prosecutor noting that federal rap sheets contain       testify at trial was an individual other than the Everod
the aliases of the individuals about whom the rap sheet         Reid mentioned in the police reports, Shaw's failure to
is created). Although the Everod Reid whom defense              establish that he was prejudiced by the timing of such
counsel believed would be testifying was also known by          disclosure is fatal to his prosecutorial misconduct claim.
the aliases “Sardine” and “Elijah Bey,” see Trial Tr. at
960, neither of those aliases appeared on the federal rap       Finally, in denying defense counsel's motion for a mistrial
sheet that was provided by the prosecutor to defense            on the theory of prosecutorial misconduct, Judge Mulroy
counsel relating to Reid. Trial Tr. at 968-69. Therefore,       noted that Reid's testimony was cumulative of the



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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)           Page 87 of 91
2007 WL 951459

testimony provided by other prosecution witnesses. Trial        testify at Shaw's trial; and ii) was neither fair nor impartial
Tr. at 971. After reviewing the trial transcript, this Court    at that proceeding. See id. at (unnumbered) 9-10.
endorses that finding of Judge Mulroy. For example,
Ricky Campbell testified that he had observed the fist          Shaw raised these claims in his April 2, 2002 CPL
fight between Johnson and Allen, and that he thereafter         motion, see Record at 1806-08, as well as in his April
observed Shaw shoot Allen. 22 See Trial Tr. at 597-602.         29, 2002 CPL motion. See Record at 1856-57, 1873-78.
Campbell's testimony was buttressed by the testimony            Those applications were denied by Judge Walsh. See
of Ameko Brooks, who specifically identified Shaw as            July, 2002 Order. This Court must therefore determine
the shooter when asked by the prosecutor to identify the        whether Judge Walsh's determination is either contrary
person whom he observed holding the gun after Allen             to, or represents an unreasonable application of, clearly
was shot. See Trial Tr. at 848-49. Additionally, Johnson        established Supreme Court precedent.
testified that minutes after the shooting, Shaw admitted
that he had shot Allen. See Trial Tr. at 721-22. Since
                                                                   i. Clearly Established Supreme Court Precedent
Reid's testimony was cumulative of other evidence offered
                                                                Petitioner's claim that the trial court was biased against
by the prosecution against Shaw, that evidence did not
                                                                him necessarily implicates his right to a fair trial. See
have a substantial and injurious effect or influence in
                                                                Albright, 510 U.S. at 273 n. 6; Agurs, 427 U.S. at 107.
determining the jury's verdict. E.g., Smith v. Girdich,
                                                                Additionally, the Supreme Court has noted that “the floor
No. 03-CV-5193, 2004 WL 1743946, at *3 (E.D.N.Y.
                                                                established by the Due Process Clause clearly requires a
Aug. 4, 2004) (admission of cumulative testimony did
                                                                “fair trial in a fair tribunal ... before a judge with no actual
not have substantial and injurious effect or influence
                                                                bias against the defendant or interest in the outcome of his
in determining the jury's verdict); Richardson v. Artuz,
                                                                particular case.” Bracy v. Gramley, 520 U.S. 899, 904-05
No. 97 CV 2128, 2004 WL 556688, at *21 (E.D.N.Y.
                                                                (1997).
Mar. 22, 2004) (admission of perjurious testimony “was
merely cumulative, and could not have affected the jury's
decision”).                                                        ii. Contrary To, or Unreasonable Application Of,
                                                                   Clearly Established Supreme Court Precedent
 *15 In sum, Shaw has failed to demonstrate that the            Addressing first Shaw's claim that the County Court
prosecutor engaged in misconduct with respect to the            improperly allowed Reid to testify, this Court finds such
manner in which Everod Reid testified for the prosecution       claim to be without substance. Shaw never alleges that
at Shaw's trial. Furthermore, Shaw has wholly failed to         he was unaware that the prosecution intended to call
establish that he was prejudiced by that conduct in light       Reid as a witness, only that the defense was under
of the facts that: 1) defense counsel thoroughly cross-         the mistaken impression that the Everod Reid who was
examined Reid at trial; and 2) that witness's testimony         mentioned in the police reports would testify at trial,
was merely cumulative of other testimony offered by
                                                                rather than a different individual with the same name. 23
prosecution witnesses. Therefore, this unexhausted claim
                                                                Thus, there was no basis upon which the County Court
is patently frivolous. The undersigned alternatively
                                                                could have properly precluded Reid's testimony at the
concludes that it is perfectly clear that Shaw has not raised
                                                                subject criminal trial. Additionally, as noted above, since
even a colorable claim alleging prosecutorial misconduct
                                                                that witness's testimony was cumulative of that offered by
at his trial. Therefore, the second ground in his amended
                                                                other witnesses at Shaw's trial, this factor weighs against
petition must be denied.
                                                                a finding that Reid's testimony deprived Shaw of his right
                                                                to a fair trial. E.g., Wray v. Johnson, 202 F.3d 515, 526 (2d
   C. Ground Three                                              Cir.2000).
Shaw next alleges that his conviction is constitutionally
infirm because of the misconduct in which the County             *16 Next, although petitioner claims that Reid provided
Court engaged at Shaw's criminal trial. See Am. Pet. at         “false and injurious testimony” at Shaw's trial, see Am.
(unnumbered) 9. In support of this claim, Shaw alleges          Pet. at (unnumbered) 10, the undersigned notes that Shaw
that Judge Mulroy: i) improperly allowed Everod Reid to         provides no support for his claim that Reid's testimony
                                                                was false. Rather, this claim appears to invite this Court
                                                                to find the testimony of that witness to be not credible.


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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)          Page 88 of 91
2007 WL 951459

However, the undersigned notes that where evidence was           did not strike Reid's testimony as evidence that Judge
presented from which the jury could have drawn an                Mulroy harbored a bias against Shaw. See Am. Pet.
inference favorable to the accused but it chose not to,          at 9-10. However, Reid's testimony at Shaw's trial was
courts must “ ‘defer to ... the jury's choice of the competing   proper and in no way suggestive of bias on the part of
inferences.’ “ Daily v. New York, 388 F.Supp.2d 238,             the County Court. Moreover, this Court's review of the
248 (S.D.N.Y.2005) (quoting United States v. Kinney, 211         trial transcript fails to disclose conduct which indicated
F.3d 13, 18 (2d Cir.2000) (other citation omitted)); see         improper conduct on the part of the trial court towards
also Keller v. Bennett, No. 98CV1437, 2002 WL 975306,            Shaw. To the contrary, the state court record below
at *4 (N.D.N.Y. Mar. 21, 2002) (Sharpe, M.J.) (“a habeas         reveals no conduct on the part of Judge Mulroy that
court, viewing a cold record, may not properly reassess          suggests any bias against Shaw.
the jury's finding of credibility concerning the testimony
of witnesses offered at trial”) (citations omitted), adopted,     *17 Since petitioner has failed to demonstrate that the
Keller v. Bennett, No. 98CV1437 (Dkt. No. 18) (N.D.N.Y.          trial court erred in permitting Reid to testify for the
Apr. 15, 2002) (Kahn, J.), appeal dismissed, No. 02-2328         prosecution, or that the County Court harbored any
(2d Cir. Dec. 12, 2003); Bellezza v. Fischer, 01CV 1445,         bias against Shaw, he has failed to demonstrate that
2003 WL 21854749, at *15 (E.D.N.Y. Aug. 6, 2003) (on             the County Court's July, 2002 Order denying petitioner's
collateral review, a federal habeas court “must presume          CPL motions is either contrary to, or represents an
that the jury resolved any questions of credibility in           unreasonable application of, the clearly established
favor of the prosecution”) (citing Vera v. Hanslmaier, 928       Supreme Court precedent noted above. Therefore, the
F.Supp. 278, 284 (S.D.N.Y.1996)) (other citations and            undersigned denies Shaw's third ground for federal habeas
internal quotation omitted); Cottrel v. New York, 259            relief.
F.Supp .2d 300, 308 (S.D.N.Y.2003) (citing Marshall v.
Lonberger, 459 U.S. 422, 434 (1983)). Since there is no
evidence before this Court which establishes that Reid's            4. Ground Four
testimony was false or misleading, this unsubstantiated          In his fourth and final claim, Shaw argues that he
claim does not support a finding that petitioner is entitled     received the ineffective assistance of trial counsel. See
to federal habeas intervention.                                  Am. Pet. at (unnumbered) 10-11. In support of this claim,
                                                                 Shaw contends that his trial attorney wrongfully allowed
Finally, as to Shaw's claim that Judge Mulroy was biased         the district attorney “to question juror members out
against him, see Am. Pet. at (unnumbered) 9-10, the Court        of his presence,” and that counsel thereafter wrongfully
notes that mere allegations of judicial bias or prejudice do     withdrew his application to question the jurors about
not state a due process violation. Brown v. Doe, 2 F.3d          the letters that had been sent to, inter alia, the County
1236, 1248 (2d Cir.1993) (citing Aetna Life Ins. Co. v.          Court and trial counsel which suggested that a juror was
Lavoie, 475 U.S. 813, 820 (1986)). Rather, when a judge          improperly coerced into finding Shaw guilty of the charges
is claimed by a party to have been biased against him,           alleged in the Indictment. See Am. Pet., Ground Four.
the entire record must be examined to determine “whether
the jurors have been so impressed by the judge's partiality      The exhaustion requirement applicable to federal habeas
that it affected their deliberations.” United States v. Tocco,   petitions is satisfied where the habeas claim has been
135 F.3d 116, 129 (2d Cir.1998) (citing United States v.         “fairly presented” to the state courts. See Dorsey v.
Filani, 74 F.3d 378, 385-86 (2d Cir.1996)). “To state a due      Kelly, 112 F.3d 50, 52 (2d Cir.1997) (quoting Picard v.
process claim that a judge is biased, the claimant must          Connor, 404 U.S. 270, 275 (1971)). A claim has been
show either that actual bias existed, or that an appearance      “fairly presented” when the state courts are apprised of
of bias created a conclusive presumption of actual bias.”        “both the factual and the legal premises of the claim [the
Frase v. McCray, No. 01-CV-1704, 2003 WL 25459378, at            petitioner] asserts in federal court.” Daye v. Attorney Gen'l
*1 (N.D.N.Y. July 22, 2003) (citing Phelps v. Hamilton,          of N.Y., 696 F.2d 186, 191 (2d Cir.1986); Morales v. Miller,
122 F.3d 1390, 1323 (10th Cir.1997)).                            41 F.Supp.2d 364, 374 (E.D.N.Y.1999). Where certain
                                                                 theories in support of an ineffective assistance of counsel
In the case sub judice, petitioner cites the fact that Judge     claim have been raised in the state courts and others have
Mulroy denied defense counsel's motion for a mistrial and        not, those theories that have never been asserted in the
                                                                 state courts are considered unexhausted when raised for


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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)          Page 89 of 91
2007 WL 951459

the first time in a federal habeas petition. E.g. Edmonson,     course of deliberations were written some time after the
2006 WL 3486769, at *11-12.                                     jury was disbanded. E.g. March, 1999 Tr. at 2. 24 Since
                                                                those individuals had been formally excused from their
In his appellate brief, counsel argued that Shaw received       service as jurors at the time they were questioned by
the ineffective assistance of trial counsel because counsel's   the district attorney, there is no basis upon which this
motion to dismiss the Indictment at the close of the            Court may properly conclude that the district attorney
prosecution's proof failed to specify the legal basis for       wrongfully asked the former members of the jury whether
that motion. See App. Br. at 36-40. Appellate counsel           they had written the letters that form the basis of this
also argued that trial counsel improperly failed to move        aspect of Shaw's claim. In this regard, the Court notes
for a mistrial upon learning that “one or more of the           that petitioner has not cited any authority, and this
People's witnesses had lied to the grand jury.” App. Br.        Court's research has disclosed none, which stands for the
at 37. However, appellate counsel did not assert either         proposition that defense counsel and/or the defendant
of the theories now raised by petitioner in his fourth          himself must be present where the prosecutor questions
ground for relief in support of counsel's appellate claim       members of a jury that has been formally excused by a
which argued that Shaw's trial counsel rendered ineffective     court after the completion of their service on the jury.
assistance. See App. Br. Additionally, as with the claims       Moreover, since the questioning of the jurors occurred
raised by Shaw in his second ground for relief, respondent      after the jury had delivered its verdict, it is unclear to the
has failed to argue that petitioner is procedurally barred      Court how Shaw can properly claim he was prejudiced
from asserting his unexhausted claims alleging ineffective      by the manner in which the jurors were questioned.
assistance of trial counsel in this action. See Resp. Mem.      Additionally, any claim of prejudice on the part of Shaw
at 12-14. Thus, the undersigned considers whether Shaw's        is further undermined by the fact that the investigation
claim alleging ineffective assistance of trial counsel is       into the source of the letters ultimately demonstrated that
patently frivolous or, alternatively, whether it is perfectly   those letters were not written by any of the jurors at Shaw's
clear that Shaw has not raised even a colorable claim           trial. See February, 2002 Aff. at 2-3.
alleging ineffective assistance of trial counsel.
                                                                As to his final theory in support of this ground, since
 *18 As noted above, the Sixth Amendment mandates               the County Court specifically declared that it would not
that criminal defendants be afforded the assistance of          grant defense counsel's motion which requested that the
counsel for their defense to the charges against them.          trial court individually question the former jurors, see
See U.S. Const., amend. VI. Thus, to prevail on his             April, 1999 Tr. at 2-3, Shaw cannot demonstrate that
claim alleging ineffective assistance of trial counsel, Shaw    he was prejudiced by trial counsel's decision to withdraw
must establish that his trial attorney's representation fell
                                                                his application which requested that relief. 25 Thus, this
below an objective standard of reasonableness and that
                                                                final theory in support of his ineffective assistance of trial
petitioner was prejudiced by such deficient representation.
                                                                counsel claim is plainly without merit.
Strickland, 466 U.S. at 688-90; see also Cuevas v.
Henderson, 801 F.2d 586, 589-90 (2d Cir.1986); Simms
                                                                 *19 Based upon the above, this Court concludes Shaw's
v. Moscicki, No. 06CIV2056, 2007 WL 162295, at *4
                                                                unexhausted claim of ineffective assistance of trial counsel
(S.D.N.Y. Jan 19, 2007) (citations omitted); Youngblood v.
                                                                is patently frivolous. The undersigned alternatively finds
Brown, 465 F.Supp.2d 270, 282 (S.D.N.Y.2006) (citations
                                                                that it is perfectly clear that Shaw has not raised even a
omitted); Anwar v. United States, 648 F.Supp. 820, 826
                                                                colorable claim with respect to his fourth ground for relief.
(N.D.N.Y.1986) (Munson, C.J.) (citation omitted).
                                                                Therefore, the final ground in his amended petition must
                                                                be denied.
With respect to Shaw's claim that the prosecutor
improperly questioned the jurors outside of Shaw's
presence, this argument appears to overlook the                 III. Certificate of Appealability
significant fact that the jury in his criminal trial was        Finally, the Court notes that 28 U.S.C. § 2253(c) provides
discharged from its duties on March 2, 1999, see Trial          in relevant part that:
Tr. at 1209, and that the letters defense counsel and the
trial court received alleging improper conduct during the



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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)                 Page 90 of 91
2007 WL 951459

    Unless a circuit justice or judge issues a certificate of
                                                                     ORDERED, that Shaw's amended petition (Dkt. No. 23)
    appealability, an appeal may not be taken to the court
                                                                     is DENIED and DISMISSED, and it is further
    of appeals from-

      (A) the final order in a habeas corpus proceeding              ORDERED, that the Clerk of Court serve a copy of this
      in which the detention complained of arises out of             Memorandum-Decision and Order upon the parties to
      process issued by a State court.... 26                         this action by regular or electronic mail, and it is further


28 U.S.C. § 2253(c)(1)(A). A Certificate of Appealability            ORDERED, that any state court records that were not
may only be issued “if the applicant has made a substantial          filed in this action be returned directly to the Attorney
showing of the denial of a constitutional right.” See 28             General at the conclusion of these proceedings (including
U.S.C. § 2253(c)(2). Since petitioner has failed to make             any appeal of this Memorandum-Decision and Order filed
such a showing herein, the Court declines to issue any               by any party).
Certificate of Appealability in this matter.
                                                                     IT IS SO ORDERED.
WHEREFORE, after having reviewed the state court
record, the documents submitted by the parties in
                                                                     All Citations
conjunction with this action, the applicable law, and for
the reasons discussed herein, it is hereby                           Not Reported in F.Supp.2d, 2007 WL 951459


Footnotes
1       Witnesses heard multiple, rapid shots being fired at the time. Trial Tr. at 540, 594, 718, 843, 905-09.
2       An autopsy performed on Allen's body revealed that he had sustained “a number of gunshot wound injuries,” one of which
        hit his right lung, traversed through his heart, went through his left lung and exited the left side of his body. See Trial Tr.
        at 877. Allen's death was caused by multiple gunshot wounds. Trial Tr. at 890.
3       Although Shaw's petition was file-stamped by the clerk on May 19, 2003, the Second Circuit has held that due to the
        unique difficulties faced by incarcerated pro se litigants, a prisoner's pleading is deemed to be properly filed at the time
        he hands the papers to the prison authorities for transmittal to the court. Dory v. Ryan, 999 F.2d 679, 681-82 (2d Cir),
        modified on reh'g, 25 F.3d 81 (2d Cir.1994); Noble v. Kelly, 246 F.3d 93, 97-98 (2d Cir.2001) (extending “prison mailbox
        rule” to petitions seeking writ of habeas corpus pursuant to 28 U.S.C. § 2254). Shaw dated his petition on May 3, 2003.
        See Petition (Dkt. No. 1) at 7. Therefore, applying the prison mailbox rule, the undersigned finds that Shaw should be
        deemed to have commenced this proceeding on May 3, 2003.
4       Respondent's memorandum of law in opposition to the amended petition (“Resp.Mem.”) has been docketed as an
        attachment to his answer to that pleading. See Dkt. No. 26.
5       The AEDPA provides that “[t]he time during which a properly filed application for State post-conviction or other collateral
        review ... is pending shall not be counted toward any period of limitation under this subsection.” 28 U.S.C. § 2244(d)(2).
6       Respondent's argument that this action is time-barred appears to be based upon the erroneous assumption that Shaw's
        conviction became final on July 5, 2000. See Resp. Mem. at 11. However, New York's Court of Appeals did not deny
        Shaw's application for leave to appeal the Appellate Division's decision until approximately nine months after that date,
        i.e., on April 6, 2001. See People v. Shaw, 96 N.Y.2d at 806.
7       Article 330 of New York's CPL sets for the procedure that must be followed by attorneys who seek to set aside verdict
        based upon, inter alia, juror misconduct. See CPL §§ 330.30(2); 330.40(2).
8       Shaw's trial attorney was Paul G. Carey, Esq.
9       Shaw was scheduled to be sentenced on March 22, 1999. 11
10      Gordon G. Cuffy, Esq. prosecuted the criminal action brought against Shaw on behalf of the State of New York.
11      This Court was not provided with a copy of any of the letters to which the County Court refers in the March, 1999 hearing.
12      Petitioner seems to argue that his trial attorney wrongfully failed to conduct an independent investigation into the source
        of the letters. See Traverse at 2. However, Shaw has offered nothing short of sheer surmise which suggests that an
        independent investigation by the defense counsel would have somehow revealed that the letters were, in fact, written
        by a juror from Shaw's trial. Unfortunately for petitioner, federal habeas courts cannot grant habeas relief based upon



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         Case 9:18-cv-01232-DNH-DEP
Shaw v. Superintendent, Attica Correctional Facility,Document    26in F.Supp.2d
                                                      Not Reported     Filed 04/16/19
                                                                                (2007)              Page 91 of 91
2007 WL 951459

      unsubstantiated conclusions, opinions or speculation. See Wood v. Bartholomew, 516 U.S. 1, 8 (1995) (federal courts
      should not grant “habeas relief on the basis of little more than speculation with slight support”); Huntley v. Superintendent,
      Supt. of Southport Corr. Facility, No. 00-CV-191, 2007 WL 319846, at *20 (N.D.N.Y. Jan. 30, 2007) (Hurd, J., adopting
      Report-Recommendation of Lowe, M.J.) (citations omitted). Thus, Shaw is plainly not entitled to habeas intervention
      merely because his trial attorney failed to independently question the jurors at Shaw's trial as to whether they had written
      the above-described letters.
13    In Antommarchi, New York's Court of Appeals held that a criminal defendant has a right to be present at side-bar
      conferences held by the trial court with prospective jurors. See Figueroa v. Donnelly, No. 02 CIV. 6259, 2003 WL
      21146651, at *9 n. 5 (S.D.N.Y. May 16, 2003) (citing Antommarchi ).
14    This exhaustion requirement “reduces friction between the state and federal court systems by avoiding the unseemliness
      of a federal district court's overturning a state court conviction without the state courts having had an opportunity to
      correct the constitutional violation in the first instance.” O'Sullivan 526 U.S. at 845; see also Galdamez, 394 F.3d at 72
      (citing O'Sullivan ).
15    Although Shaw's brief on appeal refers to the conduct that forms the basis of Shaw's second ground for relief, see App.
      Br. at 37, that brief never alleges that Shaw's conviction should be reversed because of prosecutorial misconduct at
      Shaw's criminal trial. See App. Br.
16    As will be seen, petitioner has also failed to exhaust the claim he asserts in his fourth ground for relief.
17    A federal court may deny-but not grant-a habeas petition based upon an unexhausted claim. Aparicio, 269 F.3d at 91 n.
      5; Cuadrado v. Stinson, 992 F.Supp. 685, 687 (S.D.N.Y.1998).
18    “A right to a fair trial is a right ... protected by the due process clause of the Fourteenth Amendment.” Adamson v. People
      of State of California, 332 U.S. 46, 53 (1947) (footnote omitted).
19    The federal criminal identification record of an individual is commonly referred to as a “rap sheet.”
20    For reasons that are not clear to the undersigned, the rap sheet that was provided to counsel regarding Reid is not
      included in the state court record provided to this Court.
21    Defense counsel informed Judge Mulroy that counsel could not recall whether federal rap sheets “provide[ ] an area
      for aliases.” Trial Tr. at 969-70. However, federal rap sheets routinely list the aliases of criminal defendants. E.g.,
      United States v. Rodriguez-Arreola, 313 F.3d 1064, 1067-68 (8th Cir.2002). In this Court's experience, federal criminal
      identification records contain the known aliases of the individual discussed therein.
22    Campbell testified that he was “right there next to” Shaw when he began shooting his gun. Trial Tr. at 600.
23    Defense counsel did not object to Reid's testimony until after that witness had completed his testimony. E.g., Trial Tr.
      at 958.
24    The state court record does not reflect the date on which those letters were purportedly written, or when those letters
      were received by the addressees.
25    The post-verdict questioning of jurors by courts is generally disfavored. See Tanner v. United States, 483 U.S. 107,
      120-21 (1987); King v. United States, 576 F.2d 432, 438 (2d Cir.1978).
26    Rule 22 of the Federal Rules of Appellate Procedure also provides that an appeal may not proceed “unless a circuit justice
      or a circuit or district judge issues a certificate of appealability under 28 U.S.C. § 2253(c).” See Fed.R.App.P. 22(b).


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